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08/06/2019, 00:03:41.183, Sammie Sias 5x7 flyer.pdf, attrib_changed; file_closed
08/06/2019, 00:03:41.823, LaunchU3.exe, attrib_changed; file_closed
08/06/2019, 00:03:42.370, EMSGuideBk‐1.pdf, attrib_changed; file_closed
08/06/2019, 00:03:42.402, Ardwick Dr 41 doors_2014‐02‐23_EID682BD2A.pdf, attrib_changed; file_closed
08/06/2019, 00:03:42.417, Corkwood_2014‐01‐29_EID971FC2P.pdf, attrib_changed; file_closed
08/06/2019, 00:03:42.448, Sammie Sias 5x7 flyer.pdf, attrib_changed; file_closed
08/06/2019, 00:03:42.448, SiasSammie‐Jan14‐8X4.gif, attrib_changed; file_closed
08/06/2019, 00:03:42.808, Pictures, attrib_changed; file_closed
08/06/2019, 00:03:43.964, Roundtree SKMBT_C28414010613290.pdf, attrib_changed; file_closed
08/06/2019, 00:03:43.964, SEARCHFILTERHOST.EXE‐10E4267C.pf, file_added; file_truncated; file_closed
08/06/2019, 00:03:44.105, Roundtree SKMBT_C28414010613290.pdf, attrib_changed; file_closed
08/06/2019, 00:03:44.386, Sam, attrib_changed; file_closed
08/06/2019, 00:03:47.636, index, data_overwritten; file_closed
08/06/2019, 00:03:50.715, index, data_overwritten; file_closed
08/06/2019, 00:03:51.574, .dropbox.device, file_deleted; file_closed
08/06/2019, 00:03:51.574, 20141122_163331.mp4, file_deleted; file_closed
08/06/2019, 00:03:51.574, 20141122_170621.mp4, file_deleted; file_closed
08/06/2019, 00:03:51.574, 5f29636f‐8722‐4359‐bd29‐fc767d16726a.pdf, file_deleted; file_closed
08/06/2019, 00:03:51.574, bd9f1759‐6120‐43be‐a784‐d8bd448aebb6.pdf, file_deleted; file_closed
08/06/2019, 00:03:51.574, BOOTEX.LOG, file_deleted; file_closed
08/06/2019, 00:03:51.574, City Administrator Briefing.ppt, file_deleted; file_closed
08/06/2019, 00:03:51.574, Commissioner Training.rtf, file_deleted; file_closed
08/06/2019, 00:03:51.574, CPR Class 16 May 2015 001.tif, file_deleted; file_closed
08/06/2019, 00:03:51.590, fcc95eb4‐8836‐4d00‐872e‐c5dbf3801289.pdf, file_deleted; file_closed
08/06/2019, 00:03:51.590, Sammie Sias 5x7 flyer.pdf, attrib_changed; file_closed
08/06/2019, 00:03:51.590, Sammie Sias 5x7 flyer.pdf, file_deleted; file_closed
08/06/2019, 00:03:51.590, Thumbs.db, file_deleted; file_closed
08/06/2019, 00:03:51.590, _disk_id.pod, file_deleted; file_closed
08/06/2019, 00:03:51.590, Annual Attendance Calculations 2011.doc, file_deleted; file_closed
08/06/2019, 00:03:51.621, Annual Attendance Calculations 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:51.621, Annual Attendance Calculations 2013.doc, file_deleted; file_closed
08/06/2019, 00:03:51.621, Jamestown Annual Report Jan‐Aug 2003.doc, file_deleted; file_closed
08/06/2019, 00:03:51.621, Jamestown Annual Report Jan‐Dec 2003(Corrected).doc, file_deleted; file_closed
08/06/2019, 00:03:51.621, Jamestown Annual Report Jan‐Dec 2003.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 2 of 220
                                                                                                                            000002

08/06/2019, 00:03:51.621, Jamestown Annual Report Jan‐Dec 2006.doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2008 (Corrected Copy).doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2011.doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2013 (Amended).doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2013.doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2014.doc, file_deleted; file_closed
08/06/2019, 00:03:51.636, Jamestown Annual Report Jan‐Dec 2017.docx, file_deleted; file_closed
08/06/2019, 00:03:51.636, Annual Reports, file_deleted; file_closed
08/06/2019, 00:03:51.636, 2015 and 2014 Highlights.docx, file_deleted; file_closed
08/06/2019, 00:03:51.636, Administrator Meeting‐23 Nov 2015.rtf, file_deleted; file_closed
08/06/2019, 00:03:51.636, Commission Travel 10.01.15.docx, file_deleted; file_closed
08/06/2019, 00:03:51.636, Contact Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:51.636, Copy of Small Business Advisory Board_Committee Members 5012015.xlsx, file_deleted; file_closed
08/06/2019, 00:03:51.636, Director of Compliance EEO.docx, file_deleted; file_closed
08/06/2019, 00:03:51.636, Email Addresses.docx, file_deleted; file_closed
08/06/2019, 00:03:51.636, Flyer 12 June.docx, file_deleted; file_closed
08/06/2019, 00:03:51.636, Flyer Wakefield Ct 8 Aug 2015.docx, file_deleted; file_closed
08/06/2019, 00:03:51.636, gold Cross___web.mail.comcast.pdf, file_deleted; file_closed
08/06/2019, 00:03:51.636, Guest Speaker Listing.rtf, file_deleted; file_closed
08/06/2019, 00:03:51.636, Info May 9th.docx, file_deleted; file_closed
08/06/2019, 00:03:51.652, LAST 60 DAYS.docx, file_deleted; file_closed
08/06/2019, 00:03:51.652, Mayor.docx, file_deleted; file_closed
08/06/2019, 00:03:51.652, Mayor.rtf, file_deleted; file_closed
08/06/2019, 00:03:51.652, metrospirit_com_do_i_look_intimidated.pdf, file_deleted; file_closed
08/06/2019, 00:03:51.652, New Rich Text Document.rtf, file_deleted; file_closed
08/06/2019, 00:03:51.652, Ordinance 7498 Stormwater Fee.pdf, file_deleted; file_closed
08/06/2019, 00:03:51.652, Rules Committee.docx, file_deleted; file_closed
08/06/2019, 00:03:51.652, Sewage Connection Program.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.652, SPLOST VII Reommendations.xlsx, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 3 of 220
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08/06/2019, 00:03:51.652, SPLOST VII ‐2 Final Reommendations.xlsx, file_deleted; file_closed
08/06/2019, 00:03:51.652, SPLOST VII Commission Working Project list 8‐13‐15.pdf, file_deleted; file_closed
08/06/2019, 00:03:51.652, SPLOST VII Commission Working Project list 8‐13‐15.xlsx, file_deleted; file_closed
08/06/2019, 00:03:51.652, SPLOST VII Reommendations.docx, file_deleted; file_closed
08/06/2019, 00:03:51.652, SPLOST VII Reommendations.pdf, file_deleted; file_closed
08/06/2019, 00:03:51.652, SPLOST VII Sias‐Hasan Commission Working Project list 8‐13‐15.xlsx, file_deleted; file_closed
08/06/2019, 00:03:51.652, SPLOST VII.xlsx, file_deleted; file_closed
08/06/2019, 00:03:51.652, Wakefield Ct and Pl.docx, file_deleted; file_closed
08/06/2019, 00:03:51.652, ~$Sewage Connection Program.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Announcements.rtf, file_deleted; file_closed
08/06/2019, 00:03:51.668, Brakfast 14 Feb 15.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast & ACHD 11 Jul 15.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast 12 September 2015.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast 8 Aug 15 ‐ City Administrator.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast 10 Jan 15.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast 10 October 2015.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast 14 November 2015.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast Email Message.docx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast Storm Water 11 April 2015.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast Storm Water 13 June 2015.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast Storm Water 14 Mar 15.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Breakfast Storm Water 9 May 2015.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Community Presentation1 6 Nov 14.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, Preview Breakfast Pictures.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, ~$Breakfast & ACHD 11 Aug 15.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, ~$Breakfast Storm Water 11 April 2015.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.668, ~$Breakfast Storm Water 14 Mar 15.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.683, ~$Preview Breakfast Pictures.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.683, Breakfast, file_deleted; file_closed
08/06/2019, 00:03:51.683, browser‐photos, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141119_141439.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141205_045746.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141210_180853.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141210_181044.jpg, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 4 of 220
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08/06/2019, 00:03:51.683, 20141213_113659.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141216_084450.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141217_060607.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141219_172912.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141219_172923.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141219_173135.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141220_144522.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141220_144559.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141220_144637.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20141227_112003.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 2015‐03‐20 20.01.31.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 2015‐03‐20 20.06.08.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 2015‐03‐20 20.07.01.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20150116_174403.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.683, 20150116_174410.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150116_174508.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150122_161106.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150124_134209.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150124_134215.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150124_134221.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150124_134226.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150125_145112.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150202_150641.mp4, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150202_150707.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150204_145820.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150212_090425.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150212_090656.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150214_055350.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150214_055409.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150214_055423.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150214_055454.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150214_055836.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150214_055904.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150214_055912.jpg, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 5 of 220
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08/06/2019, 00:03:51.699, 20150214_060019.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150214_060033.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150215_213208.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150215_213220.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150215_213230.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150221_154434.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150221_154440.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150221_154447.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150222_144229.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150222_144243.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150222_193136.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150222_193215.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150225_155452.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150225_155605.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150226_144924.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.699, 20150226_160113.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150302_065726.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150304_174755.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150304_174814.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150304_174824.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150309_093728.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150318_084330.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150318_115614.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150318_123104.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150318_185617.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150327_192605.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150327_194244.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150404_083334.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150404_083444.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150404_083501.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150404_114042.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150409_221625.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_164358.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_164427.jpg, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 6 of 220
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08/06/2019, 00:03:51.715, 20150418_164531.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_164551.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_164600.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_164720.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_164733.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_164801.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_164842.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_164855.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_165119.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_165126.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_165139.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_165222.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_165231.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_165509.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_165515.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_165858.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_165909.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.715, 20150418_165938.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.730, 20150418_170022.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.730, 20150418_182102.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.730, 20150418_182118.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.730, 20150418_182121.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.730, 20150418_182156.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.730, 20150418_182201.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.730, 20150418_182410.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.824, Thumbs.db, file_deleted; file_closed
08/06/2019, 00:03:51.824, Camera, file_deleted; file_closed
08/06/2019, 00:03:51.824, DCIM, file_deleted; file_closed
08/06/2019, 00:03:51.824, Gold Cross Agenda Item.rtf, file_deleted; file_closed
08/06/2019, 00:03:51.824, Gold Cross Contract 001.tif, file_deleted; file_closed
08/06/2019, 00:03:51.824, Gold Cross Documents Pg 1‐22 001.tif, file_deleted; file_closed
08/06/2019, 00:03:51.824, New Rich Text Document.rtf, file_deleted; file_closed
08/06/2019, 00:03:51.824, Gold Cross, file_deleted; file_closed
08/06/2019, 00:03:51.840, Incidents.rtf, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 7 of 220
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08/06/2019, 00:03:51.840, Mayor Davis, file_deleted; file_closed
08/06/2019, 00:03:51.840, .dropbox, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_142752.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_142800.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_142841.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_142940.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_142944.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_142952.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_143035.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_143100.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_150236.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_150334.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_150344.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_150426.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_150806.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_150817.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_151034.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_151041.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_151050.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_151059.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_152259.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.840, 20151001_152304.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_152314.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_152456.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_152510.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_153906.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_153910.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_153934.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_154000.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_154034.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_154041.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_154108.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_154159.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_154223.jpg, file_deleted; file_closed
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08/06/2019, 00:03:51.855, 20151001_155957.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_160005.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_160035.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_160055.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_160100.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_160123.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151001_160212.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151003_183631.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151004_161241.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151004_161303.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151004_161331.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151004_161404.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151004_161434.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151004_161618.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, 20151004_161622.jpg, file_deleted; file_closed
08/06/2019, 00:03:51.855, desktop.ini, file_deleted; file_closed
08/06/2019, 00:03:51.855, Screenshot_2015‐10‐04‐10‐22‐28.png, file_deleted; file_closed
08/06/2019, 00:03:51.949, Thumbs.db, file_deleted; file_closed
08/06/2019, 00:03:51.949, PICs, file_deleted; file_closed
08/06/2019, 00:03:51.949, District 2 Storm Water 28 Mar 15.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.949, ERU worksheet.xlsx, file_deleted; file_closed
08/06/2019, 00:03:51.949, New Rich Text Document.rtf, file_deleted; file_closed
08/06/2019, 00:03:51.996, Storm Water Program Brief for Churches.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.996, Storm Water Program Briefing.docx, file_deleted; file_closed
08/06/2019, 00:03:51.996, Stormwater Presentation Draft_03.13.15.pptx, file_deleted; file_closed
08/06/2019, 00:03:51.996, Stormwater_Presentation_3_2015_02092015 (1).ppt, file_deleted; file_closed
08/06/2019, 00:03:52.011, ~$Storm Water Program Brief for Churches.pptx, file_deleted; file_closed
08/06/2019, 00:03:52.011, ~$Stormwater_Presentation_3_2015_02092015 (1).ppt, file_deleted; file_closed
08/06/2019, 00:03:52.011, Storm Water Program & Information, file_deleted; file_closed
08/06/2019, 00:03:52.011, Resolute Forest Products.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.011, Thank You Letters, file_deleted; file_closed
08/06/2019, 00:03:52.027, Commissionioner Sias, file_deleted; file_closed
08/06/2019, 00:03:52.027, adaag.zip, file_deleted; file_closed
08/06/2019, 00:03:52.027, Banquet Program 2009.doc, file_deleted; file_closed
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08/06/2019, 00:03:52.027, City Administrator Briefing ‐ Part 1.ppt, file_deleted; file_closed
08/06/2019, 00:03:52.027, City Administrator Briefing ‐ Rart 2.ppt, file_deleted; file_closed
08/06/2019, 00:03:52.027, City Administrator Briefing.ppt, file_deleted; file_closed
08/06/2019, 00:03:52.027, Comprehensive%20Zoning%20Ordiance.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.027, Desktop photos ‐ Shortcut.lnk, file_deleted; file_closed
08/06/2019, 00:03:52.027, Director Briefing.ppt, file_deleted; file_closed
08/06/2019, 00:03:52.027, DMSetup.exe, file_deleted; file_closed
08/06/2019, 00:03:52.027, Father Daughter Gala.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.027, First Amendment.docx, file_deleted; file_closed
08/06/2019, 00:03:52.027, FormCCDR_2012‐Final.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.043, How to Make Cold Calls for an Election Candidate Howcast2.flv, file_deleted; file_closed
08/06/2019, 00:03:52.044, LaunchU3.exe, attrib_changed; file_closed
08/06/2019, 00:03:52.044, LaunchU3.exe, file_deleted; file_closed
08/06/2019, 00:03:52.044, nz‐cw3.exe, file_deleted; file_closed
08/06/2019, 00:03:52.044, Pepperdine Brief.ppt, file_deleted; file_closed
08/06/2019, 00:03:52.044, Polluted Promises, Environmental Racism and the Search for Justice in a Southern Town ‐ Google Play.html, file_deleted; file_c
08/06/2019, 00:03:52.044, Public Works.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.044, SCA#2.XLS, file_deleted; file_closed
08/06/2019, 00:03:52.044, SCA.pptx, file_deleted; file_closed
08/06/2019, 00:03:52.044, Setup.X86.en‐US_HomeBusinessRetail_5b674c55‐2d72‐4e6e‐a238‐a67d2f3bc5f7_TX_PR_.exe, file_deleted; file_closed
08/06/2019, 00:03:52.044, Temp.pptx, file_deleted; file_closed
08/06/2019, 00:03:52.044, Thumbs.db, file_deleted; file_closed
08/06/2019, 00:03:52.044, tm30234.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.044, ~$SCA.pptx, file_deleted; file_closed
08/06/2019, 00:03:52.044, 001.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.044, 002.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.044, 003.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.044, 004.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.044, 005.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 006.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 007.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 008.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 009.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 010.JPG, file_deleted; file_closed
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08/06/2019, 00:03:52.060, 011.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 012.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 013.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 014.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 015.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 016.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 017.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 018.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 019.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 020.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 021.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 022.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 023.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 024.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 025.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 026.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 027.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 028.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 029.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 030.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 031.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 032.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 033.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 034.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 035.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 036.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 037.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 038.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 039.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.060, 040.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 041.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 042.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 043.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 044.JPG, file_deleted; file_closed
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08/06/2019, 00:03:52.076, 045.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 046.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 047.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 048.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 049.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 050.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 051.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 052.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 053.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 054.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 055.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 056.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 057.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 058.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 059.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 060.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 061.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 062.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 063.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 064.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 065.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.076, 066.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 067.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 068.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 069.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 070.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 071.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 072.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 073.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 074.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 075.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 076.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 077.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 078.JPG, file_deleted; file_closed
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08/06/2019, 00:03:52.091, 079.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 080.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 081.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 082.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 083.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 084.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 085.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 086.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 087.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 088.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 089.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 090.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 091.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 092.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 093.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 094.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 095.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 096.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 097.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 098.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 099.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 100.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 101.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 102.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.091, 103.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 104.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 105.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 106.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 107.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 108.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 109.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 110.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 111.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 112.JPG, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 13 of 220
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08/06/2019, 00:03:52.107, 113.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 114.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 115.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 116.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 117.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 118.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 119.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 120.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 121.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 122.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 123.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 124.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 125.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 126.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 127.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 128.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 129.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 130.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 131.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 132.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 133.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 134.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 135.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 136.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 137.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 138.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 139.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 140.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 141.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.107, 142.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 143.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 144.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 145.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 146.JPG, file_deleted; file_closed
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08/06/2019, 00:03:52.122, 147.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 148.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 149.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 150.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 151.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 152.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 153.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 154.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 155.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 156.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 157.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 158.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 159.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 160.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 161.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 162.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 163.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 164.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 165.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 166.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 167.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 168.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 169.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 170.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 171.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 172.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.122, 173.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 174.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 175.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 176.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 177.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 178.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 179.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 180.JPG, file_deleted; file_closed
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08/06/2019, 00:03:52.138, 181.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 182.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 183.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 184.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 185.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 186.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 187.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 188.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 189.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 190.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 191.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 192.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 193.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 194.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 195.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 196.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 197.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 198.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 199.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 200.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 201.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 202.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 203.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 204.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 205.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 206.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 207.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.138, 208.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 209.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 210.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 211.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 212.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 213.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 214.JPG, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 16 of 220
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08/06/2019, 00:03:52.154, 215.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 216.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 217.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 218.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 219.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 220.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 221.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 222.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 223.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 224.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 225.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 226.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 227.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 228.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 229.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 230.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 231.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 232.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 233.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 234.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 235.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 236.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 237.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 238.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 239.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 240.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 241.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 242.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 243.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 244.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 245.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 246.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 247.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.154, 248.JPG, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 17 of 220
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08/06/2019, 00:03:52.169, 249.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 250.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 251.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 252.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 253.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 254.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 255.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 267.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 268.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 269.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 270.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 271.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 272.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 273.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 274.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 275.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 276.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 277.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 278.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 279.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 280.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 281.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 282.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 283.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 284.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, 285.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.169, MVC‐355S.gif, file_deleted; file_closed
08/06/2019, 00:03:52.326, MVC‐357S.gif, file_deleted; file_closed
08/06/2019, 00:03:52.341, 2009‐10‐28, file_deleted; file_closed
08/06/2019, 00:03:52.341, 001.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.341, 002.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.341, 003.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.341, 005.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.341, 006.JPG, file_deleted; file_closed
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08/06/2019, 00:03:52.341, 007.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.341, 008.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 013.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 019.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 021.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 022.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 023.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 025.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 028.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 029.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 030.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 031.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 032.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 037.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 038.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 042.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 045.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 048.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 050.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 051.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 052.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 053.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 054.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 055.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 056.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 058.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 060.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 061.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 065.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 070.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 071.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 073.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 075.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 076.JPG, file_deleted; file_closed
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08/06/2019, 00:03:52.357, 077.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 078.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 079.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 080.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 081.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 082.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 083.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 084.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.357, 085.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.372, 087.JPG, file_deleted; file_closed
08/06/2019, 00:03:52.372, 2013‐01‐22, file_deleted; file_closed
08/06/2019, 00:03:52.372, Adger, Barbara.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Backup of Jamestown Project Equipment.wbk, file_deleted; file_closed
08/06/2019, 00:03:52.372, Bashay.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Bledsoe.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Business Card.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Butler, Carmen AND Plan.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Butler, Carmen.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Cromwell.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Dennis Willams.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Doris.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Dorsey.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Dr Stephens (Invoice #2).docx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Dr Stephens (Invoice).docx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Dr Stephens Office.docx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Edit Williams 2.docx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Edit Williams final.docx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Edit Williams.docx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Fence.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Forest Street Church of God.docx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Gilliard.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Herbert Debt.docx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Hillwood Cir.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Hughes.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 20 of 220
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08/06/2019, 00:03:52.372, Interest worksheet.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Invoice.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Irene.docx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Kane Ct.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Keesha McElveen.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, KINGDOM FULL GOSPEL CHURCH INC.docx, file_deleted; file_closed
08/06/2019, 00:03:52.372, Lamar Road.doc, file_deleted; file_closed
08/06/2019, 00:03:52.372, Larry Hilton.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Larry Hilton2.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Marcus.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Mims.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Mitchell, Beverly.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, Morning Star Baptist Church.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, Murray.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, New Newberry repair contract #2.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, New Newberry repair contract.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, New Newberry.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, Payment Contract.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, PFCU Property Information.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.388, PFCU.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.388, Pheaseant Run.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Plumbing bid.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Pollard.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, RCRD Equipment‐BJ.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, RCRD Labor.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, RCRD.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Reese‐Bruce.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Restoration Minist.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, Restoration Ministries Service & Maint Agrement.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, Restoration Ministries Service & Maint Report.docm, file_deleted; file_closed
08/06/2019, 00:03:52.388, Restoration Ministries Service & Maint Report.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, Roof Labor.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Roof.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Rosa Lamkin.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 21 of 220
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08/06/2019, 00:03:52.388, Stacey 3.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Stacey 4.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Steadman.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Thompson.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, tm30234.prn, file_deleted; file_closed
08/06/2019, 00:03:52.388, Trinity CME Maint.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Trinity CME Maintenance Report.docx, file_deleted; file_closed
08/06/2019, 00:03:52.388, Trinity CME Service & Maint.docm, file_deleted; file_closed
08/06/2019, 00:03:52.388, Wallace.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Wells Drive.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Wheeler Woods Labels.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, White, James Sr.doc, file_deleted; file_closed
08/06/2019, 00:03:52.388, Woods.docx, file_deleted; file_closed
08/06/2019, 00:03:52.404, Wyatt, Earlene.doc, file_deleted; file_closed
08/06/2019, 00:03:52.404, Yourlanda Butler‐Waring.doc, file_deleted; file_closed
08/06/2019, 00:03:52.404, ~$Interest worksheet.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.404, ~WRL0003.tmp, file_deleted; file_closed
08/06/2019, 00:03:52.404, Misc, file_deleted; file_closed
08/06/2019, 00:03:52.404, Neely.doc, file_deleted; file_closed
08/06/2019, 00:03:52.404, New payment plan.doc, file_deleted; file_closed
08/06/2019, 00:03:52.404, Payment Demand.docx, file_deleted; file_closed
08/06/2019, 00:03:52.544, Neely, file_deleted; file_closed
08/06/2019, 00:03:52.544, 2M, file_deleted; file_closed
08/06/2019, 00:03:52.560, exempt purposes, file_deleted; file_closed
08/06/2019, 00:03:52.560, organization overall, file_deleted; file_closed
08/06/2019, 00:03:52.560, organization test, file_deleted; file_closed
08/06/2019, 00:03:52.560, p557.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.841, Animal Control Committee Resume.doc, file_deleted; file_closed
08/06/2019, 00:03:52.841, Animal Control Talking Points.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, Animal Definitions.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, Animal Services Agenda 14 May 15.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, Animal Services Agenda 15 Dec 14.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, Animal Services Agenda 21 May 15.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, Animal Services Agenda 23 November 2015.docx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 22 of 220
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08/06/2019, 00:03:52.841, Animal Services Agenda 27 Apr 15.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, Animal Services Agenda 5 Feb 15.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, Animal Services Agenda 6 Jan 15.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, Animal Services Agenda 7 May 15.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, By‐Laws Animal Control Board (2).docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, By‐Laws Animal Control Board.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, By‐Laws Animal Services Advisory Board (Draft incomplete).docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, By‐Laws Animal Services Advisory Board Draft.docx, file_deleted; file_closed
08/06/2019, 00:03:52.841, Penalties.docx, file_deleted; file_closed
08/06/2019, 00:03:52.857, Revision of Animal Ordinance Overdue.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.857, Safety Consenus.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.857, Sign In Roster Board Meeting.xls, file_deleted; file_closed
08/06/2019, 00:03:52.857, SKMBT_C45415111215030.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.857, updated‐2015 ORDINANCE REVISION FINAL COPY 11242015 KSB.docx, file_deleted; file_closed
08/06/2019, 00:03:52.857, Animal Control, file_deleted; file_closed
08/06/2019, 00:03:52.857, Absenteer Ballot Request.docx, file_deleted; file_closed
08/06/2019, 00:03:52.857, Finance Department Questions.docx, file_deleted; file_closed
08/06/2019, 00:03:52.857, Review Committee.docx, file_deleted; file_closed
08/06/2019, 00:03:52.857, ~WRL0003.tmp, file_deleted; file_closed
08/06/2019, 00:03:52.872, ~WRL1157.tmp, file_deleted; file_closed
08/06/2019, 00:03:52.872, ~WRL2863.tmp, file_deleted; file_closed
08/06/2019, 00:03:52.872, Agenda 1 Nov 10 Meeting.doc, file_deleted; file_closed
08/06/2019, 00:03:52.872, Agenda 14 Oct 10 Meeting.doc, file_deleted; file_closed
08/06/2019, 00:03:52.872, Agenda 14 Sep 10 Meeting.docx, file_deleted; file_closed
08/06/2019, 00:03:52.872, Agenda 19 Oct 10 Meeting.doc, file_deleted; file_closed
08/06/2019, 00:03:52.872, Agenda 21 Sep 10 Meeting.doc, file_deleted; file_closed
08/06/2019, 00:03:52.872, Agenda 23 Mar 10 Meeting.docx, file_deleted; file_closed
08/06/2019, 00:03:52.872, Agenda 26 Oct 10 Meeting.doc, file_deleted; file_closed
08/06/2019, 00:03:52.872, Agenda 27 Sep 10 Meeting.doc, file_deleted; file_closed
08/06/2019, 00:03:52.872, Agenda 3 Aug 10 Meeting.docx, file_deleted; file_closed
08/06/2019, 00:03:52.872, Agendas, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP‐401‐10.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP‐401‐20.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP‐401‐22.pdf, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 23 of 220
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08/06/2019, 00:03:52.888, VP‐401‐30.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP‐401‐39.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP‐404‐108.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP‐404‐119.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP‐404‐123.doc, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP‐404‐123.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP‐404‐97.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP402‐50.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP402‐63.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP403‐75.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP403‐86.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP405‐141.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP405‐149.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP406‐160.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP406‐168.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, VP406‐170.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, List Info, file_deleted; file_closed
08/06/2019, 00:03:52.888, 2015 Kellie McIntyre Campaign Donations.xls, file_deleted; file_closed
08/06/2019, 00:03:52.888, Bank Account.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.888, Donations 2013.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.888, Election Day & Beyond Cash Expenses.docx, file_deleted; file_closed
08/06/2019, 00:03:52.888, Jamestown Parking Attendant.docx, file_deleted; file_closed
08/06/2019, 00:03:52.888, Jan 31, 2015 Report.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.888, Kellie Letter 2013.doc, file_deleted; file_closed
08/06/2019, 00:03:52.888, Kellie Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:52.888, Kellie McIntyre Tickets Sales for 2 Aug 12.xls, file_deleted; file_closed
08/06/2019, 00:03:52.904, Kellie McIntyre Campaign Donations.xls, file_deleted; file_closed
08/06/2019, 00:03:52.904, Platform ‐Old.docx, file_deleted; file_closed
08/06/2019, 00:03:52.904, Poll Worker Payment Receipt.docx, file_deleted; file_closed
08/06/2019, 00:03:52.904, McIntyre Campaign, file_deleted; file_closed
08/06/2019, 00:03:52.904, 2013_CCDR[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.904, 2013_CCDR[1]2.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.904, 2014‐PFD‐Personal‐Financial‐Disclosure‐Statement.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.904, 2014_CCDRv5 (1).pdf, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 24 of 220
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08/06/2019, 00:03:52.904, 2014_CCDRv5.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.904, Achievements.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.904, Ad Calendar.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.904, Agenda 31 Jul 14, Talking Points ‐ Commissioners Elect.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.904, Benevolent Police Assoc.docx, file_deleted; file_closed
08/06/2019, 00:03:52.904, Bio.docx, file_deleted; file_closed
08/06/2019, 00:03:52.904, Breakfast Flyer.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.904, Business card2 ‐ Copy.doc, file_deleted; file_closed
08/06/2019, 00:03:52.904, Business card2.doc, file_deleted; file_closed
08/06/2019, 00:03:52.904, Calendar BackUp.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.904, Calendar Mar & Apr.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.904, Calendar.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.904, Campaign Assistance.xls, file_deleted; file_closed
08/06/2019, 00:03:52.904, Campaign Brand.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.904, Campaign Card.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.904, Campaign Donations Record.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.904, Campaign News Release.doc, file_deleted; file_closed
08/06/2019, 00:03:52.904, Campaign Pledges.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.904, Campaign Return Lables 2.doc, file_deleted; file_closed
08/06/2019, 00:03:52.919, Campaign Return Lables.doc, file_deleted; file_closed
08/06/2019, 00:03:52.919, Campaign Sign In.xls, file_deleted; file_closed
08/06/2019, 00:03:52.919, Campaign Support Request 2.doc, file_deleted; file_closed
08/06/2019, 00:03:52.919, Campaign Support Request.doc, file_deleted; file_closed
08/06/2019, 00:03:52.919, CCDRFDPIN‐Candidate2011.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Citizens for Fair Schooling.docx, file_deleted; file_closed
08/06/2019, 00:03:52.919, Committee to Elect Sammie Sias lables.docx, file_deleted; file_closed
08/06/2019, 00:03:52.919, Community Platform and Resume.docx, file_deleted; file_closed
08/06/2019, 00:03:52.919, Contact Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:52.919, Dist 8 10.docx, file_deleted; file_closed
08/06/2019, 00:03:52.919, Donor List.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.919, Election Day Schedule and Activities.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, EMSGuideBk‐1.pdf, attrib_changed; file_closed
08/06/2019, 00:03:52.919, EMSGuideBk‐1.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Envelope Address.rtf, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 25 of 220
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08/06/2019, 00:03:52.919, Expenses.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.919, Fairington Dr_2013‐12‐19_EIDDDA5C2P.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.919, FormDOI2011.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Foundation Club Fund Raising Invitation.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Foundation Club Fund Raising Invitation2.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Fund Raiser Names.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Fund Raising Letter (Businesses).rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Fund Raising Letter (Friends).rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Fund Raising Letter (Sandridge) 2.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Fund Raising Letter (Sandridge).rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Fund Raising Letter ‐ old.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Header Bullets.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Hyde Park Dec 2013.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Jamestown Meet and Greet Mar 22nd 2014.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Jamestown Meet and Greet Reply Card Mar 22nd 2014.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, lables.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.919, Late File 2013.docx, file_deleted; file_closed
08/06/2019, 00:03:52.919, March 13, 2014 Campaign Finance Report.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Metro Courier AD.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Neighborhoods in the 4th District.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, New Bio 2.docx, file_deleted; file_closed
08/06/2019, 00:03:52.935, New Bio.docx, file_deleted; file_closed
08/06/2019, 00:03:52.935, New Microsoft Office Word Document.docx, file_deleted; file_closed
08/06/2019, 00:03:52.935, New Rich Text Document (2).rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, New Rich Text Document.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Phone Calling Script.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Pictures.zip, file_deleted; file_closed
08/06/2019, 00:03:52.935, Platform and Resume ‐ Mail Out.docx, file_deleted; file_closed
08/06/2019, 00:03:52.935, Platform.docx, file_deleted; file_closed
08/06/2019, 00:03:52.935, Police Benevolent Association.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Political Web.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Presentation1.pptx, file_deleted; file_closed
08/06/2019, 00:03:52.935, Presentation2.pptx, file_deleted; file_closed
08/06/2019, 00:03:52.935, Qualified%20Candidates%20for%202014_201403051238255835[1].pdf, file_deleted; file_closed
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08/06/2019, 00:03:52.935, Report.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, reportPDF[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Resume.docx, file_deleted; file_closed
08/06/2019, 00:03:52.935, Return Lables.doc, file_deleted; file_closed
08/06/2019, 00:03:52.935, Schedule%20and%20Important%20Dates_201402211355095888[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Sign 6x4.docx, file_deleted; file_closed
08/06/2019, 00:03:52.935, Spelling.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, SPLOST VII to Adminstrator.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Sports Bar.docx, file_deleted; file_closed
08/06/2019, 00:03:52.935, Street.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Summary.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Take Home Notes.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Talking Points ‐ Pinnacle Place.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Talking Points ‐ Round Table 14 Dec 13.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Talking Points Administrator.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Tax saving.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, TEE Center.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.935, Thank You Card.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Urban Pro Weekly AD.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, Voters List District 4 ‐ Copy 1.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.935, Voters List District 4.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.935, Voting Schedule.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.935, web Committee Staff.docx, file_deleted; file_closed
08/06/2019, 00:03:52.951, ~$Donor List.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.951, Elect Sammie Sias Commissioner District 4 002.jpg, file_deleted; file_closed
08/06/2019, 00:03:52.951, Finance Report.gif, file_deleted; file_closed
08/06/2019, 00:03:52.951, 2014‐03‐13 Elect Sammie Sias Commissioner District 4, file_deleted; file_closed
08/06/2019, 00:03:52.951, Communirty Service Resume 2.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.951, Communirty Service Resume.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.951, Presentation1.pptx, file_deleted; file_closed
08/06/2019, 00:03:52.951, Road Name.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.951, Summer Camp.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.951, Tax Saving.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.951, Tax Saving2.rtf, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 27 of 220
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08/06/2019, 00:03:52.951, Achievements, file_deleted; file_closed
08/06/2019, 00:03:52.951, Administrator Authority Change.docx, file_deleted; file_closed
08/06/2019, 00:03:52.951, Aug 18Talking Points ‐ Commissioners Elect.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.951, Aug 27 Talking Points ‐ Commissioners Elect.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.951, Aug 6 Talking Points ‐ Commissioners.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Aug 7 Talking Points ‐ Commissioner Davis.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Goals & Onjectives.docx, file_deleted; file_closed
08/06/2019, 00:03:52.966, Jul 30 Talking Points ‐ Commissioners Elect.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Public Works 2.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Sep 18 Talking Points ‐ Commissioner Marion Williams.docx, file_deleted; file_closed
08/06/2019, 00:03:52.966, Truck Parking.docx, file_deleted; file_closed
08/06/2019, 00:03:52.966, Commissioners, file_deleted; file_closed
08/06/2019, 00:03:52.966, Agenda 10 February 2014.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Agenda 10 March 2014.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Agenda 16 Jan 14.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Agenda 21 April 2014.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Agenda 24 February 2014.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Agenda 24 March 2014.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Agenda 30 January 2014.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Agenda 8 April 2014.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Agenda for 17 Dec 13.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Breakfast Agenda 12 April 2014.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Campaign Strategy.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Committees.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Committtee Sign In.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.966, Community Service Acheivements.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Neighborhoods in the 4th District.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.966, Committee Agendas, file_deleted; file_closed
08/06/2019, 00:03:52.966, 2012 Primary voters ‐ Copy.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.966, 2012 Primary voters.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.966, 401 2012 Primary_2014‐04‐10_EID45F7F2D[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Ardwick Dr 41 doors_2014‐02‐23_EID682BD2A.pdf, attrib_changed; file_closed
08/06/2019, 00:03:52.982, Ardwick Dr 41 doors_2014‐02‐23_EID682BD2A.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Ashton Dr 9 People 4 Doors_2014‐02‐23_EIDCC2BD2C[1].pdf, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 28 of 220
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08/06/2019, 00:03:52.982, Avalon Ct 18 People 15 Doors_2014‐02‐23_EIDFB2BD2G[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Breakfast 50+WW.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Calling 2012 Primary_2014‐04‐09_EID3687F2L[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Canvasing Personnel Roster.rtf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Inverness Dr 14 doors_2014‐02‐23_EID692BD2Q[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Neighborhood Streets.xlsx, file_deleted; file_closed
08/06/2019, 00:03:52.982, Saddlebrook Dr_2014‐03‐29_EIDC801F2Q[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Wyndham Dr 13 People 10 Doors_2014‐02‐23_EID2B2BD2K[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Bansbury Ln 3 people 2 doors_2014‐03‐10_EID9674E2B[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Bansbury Pl 97 people 47 Doors_2014‐03‐10_EIDD574E2G[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Connector Rd 6 People 4 doors_2014‐03‐10_EIDF774E2G[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Essex Pl_147 People ‐ 73 Doors 2014‐03‐10_EID2574E2M[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Manchester Dr 62 People 25 doors_2014‐03‐10_EID8374E2D[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Oxford Dr 46 people 24 doors_2014‐03‐10_EID3774E2L[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Surrey Pl 1 Person 1 door_2014‐03‐10_EIDA874E2A[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Thames Pl 240 people 107 doors_2014‐03‐10_EID6274E2C[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Warwick Pl 79 People 31 Doors_2014‐03‐10_EID6474E2A[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Cambridge, file_deleted; file_closed
08/06/2019, 00:03:52.982, Fairington Dr_2013‐12‐19_EIDDDA5C2P.pdf, file_deleted; file_closed
08/06/2019, 00:03:52.982, Fairington, file_deleted; file_closed
08/06/2019, 00:03:52.997, Bern Ct_2014‐02‐11_EIDA3B4D2I[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Cahill CT_2014‐02‐11_EID00B4D2B[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Chisum Ct_2014‐02‐11_EID32B4D2C[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Creekview Ct_2014‐02‐11_EID91B4D2J[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Creekview Dr_2014‐02‐11_EID90B4D2K[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Dunson Dr_2014‐02‐11_EID7FA4D2J[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Pinnacle Pines Ct_2014‐02‐11_EIDCEA4D2P[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Pinnacle Place Dr_2014‐01‐29_EID4E1FC2D[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Pinnacle Way_2014‐01‐29_EID0A1FC2D[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Ridge Run Dr_2014‐01‐29_EID3D1FC2D[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Scots Pine Ct_2014‐02‐11_EID2EA4D2F[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Pinnacle Place, file_deleted; file_closed
08/06/2019, 00:03:52.997, Black Oak Ct 9 people 5 doors_2014‐03‐02_EID7CBFD2C[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Broad Oak Ct 33 People 15 doors_2014‐03‐02_EID0FBFD2J[1].pdf, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 29 of 220
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08/06/2019, 00:03:52.997, Elk Grove Trl 50 People 21 doors _2014‐03‐02_EID4DBFD2P[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Golden Leaf 54 people 20 drs_2014‐03‐02_EID7FBFD2Q[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Lakeland Ct 19 people 10 doors_2014‐03‐02_EID9DBFD2D[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Shadow Moss Ct 37 people 16 doors_2014‐03‐02_EID9EBFD2C[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, White Pine Ct 194 People 89 Boxes_2014‐03‐02_EID9BBFD2F[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:52.997, Ridge Forest Estates, file_deleted; file_closed
08/06/2019, 00:03:53.013, Corkwood_2014‐01‐29_EID971FC2P.pdf, attrib_changed; file_closed
08/06/2019, 00:03:53.013, Corkwood_2014‐01‐29_EID971FC2P.pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Crest Dr_2013‐12‐19_EID4FC5C2G[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Fair Oak_2014‐01‐29_EIDD51FC2E[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Harwood Lables_2013‐12‐25_EID8036C2P[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Harwood St_2013‐12‐25_EIDB036C2B[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Hollins Dr_2013‐12‐25_EID6336C2K[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Lander Ct_2013‐12‐25_EID7336C2L[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Pepperdine Dr_2013‐12‐20_EID39E5C2N[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Sand Ridge Ct_2013‐12‐25_EID5336C2J[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Walsh Ct_2013‐12‐20_EID18E5C2M[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Whittier Pl_2013‐12‐20_EIDD8E5C2H[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Sand Ridge, file_deleted; file_closed
08/06/2019, 00:03:53.013, Brookstone Rd 174 People 88 Doors_2014‐03‐18_EID0C09E2I[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Carvers Ct 41 People 17 Doors_2014‐03‐18_EIDBC09E2C[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Claystone Way 25 people 14 Doors_2014‐03‐18_EID7D09E2O[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Creek Run Rd 56 People 26 Doors_2014‐03‐18_EIDCF09E2A[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Deer Chase Ln 109 People 50 Doors_2014‐03‐18_EID9909E2D[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Drew Ln 29 People 14 doors_2014‐03‐18_EID8809E2D[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Fox Den 68 doors_2014‐04‐05_EID8315F2O[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Issac Way 17 People 13 Doors_2014‐03‐18_EIDD709E2J[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Jocelyn _2014‐03‐18_EID5409E2E[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Jonathan Pl 36 people 14 Doors_2014‐03‐18_EID1909E2M[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Kaneck Way 38 People 22 doors_2014‐03‐18_EIDF109E2A[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Kristi way 46 people 23 Doors_2014‐03‐18_EID1A09E2L[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, McLean Pl 21 Doors_2014‐04‐05_EIDC215F2C[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Mickie Ann Way 2 People 16 Doors_2014‐03‐18_EIDAB09E2C[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.013, Owen Way 5 People 4 Doors_2014‐03‐18_EID6B09E2P[1].pdf, file_deleted; file_closed
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08/06/2019, 00:03:53.013, Sandstone Ln 43 People 24 Doors_2014‐03‐18_EIDAE09E2Q[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.029, Spirit Creek Rd 298 People 121 Doors_2014‐03‐18_EID5019E2J[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.029, Walton Loop 115 people 50 Doors_2014‐03‐18_EID3909E2O[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.029, Woodchuck way 45 doors 110 people_2014‐04‐05_EID0415F2F[1].pdf, file_deleted; file_closed
08/06/2019, 00:03:53.029, Walton Hills, file_deleted; file_closed
08/06/2019, 00:03:53.122, Neighborhood Canvasing, file_deleted; file_closed
08/06/2019, 00:03:53.122, Beautifying the Front Entrance.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, Campaign Photo 1.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.122, Campaign Photo 2.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.122, Community Unity Event 2.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.122, Community Unity Event 3.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.122, Community Unity Event.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, Community Yard Sale.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0230.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0231.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0232.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0233.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0234.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0235.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0236.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0237.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0238.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0239.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.122, DSCN0240.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN0241.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN0242.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN0243.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN0244.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN0245.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN0246.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN0247.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN0248.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN0249.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN0250.JPG, file_deleted; file_closed
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08/06/2019, 00:03:53.138, DSCN0808.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, Elect Sammie Sias Commissioner District 4 002.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.138, Image.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, Image0011.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, Middle School Science Experiments.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, Preparing for a Wedding Cermony.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, Sammie Sias 5x7 flyer.pdf, attrib_changed; file_closed
08/06/2019, 00:03:53.138, Sammie Sias 5x7 flyer.pdf, file_deleted; file_closed
08/06/2019, 00:03:53.138, SiasSammie‐Jan14‐8X4.gif, attrib_changed; file_closed
08/06/2019, 00:03:53.138, SiasSammie‐Jan14‐8X4.gif, file_deleted; file_closed
08/06/2019, 00:03:53.138, Image0008.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, Annual Community Day, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN1185.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN1186.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN1190.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN1205.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, DSCN1229.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, Image0006.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, Image0007.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.138, Annual Easter Egg Hunts, file_deleted; file_closed
08/06/2019, 00:03:53.154, DSCN1075.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.154, Image0001.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.154, CSRA Habitat for Humanity, file_deleted; file_closed
08/06/2019, 00:03:53.154, DSCN1262.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.154, DSCN1267.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.154, DSCN1273.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.154, DSCN1282.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.154, DSCN1287.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.154, First Campaign Event, file_deleted; file_closed
08/06/2019, 00:03:53.154, PPictures 027.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.154, PPictures 064.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.154, PPictures 073.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.154, PPictures 138.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.154, PPictures 162.jpg, file_deleted; file_closed
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08/06/2019, 00:03:53.154, PPictures 170.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.154, PPictures 173.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.154, Jamestown Community Improvement Project, file_deleted; file_closed
08/06/2019, 00:03:53.169, PPictures 044.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.169, PPictures 046.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.169, Jamestown Summer Camp Program 11 Years, file_deleted; file_closed
08/06/2019, 00:03:53.169, DSCN0876.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.169, DSCN0886.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.169, DSCN0893.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.169, DSCN0911.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.169, Neighborhood Alliance Scholarship Banquet 2009, file_deleted; file_closed
08/06/2019, 00:03:53.169, Image0010.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.169, Summer Camp ‐ The Early Years.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.169, Summer Camp, file_deleted; file_closed
08/06/2019, 00:03:53.169, Image0010 ‐ Copy.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.169, Supporting Fort Gordon's Soldiers, file_deleted; file_closed
08/06/2019, 00:03:53.169, Pictures, file_deleted; file_closed
08/06/2019, 00:03:53.185, Change the Channel.rtf, file_deleted; file_closed
08/06/2019, 00:03:53.216, Radio, file_deleted; file_closed
08/06/2019, 00:03:53.216, Sias 2014 Campaign, file_deleted; file_closed
08/06/2019, 00:03:53.216, Campaign Stuff, file_deleted; file_closed
08/06/2019, 00:03:53.216, 029.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.216, 032.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.216, 075.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.216, 079 (2).JPG, file_deleted; file_closed
08/06/2019, 00:03:53.216, 079.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.216, 162.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.216, 284.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.216, DSCN0312.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1532.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1533.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1534.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1535.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1536.JPG, file_deleted; file_closed
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08/06/2019, 00:03:53.232, DSCN1537.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1546.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1547.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1548.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1549.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1550.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1551.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1552.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1553.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1554.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1555.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1556.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1561.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1562.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1576.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1577.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1578.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1579.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1580.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1581.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1582.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1583.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1584.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1585.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1586.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1587.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1588.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1590.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1592.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1602.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1603.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1607.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1608.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1609.JPG, file_deleted; file_closed
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08/06/2019, 00:03:53.232, DSCN1610.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1611.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1612.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1613.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1614.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.232, DSCN1615.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1616.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1617.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1618.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1619.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1620.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1621.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1622.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1623.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1624.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1625.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1626.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1627.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1628.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1629.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1630.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1631.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1632.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1633.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1634.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1635.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1636.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1637.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1638.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1639.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1640.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1641.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1642.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1643.JPG, file_deleted; file_closed
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08/06/2019, 00:03:53.248, DSCN1644.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1645.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1646.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1647.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1648.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1649.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1650.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1651.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1652.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1653.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1654.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1655.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1656.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1657.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1658.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1659.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.248, DSCN1660.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1661.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1662 (2).JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1662.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1667.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1668.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1669.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1670.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1671.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1672.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1673.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1674.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1675.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1676.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1685.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1686.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1687.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1688.JPG, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 36 of 220
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08/06/2019, 00:03:53.263, DSCN1689.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1690.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1691.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1692.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, DSCN1693.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, IMG_9300.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.263, MAVICA.HTM, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐004F (2).JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐004F.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐353S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐354S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐355S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐356S (2).JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐357S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐358S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐359S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐360S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐361S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐362S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐363S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, MVC‐364S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.263, PPictures 009.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.263, PPictures 027.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.263, PPictures 058.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.263, PPictures 066.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.279, PPictures 122.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.279, PPictures 134.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.279, PPictures 138.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.279, PPictures 147.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.279, PPictures 164.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.419, PPictures 170.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.419, Desktop, file_deleted; file_closed
08/06/2019, 00:03:53.435, Agenda FSC.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Aisha Washington Deselection.doc, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 37 of 220
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08/06/2019, 00:03:53.435, Alread Deselection‐Exec Comm.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Alread Deselection.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Angela Williams Deselection II.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Angela Williams Deselection.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Board Request.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Breakfast Agenda 22 Jan 05.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Breakfast Agenda2008.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Breakfast Letter 2.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Breakfast Letter 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Breakfast Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Breakfast Notes.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Breakfast.doc, file_deleted; file_closed
08/06/2019, 00:03:53.435, Burned Child 2.ppt, file_deleted; file_closed
08/06/2019, 00:03:53.435, Christina Williams Deselection II.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Christina Williams Deselection.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Family Mailing List.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, FamilySupport_AOM_011909.pdf, file_deleted; file_closed
08/06/2019, 00:03:53.451, FSC Chair.docx, file_deleted; file_closed
08/06/2019, 00:03:53.451, Habitat Family Mailing List.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Jamestown Strip Map.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Jamestown StripMap.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Kathy Culver Deselection.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Mailing Label.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Mailing Label2.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Martin DeSelection‐Answer.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Martin Deselection‐Exec Comm.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Martin DeSelection.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Partner Sweat Equity.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Return Address FSC.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Return Mailing Label.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Saturday Work Schedule.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Sign In Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:53.451, Sweat Equity Amendments.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, Sweat Equity Revised.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 38 of 220
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08/06/2019, 00:03:53.451, Sweat Equity.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, FSC Agenda 22 January 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, FSC Agenda 7 January 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:53.451, FSC Agendas, file_deleted; file_closed
08/06/2019, 00:03:53.466, Budget Worksheet.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Class Schedule.docx, file_deleted; file_closed
08/06/2019, 00:03:53.466, Electrical Fire.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Finance Class Test.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Home Landscaping Class on 18 Feb 12.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Home Maint I test.docx, file_deleted; file_closed
08/06/2019, 00:03:53.466, Home Maintenance Class I on 21 Jan 12.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Home Maintenance Class II on 28 Jan 12.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Landscaping.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Maint‐Safety Class Photo.ppt, file_deleted; file_closed
08/06/2019, 00:03:53.466, Maintenance Class.doc.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Monthly Budget 2.XLS, file_deleted; file_closed
08/06/2019, 00:03:53.466, Monthly Budget.XLS, file_deleted; file_closed
08/06/2019, 00:03:53.466, New Microsoft Word Document.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Safety Class Test.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Safety Class.doc.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, Homeowner Classes, file_deleted; file_closed
08/06/2019, 00:03:53.466, Habitat, file_deleted; file_closed
08/06/2019, 00:03:53.466, BIO.doc, file_deleted; file_closed
08/06/2019, 00:03:53.466, FINANC2.XLS, file_deleted; file_closed
08/06/2019, 00:03:53.466, LG_Viewty_Smart_manual.pdf, file_deleted; file_closed
08/06/2019, 00:03:53.466, Sammie Sias Calendar.ics, file_deleted; file_closed
08/06/2019, 00:03:53.466, ~$SCA(A).pptx, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of Lease Contract.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Emanuel County Lease.doc, file_deleted; file_closed
08/06/2019, 00:03:53.482, Henderson Eviction.docx, file_deleted; file_closed
08/06/2019, 00:03:53.482, Lease Contract (Blank).doc, file_deleted; file_closed
08/06/2019, 00:03:53.482, Lease Contract.doc, file_deleted; file_closed
08/06/2019, 00:03:53.482, Lien Law.doc, file_deleted; file_closed
08/06/2019, 00:03:53.482, Richwood Lease Information, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 39 of 220
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08/06/2019, 00:03:53.482, Items, file_deleted; file_closed
08/06/2019, 00:03:53.482, 13DEC94.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.482, 2000.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.482, 2001.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.482, 26OCT97.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.482, 2826 Pepperdine.doc, file_deleted; file_closed
08/06/2019, 00:03:53.482, 2894 Pepperdine Warranty Request.docx, file_deleted; file_closed
08/06/2019, 00:03:53.482, After School Program 2000.ppt, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of BALLOT‐2000.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of BALLOT.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of Banquet Issues.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of Business card.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of Community Day.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of Payment Request.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of Program Support Request.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of Programs‐Winter.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of Rental Contract.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of REPAIR REQUEST‐3.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, Backup of SCA Meeting Schedule.wbk, file_deleted; file_closed
08/06/2019, 00:03:53.482, BALLOT‐2000.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Ballot‐2002.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, BGCA Partner SCA MOU 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, BOD & Comm. Meeting.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, BOD Jul 2000.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, BODLIST.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.498, BROWN.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.498, Business card.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, By‐Laws Committee Report.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, By‐Laws Committee‐Dec99.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, By‐Laws Recommendations.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Center Thank You.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Check MFR.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Christmas Clean‐Up.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Compensation for Staffing.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 40 of 220
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08/06/2019, 00:03:53.498, Contribution Request 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Copy of Contribution Request 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Cost‐Community Day .xls, file_deleted; file_closed
08/06/2019, 00:03:53.498, Crime Report.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, duncan.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, ELECTCOM.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.498, electfly.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Elections Proceeding.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.498, Fence Parts Request.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Final Payment.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.498, Financial Projects Report.xls, file_deleted; file_closed
08/06/2019, 00:03:53.498, Finnancial Report (IPR).xls, file_deleted; file_closed
08/06/2019, 00:03:53.498, Flyer Newsletter(1).DOC, file_deleted; file_closed
08/06/2019, 00:03:53.498, Flyer Newsletter.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, FLYER.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.498, Gangs.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, goldstar.PPT, file_deleted; file_closed
08/06/2019, 00:03:53.498, Guest Speaker Request.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Jamestown Annual Report.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Jamestown Center Strip Map.ppt, file_deleted; file_closed
08/06/2019, 00:03:53.498, Jamestown Community Center‐Executive Report.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, KOTLARZ.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Latrine Signs.doc, file_deleted; file_closed
08/06/2019, 00:03:53.498, Logo.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Mailing Label ‐SCA.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Martin DeSelection.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, MEMO‐BOD.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.513, MEMO‐BOD1.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.513, MEMO‐BOD2‐1.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, MEMO‐BOD2.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.513, MEMPACK.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.513, Mims.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Miuntes for 25 Feb 02.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, MVC‐355S.gif, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 41 of 220
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08/06/2019, 00:03:53.513, MVC‐357S.gif, file_deleted; file_closed
08/06/2019, 00:03:53.513, netzero.exe, file_deleted; file_closed
08/06/2019, 00:03:53.513, newmem.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, newsletter1.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Notes 4 Mar 00.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, OATH.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.513, Payment Request.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, PHOTO.PPT, file_deleted; file_closed
08/06/2019, 00:03:53.513, Program Support Request.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Program Update.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Program.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Programs‐Winter.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Projects for 2002.xls, file_deleted; file_closed
08/06/2019, 00:03:53.513, RCNAA Business card.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, RCNAA‐Symbol.ppt, file_deleted; file_closed
08/06/2019, 00:03:53.513, RCRD Project Meeting 17 Jan 08.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Rental Contract.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, REPAIR REQUEST‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, REPAIR REQUEST‐3.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, REPAIR REQUEST‐4.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, REPAIR REQUEST.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Richard Colclough.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, Road Block Request.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, ROGRAMS.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.513, Safety Program.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, SCA Meeting Schedule.doc, file_deleted; file_closed
08/06/2019, 00:03:53.513, SCA#2.XLS, file_deleted; file_closed
08/06/2019, 00:03:53.513, SCA‐BASE.XLS, file_deleted; file_closed
08/06/2019, 00:03:53.529, SCA‐LTR.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.529, SCA.DOC, file_deleted; file_closed
08/06/2019, 00:03:53.529, Section 8 Briefing.doc, file_deleted; file_closed
08/06/2019, 00:03:53.529, SGM‐Card.doc, file_deleted; file_closed
08/06/2019, 00:03:53.529, Sias Family Reunion Mailing List.doc, file_deleted; file_closed
08/06/2019, 00:03:53.529, SIGN‐IN.DOC, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 42 of 220
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08/06/2019, 00:03:53.529, STREETS.XLS, file_deleted; file_closed
08/06/2019, 00:03:53.529, Tables.doc, file_deleted; file_closed
08/06/2019, 00:03:53.529, TAP.doc, file_deleted; file_closed
08/06/2019, 00:03:53.529, Tasking.doc, file_deleted; file_closed
08/06/2019, 00:03:53.529, Thank You Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:53.529, Ticket2003.pdf.ppt, file_deleted; file_closed
08/06/2019, 00:03:53.529, Water Request.doc, file_deleted; file_closed
08/06/2019, 00:03:53.529, woodlake donations.docx, file_deleted; file_closed
08/06/2019, 00:03:53.529, Yard Sale .doc, file_deleted; file_closed
08/06/2019, 00:03:53.529, Yard Sale Release.doc, file_deleted; file_closed
08/06/2019, 00:03:53.654, S‐1‐5‐21‐712201621‐1561272147‐2069810383‐1001_StartupInfo1.xml, file_deleted; file_closed
08/06/2019, 00:03:53.654, Year In Review.doc, file_deleted; file_closed
08/06/2019, 00:03:53.669, MISC, file_deleted; file_closed
08/06/2019, 00:03:53.669, en_office_enterprise_2007_CD_VL_X12‐19574.iso, file_deleted; file_closed
08/06/2019, 00:03:53.669, Office2007EnterpriseKey.txt, file_deleted; file_closed
08/06/2019, 00:03:53.669, winxp_virtualcd_controlpanel_21.exe, file_deleted; file_closed
08/06/2019, 00:03:53.669, Office 2007, file_deleted; file_closed
08/06/2019, 00:03:53.669, Pictures, attrib_changed; file_closed
08/06/2019, 00:03:53.669, Pictures, attrib_changed; file_closed
08/06/2019, 00:03:53.669, DSCN0003.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.669, DSCN0004.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0005.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0006.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0007.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0008.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0009.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0010.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0011.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0012.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0013.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0014.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0015.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0016.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0017.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 43 of 220
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08/06/2019, 00:03:53.685, DSCN0018.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0019.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0020.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0021.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0022.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0023.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0024.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0025.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.685, DSCN0026.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0027.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0028.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0029.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0030.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0031.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0032.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0033.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0034.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0035.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0036.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0037.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0038.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0039.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0040.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0041.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0042.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0043.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0044.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0045.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.701, DSCN0046.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0047.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0048.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0049.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0050.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0051.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 44 of 220
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08/06/2019, 00:03:53.716, DSCN0052.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0053.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0054.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0055.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0056.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0057.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0058.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0059.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0060.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0061.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0062.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0063.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0064.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0065.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0066.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0067.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0068.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0069.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0070.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0071.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0072.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0073.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0074.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0075.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0076.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0077.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0078.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0079.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0080.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.716, DSCN0081.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0082.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0083.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0084.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0085.JPG, file_deleted; file_closed
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08/06/2019, 00:03:53.732, DSCN0086.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0087.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0088.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0089.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0090.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0091.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0092.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0093.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0094.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0095.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0096.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0097.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0098.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0099.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0100.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0101.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0102.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0103.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0104.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0105.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0106.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0107.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0108.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0109.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0110.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0111.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0112.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0113.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0114.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0115.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0116.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0117.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0118.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.732, DSCN0119.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 46 of 220
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08/06/2019, 00:03:53.748, DSCN0120.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0121.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0122.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0123.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0124.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0125.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0126.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0127.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0128.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0129.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0130.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0131.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0132.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0133.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0134.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0135.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0136.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0137.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0138.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0139.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0140.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0141.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0142.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0143.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0144.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0146.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0147.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0148.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0149.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0150.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0151.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0152.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0153.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0155.JPG, file_deleted; file_closed
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08/06/2019, 00:03:53.748, DSCN0156.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0157.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0158.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.748, DSCN0159.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0160.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0161.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0162.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0163.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0164.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0165.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0166.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0167.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0168.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0169.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0170.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0171.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0173.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0174.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0175.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0176.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0177.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0178.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0179.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0180.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0181.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0182.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0183.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0184.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0185.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0186.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0187.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0188.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0189.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0190.JPG, file_deleted; file_closed
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08/06/2019, 00:03:53.763, DSCN0191.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0192.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0193.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0194.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0195.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0196.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0197.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.763, DSCN0198.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0199.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0200.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0201.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0202.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0203.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0204.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0205.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0630.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0631.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0632.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0633.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0673.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0681.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0683.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0695.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0696.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0697.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0698.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0699.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0703.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN0715.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1548.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1549.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1552.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1553.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1555.JPG, file_deleted; file_closed
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08/06/2019, 00:03:53.779, DSCN1556.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1576.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1577.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1578.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1580.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1581.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1586.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1587.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1588.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1607.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.779, DSCN1608.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1614.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1615.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1616.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1617.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1619.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1621.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1622.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1625.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1629.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1630.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1631.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1632.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1633.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1635.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1636.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1637.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1638.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1639.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1641.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1643.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1644.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1646.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1647.JPG, file_deleted; file_closed
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08/06/2019, 00:03:53.794, DSCN1648.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1649.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1651.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1652.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1653.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1654.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1655.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1657.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1658.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1659.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1660.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1661.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1662.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.794, DSCN1667.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.810, DSCN1668.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.810, DSCN1669.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.810, DSCN1671.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.810, DSCN1672.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.810, DSCN1691.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.810, DSCN1692.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.810, MVC‐354S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.810, MVC‐355S.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 010.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 018.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 021.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 022.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 023.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 025.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 027.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 060.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 061.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 062.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 063.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 064.jpg, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 51 of 220
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08/06/2019, 00:03:53.810, PPictures 066.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 072.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 074.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 075.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 076.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 077.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 078.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 080.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 094.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 097.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 098.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 099.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 104.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 107.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.810, PPictures 109.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 119.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 122.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 123.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 124.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 126.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 127.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 128.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 129.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 131.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 133.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 134.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 135.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 136.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 137.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 138.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 139.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 140.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 141.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 142.jpg, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 52 of 220
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08/06/2019, 00:03:53.826, PPictures 143.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 144.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 145.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 146.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 147.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 148.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 149.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 150.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 151.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 152.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 158.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 159.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 160.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 162.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 163.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 164.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.826, PPictures 165.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.841, PPictures 166.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.841, PPictures 167.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.841, PPictures 169.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.841, PPictures 170.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.841, PPictures 172.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.841, PPictures 173.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.841, PPictures 175.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.937, PPictures 176.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.937, Pictures, attrib_changed; file_closed
08/06/2019, 00:03:53.937, Pictures, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0630.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0631.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0632.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0633.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0673.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0675.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0676.JPG, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 53 of 220
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08/06/2019, 00:03:53.953, DSCN0677.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0678.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0679.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0680.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0681.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0682.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0683.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0684.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0685.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0686.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.953, DSCN0687.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0688.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0695.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0696.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0697.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0698.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0699.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0700.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0701.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0702.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0703.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0704.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0712.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0713.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0714.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.968, DSCN0715.JPG, file_deleted; file_closed
08/06/2019, 00:03:53.984, Jamestown Project Slab Prep.mov, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 008.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 009.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 010.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 018.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 019.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 020.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 021.jpg, file_deleted; file_closed
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08/06/2019, 00:03:53.984, PPictures 022.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 023.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 024.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 025.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 026.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 027.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 060.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 061.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 062.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 063.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 064.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 065.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 066.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 071.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 072.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 073.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 074.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 075.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 076.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 077.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 078.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 079.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 080.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 093.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 094.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 095.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 096.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 097.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 098.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.984, PPictures 099.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 100.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 101.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 102.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 103.jpg, file_deleted; file_closed
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08/06/2019, 00:03:53.999, PPictures 104.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 105.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 106.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 107.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 108.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 109.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 110.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 111.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 112.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 113.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 114.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 115.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 116.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 117.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 118.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 119.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 120.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 121.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 122.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 123.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 124.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 125.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 126.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 127.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 128.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 129.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 130.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 131.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 132.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 133.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 134.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 135.jpg, file_deleted; file_closed
08/06/2019, 00:03:53.999, PPictures 136.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 137.jpg, file_deleted; file_closed
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08/06/2019, 00:03:54.015, PPictures 138.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 139.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 140.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 141.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 142.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 143.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 144.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 145.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 146.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 147.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 148.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 149.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 150.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 151.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 152.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 153.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 158.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 159.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 160.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 161.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 162.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 163.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 164.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 165.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 166.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 167.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 168.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 169.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 170.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 171.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 172.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 173.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 174.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.015, PPictures 175.jpg, file_deleted; file_closed
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08/06/2019, 00:03:54.015, PPictures 176.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.156, PPictures 177.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.156, Pictures 2, file_deleted; file_closed
08/06/2019, 00:03:54.156, 35381022‐postmessagerelay.js, file_deleted; file_closed
08/06/2019, 00:03:54.156, api.js, file_deleted; file_closed
08/06/2019, 00:03:54.156, cb=gapi(1).loaded_0, file_deleted; file_closed
08/06/2019, 00:03:54.156, cb=gapi.loaded_0, file_deleted; file_closed
08/06/2019, 00:03:54.156, client.js, file_deleted; file_closed
08/06/2019, 00:03:54.156, core‐rpc‐shindig.random‐shindig.sha1.js, file_deleted; file_closed
08/06/2019, 00:03:54.156, css, file_deleted; file_closed
08/06/2019, 00:03:54.156, ga.js, file_deleted; file_closed
08/06/2019, 00:03:54.156, postmessageRelay.html, file_deleted; file_closed
08/06/2019, 00:03:54.156, proxy.html, file_deleted; file_closed
08/06/2019, 00:03:54.156, reader.html, file_deleted; file_closed
08/06/2019, 00:03:54.171, rs=AItRSTN0QoMBHTXTGzZEPLX5bMSSgXzfEw, file_deleted; file_closed
08/06/2019, 00:03:54.171, rs=AItRSTN0QoMBHTXTGzZEPLX5bMSSgXzfEw(1), file_deleted; file_closed
08/06/2019, 00:03:54.171, rs=AItRSTPIkCGxQUNJPYbybejLHGLxRZKYAg, file_deleted; file_closed
08/06/2019, 00:03:54.171, rs=AItRSTPIkCGxQUNJPYbybejLHGLxRZKYAg(1), file_deleted; file_closed
08/06/2019, 00:03:54.171, Polluted Promises, Environmental Racism and the Search for Justice in a Southern Town ‐ Google Play_files, file_deleted; file_c
08/06/2019, 00:03:54.171, DSCN0630.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.171, DSCN0633.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.171, DSCN0679.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.171, DSCN0681.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.171, DSCN0683.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.171, DSCN0704.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.171, DSCN0713.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.171, PPictures 027.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.171, PPictures 060.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 066.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 077.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 1.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 134.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 138.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 148.jpg, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 58 of 220
                                                                                                    000058

08/06/2019, 00:03:54.187, PPictures 149.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 162.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 163.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 172.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, Presentation, file_deleted; file_closed
08/06/2019, 00:03:54.187, 031.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, 032.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, 075.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, 284.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, DSCN1556.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, DSCN1581.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, DSCN1643.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, DSCN1644.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, DSCN1657.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, DSCN1662.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, DSCN1671.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, DSCN1685.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, MVC‐004F.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, MVC‐356S.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, MVC‐357S.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, MVC‐358S.JPG, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 009.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 027.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 058.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.187, PPictures 066.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.203, PPictures 122.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.203, PPictures 134.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.203, PPictures 138.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.203, PPictures 164.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.203, PPictures 170.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.203, Presentation Pictures, file_deleted; file_closed
08/06/2019, 00:03:54.203, Natural Gas.doc, file_deleted; file_closed
08/06/2019, 00:03:54.203, 25 Seo 08 Exec Commitee.doc, file_deleted; file_closed
08/06/2019, 00:03:54.203, Executive Committee ‐ 19 Jan 13.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 59 of 220
                                                                                                         000059

08/06/2019, 00:03:54.203, Executive Committee ‐ 22 Jan 15.doc, file_deleted; file_closed
08/06/2019, 00:03:54.203, Executive Committee ‐ 24 Oct 13.doc, file_deleted; file_closed
08/06/2019, 00:03:54.203, Executive Committee ‐ 25 Oct 12.doc, file_deleted; file_closed
08/06/2019, 00:03:54.203, Executive Committee ‐ 26 Aug 10.doc, file_deleted; file_closed
08/06/2019, 00:03:54.203, Executive Committee ‐ 27 Sep 12.doc, file_deleted; file_closed
08/06/2019, 00:03:54.203, Executive Committee.doc, file_deleted; file_closed
08/06/2019, 00:03:54.203, Agendas, file_deleted; file_closed
08/06/2019, 00:03:54.203, Alliance History.docx, file_deleted; file_closed
08/06/2019, 00:03:54.203, Blue Ribbon Committe (Race in Public Housing).doc, file_deleted; file_closed
08/06/2019, 00:03:54.203, Calling Post.doc, file_deleted; file_closed
08/06/2019, 00:03:54.203, RCNAA, Inc Application.docx, file_deleted; file_closed
08/06/2019, 00:03:54.203, Alliance Information, file_deleted; file_closed
08/06/2019, 00:03:54.218, A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Advanced Disposal.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, AM Psych Partners.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, ANIC.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, BanquetInvitationLetter2007 02.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, BanquetInvitationLetter2007.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, BanquetInvitationLetter2007Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, BanquetInvitationLetter2007MayorCopenhaver.zip, file_deleted; file_closed
08/06/2019, 00:03:54.218, Beulah Grove Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Bibleway Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, BioforHaroldJonesII.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Black Pages.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Bussey Ins Agent.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Capitol City.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Comcast.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, CompuCredit.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Contribution Request.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, ContributionRequest 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, ContributionRequest.doc, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 60 of 220
                                                                                                     000060

08/06/2019, 00:03:54.218, Copy (2) of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Copy of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Copy of Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, County Administator.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, County Comm.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Dr Gaines office.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Duncan Wheale.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, ESG Ops.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Fairway Ford.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Faith Outreach Christian Life Center.doc, file_deleted; file_closed
08/06/2019, 00:03:54.218, Fire Services.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Frails Attorney At Law.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Funds Intake Sheet.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Gardyr M Capital.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Gold Cross.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Good Shepard Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Greater Apostolic Holy Temple.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Home Inspectors.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Horizon.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Insituform Tech.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Jordan Jones Groulding.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Kinsey Walton.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Letters to Donors.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Macedonia Baptist.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Marshalls office.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Mt Calvary Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Mustard Seed.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, MWH Global.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, New Zion Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Nordahl.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 61 of 220
                                                                                                    000061

08/06/2019, 00:03:54.234, Old Time Way Church of God In Christ.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, OMI 2.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, OMICHM2‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, OMICHM2.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Paine College.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Parsons.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Premier Mortgage.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Public Services.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Q&C Services.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Richmond Credit Union.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, S L King.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Seating Chart.ppt, file_deleted; file_closed
08/06/2019, 00:03:54.234, Sheriff office.doc, file_deleted; file_closed
08/06/2019, 00:03:54.234, Shortcut to RCNAA Banquet 2007.lnk, file_deleted; file_closed
08/06/2019, 00:03:54.234, Sims.doc, file_deleted; file_closed
08/06/2019, 00:03:54.249, Spirit Creek Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.249, Sponsor addresses 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:54.249, Steven‐ Palmer.doc, file_deleted; file_closed
08/06/2019, 00:03:54.249, Tabernacle Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.249, Table inventory 02 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.249, Table inventory.doc, file_deleted; file_closed
08/06/2019, 00:03:54.249, Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:54.249, TGS Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:54.249, Thankful Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.249, TICKET ACCOUNTABILITY Banquet2007.doc, file_deleted; file_closed
08/06/2019, 00:03:54.390, Total Maint Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:54.390, Trinity CME Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.390, U S Infrastucture.doc, file_deleted; file_closed
08/06/2019, 00:03:54.390, Valued Services Atl.doc, file_deleted; file_closed
08/06/2019, 00:03:54.390, Valued Services Peachtree.doc, file_deleted; file_closed
08/06/2019, 00:03:54.390, Walke Group.doc, file_deleted; file_closed
08/06/2019, 00:03:54.390, Waste Management Services.doc, file_deleted; file_closed
08/06/2019, 00:03:54.390, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:54.390, Whole Life Ministries.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 62 of 220
                                                                                                      000062

08/06/2019, 00:03:54.390, winmail.dat, file_deleted; file_closed
08/06/2019, 00:03:54.406, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:54.406, Corporate Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:54.484, BanquetInvitationLetter2007MayorCopenhaver, file_deleted; file_closed
08/06/2019, 00:03:54.484, Invitation Letters, file_deleted; file_closed
08/06/2019, 00:03:54.515, 2013 Political Issue.rtf, file_deleted; file_closed
08/06/2019, 00:03:54.515, Cherry Tree Handout.doc, file_deleted; file_closed
08/06/2019, 00:03:54.515, Executive Committee.doc, file_deleted; file_closed
08/06/2019, 00:03:54.515, Forum Agenda.doc, file_deleted; file_closed
08/06/2019, 00:03:54.515, RCNAA Return Lables.doc, file_deleted; file_closed
08/06/2019, 00:03:54.515, Misc, file_deleted; file_closed
08/06/2019, 00:03:54.531, A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, Advanced Disposal.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, AM Psych Partners.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, Anderson.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, ANIC.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, Augusta Utilities.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, BANQUET COMMITTEE REPORT 02 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, BANQUET COMMITTEE REPORT 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, BANQUET COMMITTEE REPORT 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, BANQUET COMMITTEE REPORT 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, BANQUET COMMITTEE REPORT 02 28 07‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, BANQUET COMMITTEE REPORT 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.531, BANQUET COMMITTEE REPORT 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Banquet Flyer #1.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Banquet guest tracker Draft1.xls, file_deleted; file_closed
08/06/2019, 00:03:54.546, Banquet guest tracker1.xls, file_deleted; file_closed
08/06/2019, 00:03:54.546, Banquet Ticket #3A.pub, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetBudget2007.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetBudgetNoDonations2007.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetFinanceReport 01 23 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetFinanceReport 01 30 07.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 63 of 220
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08/06/2019, 00:03:54.546, BanquetFinanceReport 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetFinanceReport 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetFinanceReport 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetFinanceReport 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetFinanceReport 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetFinanceReport Blank.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetFinanceReport.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetFlyer#1A1.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetInvitationLetter2007 02.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetInvitationLetter2007.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetInvitationLetter2007Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BanquetInvitationLetter2007MayorCopenhaver.zip, file_deleted; file_closed
08/06/2019, 00:03:54.546, Beulah Grove Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Bibleway Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, BioforHaroldJonesII.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Black Pages.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Bussey Ins Agent.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Capitol City.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Champagne Glasses.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Comcast.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, CompuCredit.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Contribution Request.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, ContributionRequest 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, ContributionRequest.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Copy (2) of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Copy of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, Copy of Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:54.546, County Administator.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, County Comm.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Dr Gaines office.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Duncan Wheale.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, ESG Ops.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 64 of 220
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08/06/2019, 00:03:54.562, Fairway Ford.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Faith Outreach Christian Life Center.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Fire Services.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Food.xls, file_deleted; file_closed
08/06/2019, 00:03:54.562, Frails Attorney At Law.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Funds Intake Sheet.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Fwd_Priceless.zip, file_deleted; file_closed
08/06/2019, 00:03:54.562, Gardyr M Capital.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Gold Cross.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Good Shepard Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Greater Apostolic Holy Temple.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Home Inspectors.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Horizon.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Insituform Tech.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Jordan Jones Groulding.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Kinsey Walton.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Letters to Donors.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Macedonia Baptist.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Marshalls office.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Mt Calvary Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Mustard Seed.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, MWH Global.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, New Microsoft Excel Worksheet.xls, file_deleted; file_closed
08/06/2019, 00:03:54.562, New Zion Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Nordahl.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Old Time Way Church of God In Christ.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, OMI 2.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, OMICHM2‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, OMICHM2.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Paine College.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Parsons.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 65 of 220
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08/06/2019, 00:03:54.562, Premier Mortgage.doc, file_deleted; file_closed
08/06/2019, 00:03:54.562, Public Services.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Q&C Services.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Richmond Credit Union.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, S L King.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Seating Chart.ppt, file_deleted; file_closed
08/06/2019, 00:03:54.578, Set‐Up‐PP.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Set‐Up.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Set‐Up.ppt, file_deleted; file_closed
08/06/2019, 00:03:54.578, Sheriff office.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Sims.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Spirit Creek Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Sponsor addresses 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Steven‐ Palmer.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Tabernacle Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Table inventory 02 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Table inventory.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, TGS Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Thankful Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, TICKET ACCOUNTABILITY Banquet2007.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Ticket‐2.ppt, file_deleted; file_closed
08/06/2019, 00:03:54.578, Ticket‐3.ppt, file_deleted; file_closed
08/06/2019, 00:03:54.578, Ticket‐Entrance Control.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Ticket.ppt, file_deleted; file_closed
08/06/2019, 00:03:54.578, Ticket3.pdf.ppt, file_deleted; file_closed
08/06/2019, 00:03:54.578, Total Maint Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Trinity CME Church.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, U S Infrastucture.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Valued Services Atl.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Valued Services Peachtree.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Walke Group.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, Waste Management Services.doc, file_deleted; file_closed
08/06/2019, 00:03:54.578, West Augusta Alliance.doc, file_deleted; file_closed
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08/06/2019, 00:03:54.578, Whole Life Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:54.703, winmail.dat, file_deleted; file_closed
08/06/2019, 00:03:54.718, BanquetInvitationLetter2007Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:54.718, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:54.718, BanquetInvitationLetter2007MayorCopenhaver, file_deleted; file_closed
08/06/2019, 00:03:54.718, Acceptance for John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:54.718, John H Ruffin 2.doc, file_deleted; file_closed
08/06/2019, 00:03:54.718, John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:54.718, KScott.doc, file_deleted; file_closed
08/06/2019, 00:03:54.718, Leah W. Sears.doc, file_deleted; file_closed
08/06/2019, 00:03:54.734, ~WRL0005.tmp, file_deleted; file_closed
08/06/2019, 00:03:54.796, Guest Speaker, file_deleted; file_closed
08/06/2019, 00:03:54.796, RCNAA Banquet 2007, file_deleted; file_closed
08/06/2019, 00:03:54.796, Banquet guest tracker Template.xls, file_deleted; file_closed
08/06/2019, 00:03:54.812, RCNAA Banquet 2008, file_deleted; file_closed
08/06/2019, 00:03:54.812, AAR‐2009.doc, file_deleted; file_closed
08/06/2019, 00:03:54.812, AAR.doc, file_deleted; file_closed
08/06/2019, 00:03:54.812, Award Presentation Order.docx, file_deleted; file_closed
08/06/2019, 00:03:54.812, Award Rufus Lewis.doc, file_deleted; file_closed
08/06/2019, 00:03:54.812, Award Sandridge.docx, file_deleted; file_closed
08/06/2019, 00:03:54.812, Award‐ Deputy HARDIN.docx, file_deleted; file_closed
08/06/2019, 00:03:54.812, Award‐ Lt. Scott Peebles.doc, file_deleted; file_closed
08/06/2019, 00:03:54.812, Award‐Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:54.812, Award‐Ethel.doc, file_deleted; file_closed
08/06/2019, 00:03:54.812, Award‐Hudson.docm, file_deleted; file_closed
08/06/2019, 00:03:54.812, Award‐Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Award‐John Barrow.docx, file_deleted; file_closed
08/06/2019, 00:03:54.828, Award‐Kay.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Award‐Kemberely Scott.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Award‐Mario.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Award‐Steven Kendrick.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Awasrd Jefferson Energy.docx, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet 2012 Table Layout.ppt, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet Budget 2008.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 67 of 220
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08/06/2019, 00:03:54.828, Banquet Committee Meeting 7 Feb 09.docx, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet Flyer 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet guest tracker 2008.xls, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet guest tracker Template.xls, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet Invitation Letter 2009 Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet Invitation Letter 2009 Mayor Copenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet Program 2008‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet Program 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet Program 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet Seating SCA 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet Table Layout 2009.pptx, file_deleted; file_closed
08/06/2019, 00:03:54.828, Banquet Ticket 2009.pptx, file_deleted; file_closed
08/06/2019, 00:03:54.828, Baquent Names Plates 2009.pptx, file_deleted; file_closed
08/06/2019, 00:03:54.828, BIO Kimberely Scott.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Contribution Request 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Contribution Request Buckhead NA 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Copy of Contribution Request 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Copy_of_Contribution_Request_2008.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Corporate Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:54.828, Expenses (Misc).xlsx, file_deleted; file_closed
08/06/2019, 00:03:54.828, Head Table.docx, file_deleted; file_closed
08/06/2019, 00:03:54.843, Hudson Grassing Company.doc, file_deleted; file_closed
08/06/2019, 00:03:54.843, John Barrow BIO for Remarks At 2008 Banquet.doc, file_deleted; file_closed
08/06/2019, 00:03:54.843, Judge Ruffin Bio.doc, file_deleted; file_closed
08/06/2019, 00:03:54.843, Neighborhood Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:54.843, New Microsoft Office Word Document (2).docx, file_deleted; file_closed
08/06/2019, 00:03:54.843, New Microsoft Office Word Document.docx, file_deleted; file_closed
08/06/2019, 00:03:54.843, new.docx, file_deleted; file_closed
08/06/2019, 00:03:54.843, POC Committee.doc, file_deleted; file_closed
08/06/2019, 00:03:54.843, Sandridge Seating 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:54.843, Sandridge Tickets.xlsx, file_deleted; file_closed
08/06/2019, 00:03:54.843, Seating Chart Template.ppt, file_deleted; file_closed
08/06/2019, 00:03:54.843, Seating Layout.doc, file_deleted; file_closed
08/06/2019, 00:03:54.843, Serving Order.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 68 of 220
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08/06/2019, 00:03:54.843, Small Business Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:54.843, spelling.doc, file_deleted; file_closed
08/06/2019, 00:03:54.843, Table Listing 09 Payment Update.xls, file_deleted; file_closed
08/06/2019, 00:03:54.843, Table Listing 09 Quick Update‐Alt.xls, file_deleted; file_closed
08/06/2019, 00:03:54.843, Table Seating Layout 2009.docx, file_deleted; file_closed
08/06/2019, 00:03:54.843, Taylor Infinite.doc, file_deleted; file_closed
08/06/2019, 00:03:54.843, ~$Sandridge Tickets.xlsx, file_deleted; file_closed
08/06/2019, 00:03:54.843, 1.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 10.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 100.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 101.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 102.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 103.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 104.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 105.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 106.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 107.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 108.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 109.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 11.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 110.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 111.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 112.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 113.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 114.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 115.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 116.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 117.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 118.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 119.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 12.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 120.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 121.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 122.jpg, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 69 of 220
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08/06/2019, 00:03:54.859, 123.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 124.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 125.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 126.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 127.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 128.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 129.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 13.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 130.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 131.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 132.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.859, 133.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 134.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 14.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 15.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 16.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 17.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 18.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 19.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 2.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 20.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 21.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 22.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 23.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 24.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 25.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 26.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 27.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 28.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 29.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 3.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 30.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 31.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 32.jpg, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 70 of 220
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08/06/2019, 00:03:54.874, 33.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 34.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 35.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 36.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 37.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 38.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 39.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 4.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 40.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 41.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 42.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 43.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 44.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 45.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.874, 46.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 47.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 48.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 49.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 5.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 50.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 51.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 52.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 53.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 54.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 55.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 56.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 57.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 58.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 59.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 6.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 60.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 61.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 62.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 63.jpg, file_deleted; file_closed
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08/06/2019, 00:03:54.890, 64.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 65.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 66.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 67.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 68.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 69.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 7.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 70.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 71.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 72.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 73.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 74.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 75.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 76.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 77.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 78.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 79.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 8.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 80.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.890, 81.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 82.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 83.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 84.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 85.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 86.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 87.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 88.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 89.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 9.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 90.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 91.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 92.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 93.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 94.jpg, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 72 of 220
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08/06/2019, 00:03:54.906, 95.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 96.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 97.jpg, file_deleted; file_closed
08/06/2019, 00:03:54.906, 98.jpg, file_deleted; file_closed
08/06/2019, 00:03:55.046, 99.jpg, file_deleted; file_closed
08/06/2019, 00:03:55.062, Banquet 2012 Pictures, file_deleted; file_closed
08/06/2019, 00:03:55.062, Acceptance for John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:55.062, John H Ruffin 2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.062, John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:55.062, KScott.doc, file_deleted; file_closed
08/06/2019, 00:03:55.062, Leah W. Sears.doc, file_deleted; file_closed
08/06/2019, 00:03:55.062, Senator Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.078, ~WRL0005.tmp, file_deleted; file_closed
08/06/2019, 00:03:55.078, Guest Speaker, file_deleted; file_closed
08/06/2019, 00:03:55.078, Augusta Blueprint.doc, file_deleted; file_closed
08/06/2019, 00:03:55.078, Century 21 Jeff Keller Reality.doc, file_deleted; file_closed
08/06/2019, 00:03:55.078, Democratic Party.docx, file_deleted; file_closed
08/06/2019, 00:03:55.078, Hudson Grassing Company.doc, file_deleted; file_closed
08/06/2019, 00:03:55.078, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:55.078, Kim Scott.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Marshal's.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Rep Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Rep Quincy Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Senator Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Sheriff's Office.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Solicitor.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Utilities Dept.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Barton Chapel.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Belair Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Belair Hills Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Belle Terance.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Butler Manor.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Cambridge.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Fairington NA.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 73 of 220
                                                                                                           000073

08/06/2019, 00:03:55.093, Glendale.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Green Meadows.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, High Pointe.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Hyde Park.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Mary Williams.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Neighnorhood Associations.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Nellieville.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Pepperdige.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Pinnacle Place.doc, file_deleted; file_closed
08/06/2019, 00:03:55.093, Ridge Forrest.doc, file_deleted; file_closed
08/06/2019, 00:03:55.109, Rosa Carter.doc, file_deleted; file_closed
08/06/2019, 00:03:55.109, Sandridge.doc, file_deleted; file_closed
08/06/2019, 00:03:55.109, Turpin Hill #1.doc, file_deleted; file_closed
08/06/2019, 00:03:55.109, Turpin Hill #2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.109, Walton Farms.doc, file_deleted; file_closed
08/06/2019, 00:03:55.109, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:55.109, Woodlake.doc, file_deleted; file_closed
08/06/2019, 00:03:55.109, Neighborhood Associations, file_deleted; file_closed
08/06/2019, 00:03:55.109, Thank You Letters for 2009, file_deleted; file_closed
08/06/2019, 00:03:55.218, Thank You Letters for 2009, file_deleted; file_closed
08/06/2019, 00:03:55.234, RCNAA Banquet 2009, file_deleted; file_closed
08/06/2019, 00:03:55.234, AAR.doc, file_deleted; file_closed
08/06/2019, 00:03:55.234, Banquet Budget 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:55.234, Banquet Committee ‐ Exec Board 11 Feb 10.docx, file_deleted; file_closed
08/06/2019, 00:03:55.234, Banquet Committee ‐ Exec Board 14 Jan 10.docx, file_deleted; file_closed
08/06/2019, 00:03:55.234, Banquet Committee ‐ Exec Board 19 Nov 09.doc, file_deleted; file_closed
08/06/2019, 00:03:55.234, Banquet Committee ‐ Exec Board 29 Oct 09.doc, file_deleted; file_closed
08/06/2019, 00:03:55.234, Banquet Flyer 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:55.234, Banquet guest tracker Template.xls, file_deleted; file_closed
08/06/2019, 00:03:55.234, Banquet Invitation Letter 2009 Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:55.234, Banquet Invitation Letter 2009 Mayor Copenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.234, Banquet Program 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:55.234, Head Table and Guests.docx, file_deleted; file_closed
08/06/2019, 00:03:55.234, Judge Ruffin Bio.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 74 of 220
                                                                                                         000074

08/06/2019, 00:03:55.249, Neighborhood Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:55.249, Sandridge Seating 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:55.249, Sandridge Tickets.xlsx, file_deleted; file_closed
08/06/2019, 00:03:55.249, Sandridge.xlsx, file_deleted; file_closed
08/06/2019, 00:03:55.249, Seating Chart Template.ppt, file_deleted; file_closed
08/06/2019, 00:03:55.249, Serving Order.doc, file_deleted; file_closed
08/06/2019, 00:03:55.249, Set‐Up‐PP.doc, file_deleted; file_closed
08/06/2019, 00:03:55.249, Set‐Up.ppt, file_deleted; file_closed
08/06/2019, 00:03:55.249, Small Business Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:55.249, spelling.doc, file_deleted; file_closed
08/06/2019, 00:03:55.249, Table inventory 02 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.249, Table Listing 09 Payment Update.xls, file_deleted; file_closed
08/06/2019, 00:03:55.249, Table Listing 09 Quick Update‐Alt.xls, file_deleted; file_closed
08/06/2019, 00:03:55.249, Table Listing 2010 Update.xls, file_deleted; file_closed
08/06/2019, 00:03:55.249, Table Seating Layout 2010.docx, file_deleted; file_closed
08/06/2019, 00:03:55.249, Taylor Infinite.doc, file_deleted; file_closed
08/06/2019, 00:03:55.249, Ticket Information.docx, file_deleted; file_closed
08/06/2019, 00:03:55.249, Ticket Information.odt, file_deleted; file_closed
08/06/2019, 00:03:55.249, Ticket‐Entrance Control.doc, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award Belair Hills and Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award Presentation Order.docx, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award Rufus Lewis.doc, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award Sandridge.docx, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award‐ Deputy HARDIN.docx, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award‐ Lt. Scott Peebles.doc, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award‐Blayne Alexander.doc, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award‐Catherine Winbush.doc, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award‐Cynthia Peurifoy.doc, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award‐Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award‐Ethel Jones.doc, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award‐Ethel.doc, file_deleted; file_closed
08/06/2019, 00:03:55.265, Award‐Hudson.docm, file_deleted; file_closed
08/06/2019, 00:03:55.281, Award‐Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, Award‐John Barrow.docx, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 75 of 220
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08/06/2019, 00:03:55.281, Award‐Kay.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, Award‐Kemberely Scott.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, Award‐Steven Kendrick.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, Awasrd Jefferson Energy.docx, file_deleted; file_closed
08/06/2019, 00:03:55.281, Awards, file_deleted; file_closed
08/06/2019, 00:03:55.281, Blayne Alexander.docx, file_deleted; file_closed
08/06/2019, 00:03:55.281, Blayne Bio 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, CYNTHIA Bio 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, Cynthia Peurifoy 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, ~WRL0005.tmp, file_deleted; file_closed
08/06/2019, 00:03:55.281, Acceptance for John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, John H Ruffin 2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, KScott.doc, file_deleted; file_closed
08/06/2019, 00:03:55.281, Leah W. Sears 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Leah W. Sears.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Senator Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Past Information, file_deleted; file_closed
08/06/2019, 00:03:55.296, Guest Speaker and MCs, file_deleted; file_closed
08/06/2019, 00:03:55.296, Jefferson Electric.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Sponsor addresses 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Advanced Disposal.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, AM Psych Partners.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Anderson.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, ANIC.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Augusta Utilities.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, BANQUET COMMITTEE REPORT 02 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, BANQUET COMMITTEE REPORT 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, BANQUET COMMITTEE REPORT 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, BANQUET COMMITTEE REPORT 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, BANQUET COMMITTEE REPORT 02 28 07‐2.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 76 of 220
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08/06/2019, 00:03:55.296, BANQUET COMMITTEE REPORT 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, BANQUET COMMITTEE REPORT 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Banquet Flyer #1.doc, file_deleted; file_closed
08/06/2019, 00:03:55.296, Banquet guest tracker Draft1.xls, file_deleted; file_closed
08/06/2019, 00:03:55.296, Banquet guest tracker1.xls, file_deleted; file_closed
08/06/2019, 00:03:55.296, Banquet Ticket #3A.pub, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetBudget2007.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetBudgetNoDonations2007.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetFinanceReport 01 23 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetFinanceReport 01 30 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetFinanceReport 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetFinanceReport 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetFinanceReport 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetFinanceReport 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetFinanceReport 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetFinanceReport Blank.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetFinanceReport.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetFlyer#1A1.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetInvitationLetter2007 02.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetInvitationLetter2007.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetInvitationLetter2007Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BanquetInvitationLetter2007MayorCopenhaver.zip, file_deleted; file_closed
08/06/2019, 00:03:55.312, Beulah Grove Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, Bibleway Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, BioforHaroldJonesII.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, Black Pages.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, Bussey Ins Agent.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, Capitol City.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, Champagne Glasses.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, Comcast.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, CompuCredit.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, Contribution Request.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, ContributionRequest 2007.doc, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 77 of 220
                                                                                                     000077

08/06/2019, 00:03:55.312, ContributionRequest.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, Copy (2) of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, Copy of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, Copy of Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:55.312, County Administator.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, County Comm.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Dr Gaines office.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Duncan Wheale.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, ESG Ops.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Fairway Ford.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Faith Outreach Christian Life Center.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Fire Services.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Food.xls, file_deleted; file_closed
08/06/2019, 00:03:55.328, Frails Attorney At Law.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Funds Intake Sheet.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Gardyr M Capital.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Gold Cross.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Good Shepard Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Greater Apostolic Holy Temple.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Home Inspectors.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Horizon.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Insituform Tech.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Jordan Jones Groulding.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Kinsey Walton.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Macedonia Baptist.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Marshalls office.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Mt Calvary Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Mustard Seed.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, MWH Global.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, New Microsoft Excel Worksheet.xls, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 78 of 220
                                                                                                    000078

08/06/2019, 00:03:55.328, New Zion Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Nordahl.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Old Time Way Church of God In Christ.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, OMI 2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, OMICHM2‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, OMICHM2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.328, Paine College.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Parsons.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Premier Mortgage.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Public Services.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Q&C Services.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Richmond Credit Union.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, S L King.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Sheriff office.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Sims.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Spirit Creek Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Steven‐ Palmer.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Tabernacle Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, TGS Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Thankful Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Total Maint Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Trinity CME Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, U S Infrastucture.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Valued Services Atl.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Valued Services Peachtree.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Walke Group.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, Waste Management Services.doc, file_deleted; file_closed
08/06/2019, 00:03:55.343, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:55.562, Whole Life Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:55.562, Past Invitations, file_deleted; file_closed
08/06/2019, 00:03:55.562, Invitation Letters, file_deleted; file_closed
08/06/2019, 00:03:55.562, Church Invites Letters.docx, file_deleted; file_closed
08/06/2019, 00:03:55.562, Church Labels.docx, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 79 of 220
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08/06/2019, 00:03:55.562, Corporate Banquet Invitation Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:55.562, New Labels List 01 08 09.doc, file_deleted; file_closed
08/06/2019, 00:03:55.562, RCNAA Return Labels.doc, file_deleted; file_closed
08/06/2019, 00:03:55.578, Smal Business Banquet Invitation Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:55.578, ~WRD1167.tmp, file_deleted; file_closed
08/06/2019, 00:03:55.578, ~WRD2627.tmp, file_deleted; file_closed
08/06/2019, 00:03:55.578, RCNAA Banquet 2009 from Jefferson, file_deleted; file_closed
08/06/2019, 00:03:55.578, Augusta Blueprint.doc, file_deleted; file_closed
08/06/2019, 00:03:55.578, Century 21 Jeff Keller Reality.doc, file_deleted; file_closed
08/06/2019, 00:03:55.578, DA Focus.doc, file_deleted; file_closed
08/06/2019, 00:03:55.578, Democratic Party.docx, file_deleted; file_closed
08/06/2019, 00:03:55.578, Hudson Grassing Company.doc, file_deleted; file_closed
08/06/2019, 00:03:55.578, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:55.578, Marshal's.doc, file_deleted; file_closed
08/06/2019, 00:03:55.578, Rep Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:55.578, Rep Quincy Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:55.578, Senator Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Sheriff's Office.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Solicitor.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Utilities Dept.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Youth Challenge Academy.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Barton Chapel.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Belair Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Belair Hills Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Belle Terrace.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Cambridge.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Fairington Town and Country NA.doc, file_deleted; file_closed
08/06/2019, 00:03:55.593, Glendale.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Green Meadows.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, High Pointe.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Highland Park.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Hyde Park.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Nellieville.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Pepperdige.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 80 of 220
                                                                                                           000080

08/06/2019, 00:03:55.609, Pinnacle Place.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Ridge Forrest.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Sandridge.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Turpin Hill #1.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Turpin Hill #2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Walton Farms.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Woodlake.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Neighborhood Associations, file_deleted; file_closed
08/06/2019, 00:03:55.609, Thank You Letters for 2010, file_deleted; file_closed
08/06/2019, 00:03:55.609, RCNAA Banquet 2010, file_deleted; file_closed
08/06/2019, 00:03:55.609, AAR.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Banquet Budget 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Banquet Committee ‐ Exec Board 19 Nov 09.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Banquet Committee ‐ Exec Board 29 Oct 09.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Banquet Flyer 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Banquet guest tracker Template.xls, file_deleted; file_closed
08/06/2019, 00:03:55.609, Banquet Invitation Letter 2009 Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Banquet Invitation Letter 2009 Mayor Copenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Banquet Program 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Banquet Ticket Format.doc, file_deleted; file_closed
08/06/2019, 00:03:55.609, Fairington.pptx, file_deleted; file_closed
08/06/2019, 00:03:55.609, Judge Ruffin Bio.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Neighborhood Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Sandridge Seating 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Seating Chart Template.ppt, file_deleted; file_closed
08/06/2019, 00:03:55.624, Serving Order.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Set‐Up‐PP.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Set‐Up.ppt, file_deleted; file_closed
08/06/2019, 00:03:55.624, Small Business Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, spelling.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Table inventory 02 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Table Listing 09 Payment Update.xls, file_deleted; file_closed
08/06/2019, 00:03:55.624, Table Listing 09 Quick Update‐Alt.xls, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 81 of 220
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08/06/2019, 00:03:55.624, Table Listing 2010 Update.xls, file_deleted; file_closed
08/06/2019, 00:03:55.624, Taylor Infinite.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Ticket‐Entrance Control.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Banquet Committee 16 Nov 10.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Agendas, file_deleted; file_closed
08/06/2019, 00:03:55.624, Award Belair Hills and Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Award Presentation Order.docx, file_deleted; file_closed
08/06/2019, 00:03:55.624, Award Rufus Lewis.doc, file_deleted; file_closed
08/06/2019, 00:03:55.624, Award Sandridge.docx, file_deleted; file_closed
08/06/2019, 00:03:55.624, Award‐ Deputy HARDIN.docx, file_deleted; file_closed
08/06/2019, 00:03:55.624, Award‐ Lt. Scott Peebles.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Blayne Alexander.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Catherine Winbush.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Cynthia Peurifoy.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Ethel.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Hudson.docm, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐John Barrow.docx, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Kay.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Kemberely Scott.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Mario.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Award‐Steven Kendrick.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Awasrd Jefferson Energy.docx, file_deleted; file_closed
08/06/2019, 00:03:55.640, Awards, file_deleted; file_closed
08/06/2019, 00:03:55.640, Blayne Alexander.docx, file_deleted; file_closed
08/06/2019, 00:03:55.640, Blayne Bio 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, CYNTHIA Bio 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, Cynthia Peurifoy 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:55.640, ~WRL0005.tmp, file_deleted; file_closed
08/06/2019, 00:03:55.640, Acceptance for John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, John H Ruffin 2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, KScott.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 82 of 220
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08/06/2019, 00:03:55.656, Leah W. Sears 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, Leah W. Sears.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, Senator Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, Past Information, file_deleted; file_closed
08/06/2019, 00:03:55.656, Guest Speaker and MCs, file_deleted; file_closed
08/06/2019, 00:03:55.656, Fwd_Priceless.zip, file_deleted; file_closed
08/06/2019, 00:03:55.656, Jefferson Electric.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, Sponsor addresses 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, Advanced Disposal.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, AM Psych Partners.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, Anderson.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, ANIC.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, Augusta Utilities.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, BANQUET COMMITTEE REPORT 02 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, BANQUET COMMITTEE REPORT 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, BANQUET COMMITTEE REPORT 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, BANQUET COMMITTEE REPORT 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.656, BANQUET COMMITTEE REPORT 02 28 07‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BANQUET COMMITTEE REPORT 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BANQUET COMMITTEE REPORT 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, Banquet Flyer #1.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, Banquet guest tracker Draft1.xls, file_deleted; file_closed
08/06/2019, 00:03:55.671, Banquet guest tracker1.xls, file_deleted; file_closed
08/06/2019, 00:03:55.671, Banquet Ticket #3A.pub, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetBudget2007.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetBudgetNoDonations2007.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetFinanceReport 01 23 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetFinanceReport 01 30 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetFinanceReport 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetFinanceReport 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetFinanceReport 02 20 07.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 83 of 220
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08/06/2019, 00:03:55.671, BanquetFinanceReport 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetFinanceReport 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetFinanceReport Blank.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetFinanceReport.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetFlyer#1A1.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetInvitationLetter2007 02.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetInvitationLetter2007.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetInvitationLetter2007Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BanquetInvitationLetter2007MayorCopenhaver.zip, file_deleted; file_closed
08/06/2019, 00:03:55.671, Beulah Grove Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, Bibleway Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, BioforHaroldJonesII.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, Black Pages.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, Bussey Ins Agent.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, Capitol City.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, Champagne Glasses.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, Comcast.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, CompuCredit.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, Contribution Request.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, ContributionRequest 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:55.671, ContributionRequest.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Copy (2) of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Copy of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Copy of Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, County Administator.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, County Comm.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Dr Gaines office.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Duncan Wheale.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, ESG Ops.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Fairway Ford.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Faith Outreach Christian Life Center.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Fire Services.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 84 of 220
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08/06/2019, 00:03:55.687, Food.xls, file_deleted; file_closed
08/06/2019, 00:03:55.687, Frails Attorney At Law.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Funds Intake Sheet.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Gardyr M Capital.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Gold Cross.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Good Shepard Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Greater Apostolic Holy Temple.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Home Inspectors.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Horizon.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Insituform Tech.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Jordan Jones Groulding.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Kinsey Walton.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Macedonia Baptist.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Marshalls office.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Mt Calvary Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, Mustard Seed.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, MWH Global.doc, file_deleted; file_closed
08/06/2019, 00:03:55.687, New Microsoft Excel Worksheet.xls, file_deleted; file_closed
08/06/2019, 00:03:55.687, New Zion Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Nordahl.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Old Time Way Church of God In Christ.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, OMI 2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, OMICHM2‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, OMICHM2.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Paine College.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Parsons.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Premier Mortgage.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Public Services.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Q&C Services.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Richmond Credit Union.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, S L King.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 85 of 220
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08/06/2019, 00:03:55.703, Sheriff office.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Sims.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Spirit Creek Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Steven‐ Palmer.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Tabernacle Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, TGS Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Thankful Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Total Maint Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Trinity CME Church.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, U S Infrastucture.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Valued Services Atl.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Valued Services Peachtree.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Walke Group.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, Waste Management Services.doc, file_deleted; file_closed
08/06/2019, 00:03:55.703, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:56.765, Whole Life Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:56.765, Past Invitations, file_deleted; file_closed
08/06/2019, 00:03:56.765, Invitation Letters, file_deleted; file_closed
08/06/2019, 00:03:56.796, Church Invites Letters.docx, file_deleted; file_closed
08/06/2019, 00:03:56.796, Church Labels.docx, file_deleted; file_closed
08/06/2019, 00:03:56.796, Corporate Banquet Invitation Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:56.796, New Labels List 01 08 09.doc, file_deleted; file_closed
08/06/2019, 00:03:56.796, RCNAA Return Labels.doc, file_deleted; file_closed
08/06/2019, 00:03:56.796, Smal Business Banquet Invitation Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:56.796, ~WRD1167.tmp, file_deleted; file_closed
08/06/2019, 00:03:56.796, ~WRD2627.tmp, file_deleted; file_closed
08/06/2019, 00:03:56.796, RCNAA Banquet 2009 from Jefferson, file_deleted; file_closed
08/06/2019, 00:03:56.812, Arneisha Smith.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, JaCaya Bennett.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, Jasmine Michael.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, ShaunTia Jones.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, Stephanie Skinner.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, Tierra N Sanders.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 86 of 220
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08/06/2019, 00:03:56.812, Scholarship Check Letters, file_deleted; file_closed
08/06/2019, 00:03:56.812, Augusta Blueprint.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, Century 21 Jeff Keller Reality.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, DA Focus.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, Democratic Party.docx, file_deleted; file_closed
08/06/2019, 00:03:56.812, Hudson Grassing Company.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, Marshal's.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, Rep Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, Rep Quincy Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:56.812, Senator Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Sheriff's Office.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Solicitor.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Utilities Dept.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Youth Challenge Academy.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Barton Chapel.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Belair Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Belair Hills Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Belle Terrace.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Cambridge.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Fairington Town and Country NA.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Glendale.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Green Meadows.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, High Pointe.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Highland Park.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Hyde Park.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Nellieville.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Pepperdige.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Pinnacle Place.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Ridge Forrest.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Sandridge.doc, file_deleted; file_closed
08/06/2019, 00:03:56.828, Turpin Hill #1.doc, file_deleted; file_closed
08/06/2019, 00:03:56.843, Turpin Hill #2.doc, file_deleted; file_closed
08/06/2019, 00:03:56.843, Walton Farms.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 87 of 220
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08/06/2019, 00:03:56.843, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:56.843, Woodlake.doc, file_deleted; file_closed
08/06/2019, 00:03:56.843, Neighborhood Associations, file_deleted; file_closed
08/06/2019, 00:03:56.843, Thank You Letters for 2010, file_deleted; file_closed
08/06/2019, 00:03:56.843, RCNAA Banquet 2011, file_deleted; file_closed
08/06/2019, 00:03:56.843, AAR.docx, file_deleted; file_closed
08/06/2019, 00:03:56.843, Acknowledgements.doc, file_deleted; file_closed
08/06/2019, 00:03:56.843, Alliance History.doc, file_deleted; file_closed
08/06/2019, 00:03:56.843, Banquet 2012 Financial Update.doc, file_deleted; file_closed
08/06/2019, 00:03:56.843, Banquet Budget 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:56.843, Banquet Committee ‐ Exec Board 19 Nov 09.doc, file_deleted; file_closed
08/06/2019, 00:03:56.843, Banquet Committee ‐ Exec Board 29 Oct 09.doc, file_deleted; file_closed
08/06/2019, 00:03:56.843, Banquet Flyer 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Banquet Invitation Letter 2009 Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Banquet Invitation Letter 2009 Mayor Copenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Banquet Program 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Banquet Ticket Format.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Final Report 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:56.859, Hudson Grassing II.ppt, file_deleted; file_closed
08/06/2019, 00:03:56.859, Hudson Grassing.ppt, file_deleted; file_closed
08/06/2019, 00:03:56.859, Instruction Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Mailing Return Label ‐RCNAA.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Neighborhood Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, News Release.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Paid Ticket Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:56.859, Sandridge Name Labes.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Sandridge Table Seating Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:56.859, Seating Roster NAMES.xls, file_deleted; file_closed
08/06/2019, 00:03:56.859, Senator Davis BIO.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Serving Order.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Set‐Up‐PP.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Set‐Up.ppt, file_deleted; file_closed
08/06/2019, 00:03:56.859, Shuan Tia Jones.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Small Business Banquet Invitation Letter 2009.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 88 of 220
                                                                                                   000088

08/06/2019, 00:03:56.859, spelling.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Table Layout 2012.ppt, file_deleted; file_closed
08/06/2019, 00:03:56.859, Table Name Cards.ppt, file_deleted; file_closed
08/06/2019, 00:03:56.859, Table Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:56.859, Taylor Infinite.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Ticket Control Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:56.859, Ticket‐Entrance Control.doc, file_deleted; file_closed
08/06/2019, 00:03:56.859, Willa Ticket Control Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:56.859, ~WRL0001.tmp, file_deleted; file_closed
08/06/2019, 00:03:56.859, ~WRL1016.tmp, file_deleted; file_closed
08/06/2019, 00:03:56.875, Banquet Committee 15 Sep 2011.doc, file_deleted; file_closed
08/06/2019, 00:03:56.875, Banquet Committee 16 Feburary 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:56.875, Banquet Committee 2 Feburary 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:56.875, Banquet Committee 21 Feburary 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:56.875, Banquet Committee 22 Dec 2011.docx, file_deleted; file_closed
08/06/2019, 00:03:56.875, Banquet Committee 24 January 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:56.875, Banquet Committee 1 Nov 10.doc, file_deleted; file_closed
08/06/2019, 00:03:56.875, Banquet Committee 1 Nov 2011.docx, file_deleted; file_closed
08/06/2019, 00:03:56.875, Banquet Committee 1 Nov 2011.txt, file_deleted; file_closed
08/06/2019, 00:03:56.875, Banquet Committee AAR 28 Feburary 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:56.875, Agendas, file_deleted; file_closed
08/06/2019, 00:03:56.875, Award‐ Cpt Scott Peebles.doc, file_deleted; file_closed
08/06/2019, 00:03:56.875, Award‐ LC Myles.doc, file_deleted; file_closed
08/06/2019, 00:03:56.875, Award‐Edward Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:03:56.875, Award‐Fason.doc, file_deleted; file_closed
08/06/2019, 00:03:56.875, Awards 2012, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award Belair Hills and Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award Presentation Order.docx, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award Rufus Lewis.doc, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award Sandridge.docx, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐ Deputy HARDIN.docx, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐Blayne Alexander.doc, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐Cynthia Peurifoy.doc, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐Ed Tarver.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 89 of 220
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08/06/2019, 00:03:56.890, Award‐Ethel.doc, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐Hudson.docm, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐John Barrow.docx, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐Kay.doc, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐Kemberely Scott.doc, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐Mario.doc, file_deleted; file_closed
08/06/2019, 00:03:56.890, Award‐Steven Kendrick.doc, file_deleted; file_closed
08/06/2019, 00:03:56.890, Awasrd Jefferson Energy.docx, file_deleted; file_closed
08/06/2019, 00:03:56.890, Awards before 2012, file_deleted; file_closed
08/06/2019, 00:03:56.890, Awards, file_deleted; file_closed
08/06/2019, 00:03:57.109, 123914[1].jpg, file_deleted; file_closed
08/06/2019, 00:03:57.109, Banquet 2012 Pictures, file_deleted; file_closed
08/06/2019, 00:03:57.125, Judge Ruffin Bio.doc, file_deleted; file_closed
08/06/2019, 00:03:57.125, ~WRL0005.tmp, file_deleted; file_closed
08/06/2019, 00:03:57.125, Acceptance for John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, Blayne Alexander.docx, file_deleted; file_closed
08/06/2019, 00:03:57.140, Blayne Bio 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, CYNTHIA Bio 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, Cynthia Peurifoy 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, John H Ruffin 2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, KScott.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, Leah W. Sears 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, Leah W. Sears.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, Senator Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:57.140, Past Information, file_deleted; file_closed
08/06/2019, 00:03:57.140, Guest Speaker and MCs, file_deleted; file_closed
08/06/2019, 00:03:57.156, Core invitation letter.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Ed Tarver 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Marshal Office 2012.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 90 of 220
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08/06/2019, 00:03:57.156, Sheriff office 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Sheriff office.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Sponsor addresses 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Advanced Disposal.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, AM Psych Partners.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Anderson.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, ANIC.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Augusta Utilities.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, BANQUET COMMITTEE REPORT 02 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, BANQUET COMMITTEE REPORT 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, BANQUET COMMITTEE REPORT 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, BANQUET COMMITTEE REPORT 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, BANQUET COMMITTEE REPORT 02 28 07‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, BANQUET COMMITTEE REPORT 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, BANQUET COMMITTEE REPORT 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Banquet Flyer #1.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, Banquet guest tracker Draft1.xls, file_deleted; file_closed
08/06/2019, 00:03:57.156, Banquet guest tracker1.xls, file_deleted; file_closed
08/06/2019, 00:03:57.156, Banquet Ticket #3A.pub, file_deleted; file_closed
08/06/2019, 00:03:57.156, BanquetBudget2007.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, BanquetBudgetNoDonations2007.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, BanquetFinanceReport 01 23 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.156, BanquetFinanceReport 01 30 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetFinanceReport 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetFinanceReport 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetFinanceReport 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetFinanceReport 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetFinanceReport 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetFinanceReport Blank.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetFinanceReport.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetFlyer#1A1.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 91 of 220
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08/06/2019, 00:03:57.171, BanquetInvitationLetter2007 02.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetInvitationLetter2007.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetInvitationLetter2007Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BanquetInvitationLetter2007MayorCopenhaver.zip, file_deleted; file_closed
08/06/2019, 00:03:57.171, Beulah Grove Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Bibleway Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, BioforHaroldJonesII.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Black Pages.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Bussey Ins Agent.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Capitol City.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Champagne Glasses.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Comcast.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, CompuCredit.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Contribution Request.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, ContributionRequest 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, ContributionRequest.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Copy (2) of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Copy of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Copy of Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, County Administator.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, County Comm.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Dr Gaines office.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Duncan Wheale.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, ESG Ops.doc, file_deleted; file_closed
08/06/2019, 00:03:57.171, Fairway Ford.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Faith Outreach Christian Life Center.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Fire Services.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Food.xls, file_deleted; file_closed
08/06/2019, 00:03:57.187, Frails Attorney At Law.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Funds Intake Sheet.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Gardyr M Capital.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Gold Cross.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 92 of 220
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08/06/2019, 00:03:57.187, Good Shepard Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Greater Apostolic Holy Temple.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Home Inspectors.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Horizon.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Insituform Tech.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Jordan Jones Groulding.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Kinsey Walton.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Macedonia Baptist.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Marshalls office.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Mt Calvary Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Mustard Seed.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, MWH Global.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, New Microsoft Excel Worksheet.xls, file_deleted; file_closed
08/06/2019, 00:03:57.187, New Zion Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Nordahl.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Old Time Way Church of God In Christ.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, OMI 2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, OMICHM2‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, OMICHM2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Paine College.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Parsons.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Premier Mortgage.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Public Services.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Q&C Services.doc, file_deleted; file_closed
08/06/2019, 00:03:57.187, Richmond Credit Union.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, S L King.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Sims.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Spirit Creek Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Steven‐ Palmer.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Tabernacle Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Tarver.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 93 of 220
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08/06/2019, 00:03:57.203, TGS Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Thankful Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Total Maint Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Trinity CME Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, U S Infrastucture.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Valued Services Atl.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Valued Services Peachtree.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Walke Group.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, Waste Management Services.doc, file_deleted; file_closed
08/06/2019, 00:03:57.203, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:57.406, Whole Life Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:57.406, Past Invitations, file_deleted; file_closed
08/06/2019, 00:03:57.421, Invitation Letters, file_deleted; file_closed
08/06/2019, 00:03:57.421, Church Invites Letters.docx, file_deleted; file_closed
08/06/2019, 00:03:57.437, Church Labels.docx, file_deleted; file_closed
08/06/2019, 00:03:57.437, Corporate Banquet Invitation Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, New Labels List 01 08 09.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, RCNAA Return Labels.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Smal Business Banquet Invitation Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, RCNAA Banquet 2009 from Jefferson, file_deleted; file_closed
08/06/2019, 00:03:57.437, Ashleigh Williams Payment.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Ashleigh Williams.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Christopher Palmer Payment.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Christopher Palmer.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Dasiy Barreto.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Ester Rodriquez Payment.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Ester Rodriquez.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Kimberly Olden Payment.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Kimberly Olden.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Shakita McClady Payment.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Shakita McClady.doc, file_deleted; file_closed
08/06/2019, 00:03:57.437, Student Information, file_deleted; file_closed
08/06/2019, 00:03:57.453, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Augusta Blueprint.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 94 of 220
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08/06/2019, 00:03:57.453, Baptist Ministers Conference.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Becky Akinrinade.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Chris Thomas.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Commissioner Lockett.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Commissioner Mason.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Gayshor Harris.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Hudson Grassing Company 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Hudson Grassing Company.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Kenitra M Johnson.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Marshal's Department Richmond Cty.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Natasha Gallop.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Representative Frazier.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Representative Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Representative Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Representative Smith.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Ruth Reddy.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Senator Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Sheriff's Office.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Tax Commissioner.doc, file_deleted; file_closed
08/06/2019, 00:03:57.453, Century 21 Jeff Keller Reality.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Democratic Party.docx, file_deleted; file_closed
08/06/2019, 00:03:57.468, Senator Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Solicitor.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Utilities Dept.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Youth Challenge Academy.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Extras, file_deleted; file_closed
08/06/2019, 00:03:57.468, Belair Hills Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Belle‐Terrace.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Breeze Hill.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Butler Manor.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Cherry Hill.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Fairington Town & Country.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Green Meadows.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 95 of 220
                                                                                                    000095

08/06/2019, 00:03:57.468, Highland Park Prayer Connection.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Highpointe Clark Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Laney Walker.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Pepperidge.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Quail Hollow Quail Ridge.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Ridge Forrest.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Sandridge.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Turpin Hill #1.doc, file_deleted; file_closed
08/06/2019, 00:03:57.468, Turpin Hill #2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.484, Walton Farms.doc, file_deleted; file_closed
08/06/2019, 00:03:57.484, Woodlake.doc, file_deleted; file_closed
08/06/2019, 00:03:57.484, Neighborhood Associations, file_deleted; file_closed
08/06/2019, 00:03:57.484, Thank You Letters for 2012, file_deleted; file_closed
08/06/2019, 00:03:57.484, RCNAA Banquet 2012, file_deleted; file_closed
08/06/2019, 00:03:57.484, 16 Feb 13 Banquet 2013 Financial Update.doc, file_deleted; file_closed
08/06/2019, 00:03:57.484, 6 Feb 13 Banquet 2013 Financial Update.doc, file_deleted; file_closed
08/06/2019, 00:03:57.484, 9 Feb 13 Banquet 2013 Financial Update.doc, file_deleted; file_closed
08/06/2019, 00:03:57.484, AAR Report.docx, file_deleted; file_closed
08/06/2019, 00:03:57.484, Ad Pictures.docx, file_deleted; file_closed
08/06/2019, 00:03:57.484, Award Ethel Jones.docx, file_deleted; file_closed
08/06/2019, 00:03:57.484, Award format.docx, file_deleted; file_closed
08/06/2019, 00:03:57.484, Award Larry Ramsey.docx, file_deleted; file_closed
08/06/2019, 00:03:57.484, Award Rose Carter.docx, file_deleted; file_closed
08/06/2019, 00:03:57.484, Back‐Up Seating Roster Names.xls, file_deleted; file_closed
08/06/2019, 00:03:57.484, Banquet Ad Letter.docx, file_deleted; file_closed
08/06/2019, 00:03:57.484, Banquet Flyer 2013.docx, file_deleted; file_closed
08/06/2019, 00:03:57.484, Banquet Program 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:57.484, Banquet Program 2013 practice.doc, file_deleted; file_closed
08/06/2019, 00:03:57.484, Banquet Program 2013.doc, file_deleted; file_closed
08/06/2019, 00:03:57.484, Expenses.xls, file_deleted; file_closed
08/06/2019, 00:03:57.484, Flowers.docx, file_deleted; file_closed
08/06/2019, 00:03:57.484, Kellie Bio.docx, file_deleted; file_closed
08/06/2019, 00:03:57.484, Kellie Bio2.docx, file_deleted; file_closed
08/06/2019, 00:03:57.500, Kellie's Speech.docx, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 96 of 220
                                                                                                     000096

08/06/2019, 00:03:57.500, Money Transfer to Treasurer 19 Dec 12.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 24 Jan 13.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 5 Jan 13.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 6 Feb 13.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 11 Feb 13.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 14 Nov 13.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 16 Feb 13 (2).xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 16 Feb 13.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 19 Feb 13.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 2 Mar 13.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 21 Feb 13.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Money Transfer to Treasurer 26 Mar 13.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Paid Ticket Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Program Advertisement.doc, file_deleted; file_closed
08/06/2019, 00:03:57.500, Sandridge Name Lables.doc, file_deleted; file_closed
08/06/2019, 00:03:57.500, Table Layout 2013.ppt, file_deleted; file_closed
08/06/2019, 00:03:57.500, Table Name Cards.ppt, file_deleted; file_closed
08/06/2019, 00:03:57.500, Table Roster (New Format).xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Table Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Ticket Control Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:57.500, Banquet Committee 16 Feb 13.docx, file_deleted; file_closed
08/06/2019, 00:03:57.500, Banquet Committee 19 Feb 13.docx, file_deleted; file_closed
08/06/2019, 00:03:57.500, Banquet Committee 19 Jan 13.docx, file_deleted; file_closed
08/06/2019, 00:03:57.500, Banquet Committee 7 Feb 13.docx, file_deleted; file_closed
08/06/2019, 00:03:57.500, Banquet Committee 17 Nov 12.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Banquet Committee 27 Oct 12.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Banquet Committee 15 Sep 2011.doc, file_deleted; file_closed
08/06/2019, 00:03:57.515, Banquet Committee 16 Feburary 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Banquet Committee 2 Feburary 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Banquet Committee 21 Feburary 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Banquet Committee 22 Dec 2011.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Banquet Committee 24 January 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Banquet Committee 1 Nov 10.doc, file_deleted; file_closed
08/06/2019, 00:03:57.515, Banquet Committee 1 Nov 2011.docx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 97 of 220
                                                                                                   000097

08/06/2019, 00:03:57.515, Banquet Committee 1 Nov 2011.txt, file_deleted; file_closed
08/06/2019, 00:03:57.515, Banquet Committee AAR 28 Feburary 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, 2012 Files, file_deleted; file_closed
08/06/2019, 00:03:57.515, Agendas, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award Comm Mason.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award Ethel Jones.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award Fire Chief.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award format.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award Ivey.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award Larry Ramsey.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award Perry Robinson.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award Rep Murphy.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award Rose Carter.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award Sheriff Roundtree.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Award Winbush.docx, file_deleted; file_closed
08/06/2019, 00:03:57.515, Awards 2013, file_deleted; file_closed
08/06/2019, 00:03:57.531, Clerk of Court Elaine Johnson.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Commissioner Alvin Mason.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Commissioner Donnie Smith.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Commissioner Grady Smith.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Commissioner Joe Jackson.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Commissioner Marion Williams.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Commissioner Mary Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Commissioner Mayor Pro‐Tem Cory Johnson.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Commissioner Wayne Guilfoyle.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Commissioner William Bill Lockett.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Commissioner William Fennoy.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Congressman John Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Helen Minchew.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Invitation letter.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Judge H. Scott Allen.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Judge Harry B James III.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Judge William D. Jennings.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Press Release.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 98 of 220
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08/06/2019, 00:03:57.531, School Board Invitation.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Superintendent of Richmond County School System.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, Venus Cain.doc, file_deleted; file_closed
08/06/2019, 00:03:57.531, ~WRL0001.tmp, file_deleted; file_closed
08/06/2019, 00:03:57.546, ad doc.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Coroner Grover Tuten.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, District Attorney Ashily Wright.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Judge Carl C. Brown.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Judge Carlisle Overstreet.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Judge Daniel J. Craig.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Judge David Roper.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Judge David Watkins.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Judge J. Wadge Padgett.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Judge John Flythe.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Judge Patrica W. Booker.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Judge Richard Slaby.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Judge Sheryl B Jolly.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Rep Barbara Sims.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Rep Earnest Smith.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Rep Gloria Frazier.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Rep Henry Wayne Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Rep Quincy Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Representative Ben Harbin.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Richmond County Marshal.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Sen Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Sheriff Richmond County.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Solicitor Richmond County.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Sponsor addresses 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, Tax Commissioner.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:57.546, 2013 already mailed, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 99 of 220
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08/06/2019, 00:03:57.562, A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, Advanced Disposal.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, AM Psych Partners.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, Anderson.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, ANIC.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, Augusta Utilities.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BANQUET COMMITTEE REPORT 02 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BANQUET COMMITTEE REPORT 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BANQUET COMMITTEE REPORT 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BANQUET COMMITTEE REPORT 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BANQUET COMMITTEE REPORT 02 28 07‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BANQUET COMMITTEE REPORT 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BANQUET COMMITTEE REPORT 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, Banquet Flyer #1.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, Banquet guest tracker Draft1.xls, file_deleted; file_closed
08/06/2019, 00:03:57.562, Banquet guest tracker1.xls, file_deleted; file_closed
08/06/2019, 00:03:57.562, Banquet Ticket #3A.pub, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetBudget2007.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetBudgetNoDonations2007.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetFinanceReport 01 23 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetFinanceReport 01 30 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetFinanceReport 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetFinanceReport 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetFinanceReport 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetFinanceReport 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetFinanceReport 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetFinanceReport Blank.doc, file_deleted; file_closed
08/06/2019, 00:03:57.562, BanquetFinanceReport.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, BanquetFlyer#1A1.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, BanquetInvitationLetter2007 02.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, BanquetInvitationLetter2007.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, BanquetInvitationLetter2007Barrow.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 100 of 220
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08/06/2019, 00:03:57.578, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, BanquetInvitationLetter2007MayorCopenhaver.zip, file_deleted; file_closed
08/06/2019, 00:03:57.578, Beulah Grove Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Bibleway Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, BioforHaroldJonesII.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Black Pages.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Bussey Ins Agent.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Capitol City.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Champagne Glasses.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Comcast.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, CompuCredit.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Contribution Request.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, ContributionRequest 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, ContributionRequest.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Copy (2) of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Copy of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Copy of Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, County Administator.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, County Comm.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Dr Gaines office.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Duncan Wheale.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, ESG Ops.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Fairway Ford.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Faith Outreach Christian Life Center.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Fire Services.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Food.xls, file_deleted; file_closed
08/06/2019, 00:03:57.578, Frails Attorney At Law.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Funds Intake Sheet.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Gardyr M Capital.doc, file_deleted; file_closed
08/06/2019, 00:03:57.578, Gold Cross.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Good Shepard Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Greater Apostolic Holy Temple.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Home Inspectors.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 101 of 220
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08/06/2019, 00:03:57.593, Horizon.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Insituform Tech.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Jordan Jones Groulding.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Kinsey Walton.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Macedonia Baptist.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Marshalls office.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Mt Calvary Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Mustard Seed.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, MWH Global.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, New Microsoft Excel Worksheet.xls, file_deleted; file_closed
08/06/2019, 00:03:57.593, New Zion Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Nordahl.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Old Time Way Church of God In Christ.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, OMI 2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, OMICHM2‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, OMICHM2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Paine College.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Parsons.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Premier Mortgage.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Public Services.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Q&C Services.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Richmond Credit Union.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, S L King.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Sims.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Spirit Creek Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Steven‐ Palmer.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Tabernacle Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, TGS Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:57.593, Thankful Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.609, Total Maint Solutions.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 102 of 220
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08/06/2019, 00:03:57.609, Trinity CME Church.doc, file_deleted; file_closed
08/06/2019, 00:03:57.609, U S Infrastucture.doc, file_deleted; file_closed
08/06/2019, 00:03:57.609, Valued Services Atl.doc, file_deleted; file_closed
08/06/2019, 00:03:57.609, Valued Services Peachtree.doc, file_deleted; file_closed
08/06/2019, 00:03:57.609, Walke Group.doc, file_deleted; file_closed
08/06/2019, 00:03:57.609, Waste Management Services.doc, file_deleted; file_closed
08/06/2019, 00:03:57.609, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:57.906, Whole Life Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:57.906, Past Invitations, file_deleted; file_closed
08/06/2019, 00:03:57.906, Invitation Letters, file_deleted; file_closed
08/06/2019, 00:03:57.921, Leroy Steed Scholarship Application ‐2013.doc, file_deleted; file_closed
08/06/2019, 00:03:57.921, Scholarship Winners.docx, file_deleted; file_closed
08/06/2019, 00:03:57.921, Scholarship Info 2013, file_deleted; file_closed
08/06/2019, 00:03:57.921, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:57.921, Augusta Blueprint.doc, file_deleted; file_closed
08/06/2019, 00:03:57.921, Baptist Ministers Conference.doc, file_deleted; file_closed
08/06/2019, 00:03:57.921, BJ Woolwine.doc, file_deleted; file_closed
08/06/2019, 00:03:57.921, Capital City Bank & Trust.doc, file_deleted; file_closed
08/06/2019, 00:03:57.921, Congressman John Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:57.921, Democratic Party.doc, file_deleted; file_closed
08/06/2019, 00:03:57.921, Dr Brown.doc, file_deleted; file_closed
08/06/2019, 00:03:57.921, Dr Gaines.doc, file_deleted; file_closed
08/06/2019, 00:03:57.921, Fire Chief.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Fred Russell.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Hudson Grassing Company 2013.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Jeff Swann.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Jesse Norman.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Jonathan Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Judge Roper not comp.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Larry Ramsey.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Lula Whitehead.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Mary Jackson.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Pasty Scott.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 103 of 220
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08/06/2019, 00:03:57.937, Petals and More.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Representative Smith.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Ruth Reddy.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Sam's Shells & Scales.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Senator Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Sheriff's Office.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Solicitor Kellie McIntyre.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Vernocia Stokes (not comp).doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Century 21 Jeff Keller Reality.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Democratic Party.docx, file_deleted; file_closed
08/06/2019, 00:03:57.937, Senator Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Solicitor.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Utilities Dept.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Youth Challenge Academy.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Extras, file_deleted; file_closed
08/06/2019, 00:03:57.937, Belair Hills Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:57.937, Belle‐Terrace.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Breeze Hill.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Butler Manor.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Cameron.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Cherry Hill.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Fairington Town & Country.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Green Meadows.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Highland Park Prayer Connection.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Highpointe Clark Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Laney Walker.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Pepperidge.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Quail Hollow Quail Ridge.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Sandridge.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Turpin Hill #1.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Turpin Hill #2.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Walton Farms.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Woodlake.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Neighborhood Associations, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 104 of 220
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08/06/2019, 00:03:57.953, Thank You Letters for 2013, file_deleted; file_closed
08/06/2019, 00:03:57.953, AAR.docx, file_deleted; file_closed
08/06/2019, 00:03:57.953, Acknowledgements.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Alliance History.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Banquet 2012 Financial Update.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Banquet Budget 2008.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Banquet Committee ‐ Exec Board 19 Nov 09.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Banquet Committee ‐ Exec Board 29 Oct 09.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Banquet Flyer 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Banquet Invitation Letter 2009 Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Banquet Invitation Letter 2009 Mayor Copenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:57.953, Banquet Program 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Banquet Ticket.docx, file_deleted; file_closed
08/06/2019, 00:03:57.968, Final Report 2012.docx, file_deleted; file_closed
08/06/2019, 00:03:57.968, Hudson Grassing II.ppt, file_deleted; file_closed
08/06/2019, 00:03:57.968, Hudson Grassing.ppt, file_deleted; file_closed
08/06/2019, 00:03:57.968, Instruction Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Mailing Return Label ‐RCNAA.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Neighborhood Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, News Release.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Paid Ticket Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:57.968, Sandridge Name Labes.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Sandridge Table Seating Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:57.968, Seating Roster NAMES.xls, file_deleted; file_closed
08/06/2019, 00:03:57.968, Senator Davis BIO.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Serving Order.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Set‐Up‐PP.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Set‐Up.ppt, file_deleted; file_closed
08/06/2019, 00:03:57.968, Shuan Tia Jones.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Small Business Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, spelling.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Table Layout 2012.ppt, file_deleted; file_closed
08/06/2019, 00:03:57.968, Table Name Cards.ppt, file_deleted; file_closed
08/06/2019, 00:03:57.968, Table Roster.xls, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 105 of 220
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08/06/2019, 00:03:57.968, Taylor Infinite.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Ticket Control Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:57.968, Ticket‐Entrance Control.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Award‐ Cpt Scott Peebles.doc, file_deleted; file_closed
08/06/2019, 00:03:57.968, Award‐ LC Myles.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Edward Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Fason.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Awards 2012, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award Belair Hills and Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award Presentation Order.docx, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award Rufus Lewis.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award Sandridge.docx, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐ Deputy HARDIN.docx, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Blayne Alexander.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Cynthia Peurifoy.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Ethel.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Hudson.docm, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐John Barrow.docx, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Kay.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Kemberely Scott.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Mario.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Award‐Steven Kendrick.doc, file_deleted; file_closed
08/06/2019, 00:03:57.984, Awasrd Jefferson Energy.docx, file_deleted; file_closed
08/06/2019, 00:03:57.984, Awards before 2012, file_deleted; file_closed
08/06/2019, 00:03:57.984, Awards, file_deleted; file_closed
08/06/2019, 00:03:58.000, Judge Ruffin Bio.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, ~WRL0005.tmp, file_deleted; file_closed
08/06/2019, 00:03:58.000, Acceptance for John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, Blayne Alexander.docx, file_deleted; file_closed
08/06/2019, 00:03:58.000, Blayne Bio 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, CYNTHIA Bio 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, Cynthia Peurifoy 2010.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 106 of 220
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08/06/2019, 00:03:58.000, Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, John H Ruffin 2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, KScott.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, Leah W. Sears 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, Leah W. Sears.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, Senator Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:58.000, Past Information, file_deleted; file_closed
08/06/2019, 00:03:58.000, Guest Speaker and MCs, file_deleted; file_closed
08/06/2019, 00:03:58.000, ad doc.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Core invitation letter.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Ed Tarver 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Marshal Office 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Sheriff office 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Sheriff office.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Sponsor addresses 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Advanced Disposal.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, AM Psych Partners.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Anderson.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, ANIC.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Augusta Utilities.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, BANQUET COMMITTEE REPORT 02 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, BANQUET COMMITTEE REPORT 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, BANQUET COMMITTEE REPORT 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, BANQUET COMMITTEE REPORT 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, BANQUET COMMITTEE REPORT 02 28 07‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, BANQUET COMMITTEE REPORT 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, BANQUET COMMITTEE REPORT 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, Banquet Flyer #1.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 107 of 220
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08/06/2019, 00:03:58.015, Banquet guest tracker Draft1.xls, file_deleted; file_closed
08/06/2019, 00:03:58.015, Banquet guest tracker1.xls, file_deleted; file_closed
08/06/2019, 00:03:58.015, Banquet Ticket #3A.pub, file_deleted; file_closed
08/06/2019, 00:03:58.015, BanquetBudget2007.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, BanquetBudgetNoDonations2007.doc, file_deleted; file_closed
08/06/2019, 00:03:58.015, BanquetFinanceReport 01 23 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetFinanceReport 01 30 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetFinanceReport 02 06 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetFinanceReport 02 13 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetFinanceReport 02 20 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetFinanceReport 02 28 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetFinanceReport 03 03 07.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetFinanceReport Blank.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetFinanceReport.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetFlyer#1A1.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetInvitationLetter2007 02.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetInvitationLetter2007.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetInvitationLetter2007Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BanquetInvitationLetter2007MayorCopenhaver.zip, file_deleted; file_closed
08/06/2019, 00:03:58.031, Beulah Grove Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Bibleway Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, BioforHaroldJonesII.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Black Pages.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Bussey Ins Agent.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Capitol City.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Champagne Glasses.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Comcast.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, CompuCredit.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Contribution Request.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, ContributionRequest 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, ContributionRequest.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Copy (2) of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Copy of A G Edwards.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 108 of 220
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08/06/2019, 00:03:58.031, Copy of Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, County Administator.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, County Comm.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Dr Gaines office.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, Duncan Wheale.doc, file_deleted; file_closed
08/06/2019, 00:03:58.031, ESG Ops.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Fairway Ford.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Faith Outreach Christian Life Center.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Fire Services.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Food.xls, file_deleted; file_closed
08/06/2019, 00:03:58.046, Frails Attorney At Law.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Funds Intake Sheet.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Gardyr M Capital.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Gold Cross.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Good Shepard Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Greater Apostolic Holy Temple.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Home Inspectors.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Horizon.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Insituform Tech.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Jordan Jones Groulding.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Kinsey Walton.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Macedonia Baptist.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Marshalls office.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Mt Calvary Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Mustard Seed.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, MWH Global.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, New Microsoft Excel Worksheet.xls, file_deleted; file_closed
08/06/2019, 00:03:58.046, New Zion Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Nordahl.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Old Time Way Church of God In Christ.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 109 of 220
                                                                                                     000109

08/06/2019, 00:03:58.046, OMI 2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, OMICHM2‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, OMICHM2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Paine College.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Parsons.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Premier Mortgage.doc, file_deleted; file_closed
08/06/2019, 00:03:58.046, Public Services.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Q&C Services.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Richmond Credit Union.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, S L King.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Sims.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Spirit Creek Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Steven‐ Palmer.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Tabernacle Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, TGS Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Thankful Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Total Maint Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Trinity CME Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, U S Infrastucture.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Valued Services Atl.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Valued Services Peachtree.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Walke Group.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, Waste Management Services.doc, file_deleted; file_closed
08/06/2019, 00:03:58.062, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:58.250, Whole Life Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:58.250, Past Invitations, file_deleted; file_closed
08/06/2019, 00:03:58.250, Invitation Letters, file_deleted; file_closed
08/06/2019, 00:03:58.265, Church Invites Letters.docx, file_deleted; file_closed
08/06/2019, 00:03:58.265, Church Labels.docx, file_deleted; file_closed
08/06/2019, 00:03:58.265, Corporate Banquet Invitation Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:58.265, New Labels List 01 08 09.doc, file_deleted; file_closed
08/06/2019, 00:03:58.265, RCNAA Return Labels.doc, file_deleted; file_closed
08/06/2019, 00:03:58.265, Smal Business Banquet Invitation Letter.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 110 of 220
                                                                                                    000110

08/06/2019, 00:03:58.265, RCNAA Banquet 2009 from Jefferson, file_deleted; file_closed
08/06/2019, 00:03:58.265, Ashleigh Williams Payment.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Ashleigh Williams.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Christopher Palmer Payment.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Christopher Palmer.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Dasiy Barreto.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Ester Rodriquez Payment.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Ester Rodriquez.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Kimberly Olden Payment.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Kimberly Olden.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Shakita McClady Payment.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Shakita McClady.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Student Information, file_deleted; file_closed
08/06/2019, 00:03:58.281, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Augusta Blueprint.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Baptist Ministers Conference.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Becky Akinrinade.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Chris Thomas.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Commissioner Lockett.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Commissioner Mason.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Gayshor Harris.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Hudson Grassing Company 2012.doc, file_deleted; file_closed
08/06/2019, 00:03:58.281, Hudson Grassing Company.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Kenitra M Johnson.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Marshal's Department Richmond Cty.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Natasha Gallop.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Representative Frazier.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Representative Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Representative Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Representative Smith.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Ruth Reddy.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Senator Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Sheriff's Office.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 111 of 220
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08/06/2019, 00:03:58.296, Tax Commissioner.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Century 21 Jeff Keller Reality.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Democratic Party.docx, file_deleted; file_closed
08/06/2019, 00:03:58.296, Senator Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Solicitor.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Utilities Dept.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Youth Challenge Academy.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Extras, file_deleted; file_closed
08/06/2019, 00:03:58.296, Belair Hills Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Belle‐Terrace.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Breeze Hill.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Butler Manor.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Cherry Hill.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Fairington Town & Country.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Green Meadows.doc, file_deleted; file_closed
08/06/2019, 00:03:58.296, Highland Park Prayer Connection.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Highpointe Clark Estates.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Laney Walker.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Pepperidge.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Quail Hollow Quail Ridge.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Ridge Forrest.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Sandridge.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Turpin Hill #1.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Turpin Hill #2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Walton Farms.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Woodlake.doc, file_deleted; file_closed
08/06/2019, 00:03:58.312, Neighborhood Associations, file_deleted; file_closed
08/06/2019, 00:03:58.312, Thank You Letters for 2012, file_deleted; file_closed
08/06/2019, 00:03:58.312, Z‐2012 Information, file_deleted; file_closed
08/06/2019, 00:03:58.312, RCNAA Banquet 2013, file_deleted; file_closed
08/06/2019, 00:03:58.328, AAR Review 26 Mar 14.docx, file_deleted; file_closed
08/06/2019, 00:03:58.328, Award Lawerence Jackson.docx, file_deleted; file_closed
08/06/2019, 00:03:58.328, Banquet Comm Meeting 17 Feb 14.rtf, file_deleted; file_closed
08/06/2019, 00:03:58.328, Banquet Comm Meeting 20 Feb 14.rtf, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 112 of 220
                                                                                                    000112

08/06/2019, 00:03:58.328, Banquet Comm Meeting 26 Feb 14.rtf, file_deleted; file_closed
08/06/2019, 00:03:58.328, Banquet Comm Meeting 7 Jan 14.rtf, file_deleted; file_closed
08/06/2019, 00:03:58.328, Banquet Flyer 2014.docx, file_deleted; file_closed
08/06/2019, 00:03:58.328, Banquet Program 2014.doc, file_deleted; file_closed
08/06/2019, 00:03:58.328, Banquet Ticket Format.doc, file_deleted; file_closed
08/06/2019, 00:03:58.328, Finance Tracker 2014 Banquet.xls, file_deleted; file_closed
08/06/2019, 00:03:58.328, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:58.328, News Release.doc, file_deleted; file_closed
08/06/2019, 00:03:58.328, Program Advertisement.doc, file_deleted; file_closed
08/06/2019, 00:03:58.328, Roundtree SKMBT_C28414010613290.pdf, attrib_changed; file_closed
08/06/2019, 00:03:58.328, Roundtree SKMBT_C28414010613290.pdf, file_deleted; file_closed
08/06/2019, 00:03:58.328, Sandridge Table Seating Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:58.328, Table Layout 2014.ppt, file_deleted; file_closed
08/06/2019, 00:03:58.328, Table Name Cards.ppt, file_deleted; file_closed
08/06/2019, 00:03:58.328, Ticket Control Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:58.328, Judge Ruffin Bio.doc, file_deleted; file_closed
08/06/2019, 00:03:58.328, ~WRL0005.tmp, file_deleted; file_closed
08/06/2019, 00:03:58.343, Acceptance for John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, Blayne Alexander.docx, file_deleted; file_closed
08/06/2019, 00:03:58.343, Blayne Bio 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, CYNTHIA Bio 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, Cynthia Peurifoy 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, John H Ruffin 2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, KScott.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, Leah W. Sears 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, Leah W. Sears.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, Senator Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, Stacy Abrams.doc, file_deleted; file_closed
08/06/2019, 00:03:58.343, Past Information, file_deleted; file_closed
08/06/2019, 00:03:58.343, Guest Speaker and MCs, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfer to Treasurer 1 Feb 14.xls, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfer to Treasurer 14 Feb 14.rtf, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 113 of 220
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08/06/2019, 00:03:58.343, Money Transfer to Treasurer 20 Feb 14.xls, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfer to Treasurer 21 Feb 14.rtf, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfer to Treasurer 23 Jan 14.xls, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfer to Treasurer 26 Feb 14.xls, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfer to Treasurer 27 Feb 14.xls, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfer to Treasurer 31 Mar 14.xls, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfer to Treasurer 6 Mar 14.xls, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfer to Treasurer 7 Feb 14.xls, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfer to Treasurer 9 Dec 13.xls, file_deleted; file_closed
08/06/2019, 00:03:58.343, Money Transfers, file_deleted; file_closed
08/06/2019, 00:03:58.359, 001.jpg, file_deleted; file_closed
08/06/2019, 00:03:58.359, 002.jpg, file_deleted; file_closed
08/06/2019, 00:03:58.359, 003.jpg, file_deleted; file_closed
08/06/2019, 00:03:58.359, 004.jpg, file_deleted; file_closed
08/06/2019, 00:03:58.359, Scholarship Enrollment Documents 2014‐08‐09, file_deleted; file_closed
08/06/2019, 00:03:58.359, RCNAA Banquet 2014, file_deleted; file_closed
08/06/2019, 00:03:58.359, AAR Review 26 Mar 14.docx, file_deleted; file_closed
08/06/2019, 00:03:58.359, Banquet Committee Meeting 14 Jan 15.rtf, file_deleted; file_closed
08/06/2019, 00:03:58.359, Banquet Committee Meeting 19 Feb 15.rtf, file_deleted; file_closed
08/06/2019, 00:03:58.359, Banquet Committee Meeting 30 Jan 15.rtf, file_deleted; file_closed
08/06/2019, 00:03:58.359, Banquet Flyer 2015.docx, file_deleted; file_closed
08/06/2019, 00:03:58.359, Banquet Program 2015.doc, file_deleted; file_closed
08/06/2019, 00:03:58.359, Distingued Guest List.rtf, file_deleted; file_closed
08/06/2019, 00:03:58.359, Expenses.xlsx, file_deleted; file_closed
08/06/2019, 00:03:58.359, Finance Tracker 2015 Banquet.xls, file_deleted; file_closed
08/06/2019, 00:03:58.359, Invoice Airport.docx, file_deleted; file_closed
08/06/2019, 00:03:58.359, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:58.359, News Release.doc, file_deleted; file_closed
08/06/2019, 00:03:58.359, Program Advertisement.doc, file_deleted; file_closed
08/06/2019, 00:03:58.359, Roundtree SKMBT_C28414010613290.pdf, attrib_changed; file_closed
08/06/2019, 00:03:58.359, Roundtree SKMBT_C28414010613290.pdf, file_deleted; file_closed
08/06/2019, 00:03:58.359, Sandridge Table Seating Roster.xls, file_deleted; file_closed
08/06/2019, 00:03:58.359, Table Layout 2014.ppt, file_deleted; file_closed
08/06/2019, 00:03:58.359, Table Layout 2015 Doubletree.docx, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 114 of 220
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08/06/2019, 00:03:58.359, Table Layout 2015 Doubletree.pdf, file_deleted; file_closed
08/06/2019, 00:03:58.359, Table Name Cards.ppt, file_deleted; file_closed
08/06/2019, 00:03:58.359, Ticket Issue Sheet.xls, file_deleted; file_closed
08/06/2019, 00:03:58.359, Working Letter.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, ad doc.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Augusta Aviation.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Augusta Aviation2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Comm Ben Hasan.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Comm Dennis Williams.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Comm Marion Williams.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Coroner Grover Tuten.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, District Attorney Ashily Wright.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Ed Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Jefferson Energy Cooperative.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Judge Carl C. Brown.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Judge Carlisle Overstreet.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Judge Daniel J. Craig.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Judge David Roper.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Judge David Watkins.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Judge J. Wadge Padgett.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Judge John Flythe.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Judge Patrica W. Booker.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Judge Richard Slaby.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Judge Sheryl B Jolly.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Patrick Cullinan.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Rep Barbara Sims.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Rep Earnest Smith.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Rep Gloria Frazier.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Rep Henry Wayne Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Rep Quincy Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Representative Ben Harbin.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Richmond County Marshal.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Sen Hardie Davis.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 115 of 220
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08/06/2019, 00:03:58.375, Sheriff Richmond County.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Solicitor Richmond County.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Sponsor addresses 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, Tax Commissioner.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:58.375, 2015ready to mail, file_deleted; file_closed
08/06/2019, 00:03:58.390, Award Format ‐ Then save as New Name.docx, file_deleted; file_closed
08/06/2019, 00:03:58.390, Award Ivey.docx, file_deleted; file_closed
08/06/2019, 00:03:58.390, Dee Griffin.docx, file_deleted; file_closed
08/06/2019, 00:03:58.390, Janice Jackson.docx, file_deleted; file_closed
08/06/2019, 00:03:58.390, Perry Robinson.docx, file_deleted; file_closed
08/06/2019, 00:03:58.390, Ruth Reddy.docx, file_deleted; file_closed
08/06/2019, 00:03:58.390, Awards, file_deleted; file_closed
08/06/2019, 00:03:58.390, Janice Jackson.doc, file_deleted; file_closed
08/06/2019, 00:03:58.390, Judge Ruffin Bio.doc, file_deleted; file_closed
08/06/2019, 00:03:58.390, Stacy Abrams.doc, file_deleted; file_closed
08/06/2019, 00:03:58.390, ~WRL0005.tmp, file_deleted; file_closed
08/06/2019, 00:03:58.390, Acceptance for John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:58.390, Blayne Alexander.docx, file_deleted; file_closed
08/06/2019, 00:03:58.390, Blayne Bio 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:58.390, CYNTHIA Bio 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:58.390, Cynthia Peurifoy 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:58.390, Hardie Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:58.390, John H Ruffin 2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.406, John H Ruffin.doc, file_deleted; file_closed
08/06/2019, 00:03:58.406, KScott.doc, file_deleted; file_closed
08/06/2019, 00:03:58.406, Leah W. Sears 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:58.406, Leah W. Sears.doc, file_deleted; file_closed
08/06/2019, 00:03:58.406, Senator Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:58.406, Past Information, file_deleted; file_closed
08/06/2019, 00:03:58.406, Guest Speaker and MCs, file_deleted; file_closed
08/06/2019, 00:03:58.468, A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Advanced Disposal.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Affholder.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 116 of 220
                                                                                                      000116

08/06/2019, 00:03:58.468, AM Psych Partners.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, ANIC.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Augusta Utilities.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, BanquetInvitationLetter2007 02.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, BanquetInvitationLetter2007.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, BanquetInvitationLetter2007Barrow.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Beulah Grove Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Bibleway Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, BioforHaroldJonesII.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Black Pages.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Bussey Ins Agent.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Capitol City.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Comcast.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, CompuCredit.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Contribution Request.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, ContributionRequest 2007.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, ContributionRequest.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Copy (2) of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Copy of A G Edwards.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Copy of Affholder.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, County Administator.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, County Comm.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Davis.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Dr Gaines office.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Duncan Wheale.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, ESG Ops.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Fairway Ford.doc, file_deleted; file_closed
08/06/2019, 00:03:58.468, Faith Outreach Christian Life Center.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Fire Services.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Frails Attorney At Law.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Gardyr M Capital.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Gold Cross.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 117 of 220
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08/06/2019, 00:03:58.484, Good Shepard Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Greater Apostolic Holy Temple.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Home Inspectors.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Horizon.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Howard.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Hudson Grassing.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Insituform Tech.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Jordan Jones Groulding.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Kinsey Walton.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Macedonia Baptist.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Marshalls office.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Mt Calvary Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Murphy.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Mustard Seed.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, MWH Global.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, New Zion Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Nordahl.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Old Time Way Church of God In Christ.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, OMI 2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, OMICHM2‐2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, OMICHM2.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Paine College.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Parsons.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Premier Mortgage.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Public Services.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Q&C Services.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Return Envolope.rtf, file_deleted; file_closed
08/06/2019, 00:03:58.484, Richmond Credit Union.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, S L King.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Seating Chart.ppt, file_deleted; file_closed
08/06/2019, 00:03:58.484, Sheriff office.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Sims.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Spirit Creek Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.484, Sponsor addresses 2007.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 118 of 220
                                                                                                       000118

08/06/2019, 00:03:58.500, Steven‐ Palmer.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, Tabernacle Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, Tarver.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, TGS Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, Thankful Baptist Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, Total Maint Solutions.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, Trinity CME Church.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, U S Infrastucture.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, Valued Services Atl.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, Valued Services Peachtree.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, Walke Group.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, Waste Management Services.doc, file_deleted; file_closed
08/06/2019, 00:03:58.500, West Augusta Alliance.doc, file_deleted; file_closed
08/06/2019, 00:03:58.656, edb.log, data_overwritten; file_closed
08/06/2019, 00:03:58.718, Whole Life Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:58.718, edb0057A.log, file_renamed; file_closed
08/06/2019, 00:03:58.718, edbtmp.log, data_overwritten; file_added; file_created; file_closed
08/06/2019, 00:03:58.718, BanquetInvitationLetter2007MayorCopenhaver.doc, file_deleted; file_closed
08/06/2019, 00:03:58.734, Corporate Banquet Invitation Letter 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:58.750, edb.log, file_renamed; file_closed
08/06/2019, 00:03:58.875, BanquetInvitationLetter2007MayorCopenhaver, file_deleted; file_closed
08/06/2019, 00:03:58.890, Invitation Letters, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Refund Transfer to Treasurer 7 Feb 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfer to Treasurer 1 Mar 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfer to Treasurer 18 Mar 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfer to Treasurer 19 Feb 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfer to Treasurer 2 Mar 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfer to Treasurer 26 Feb 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfer to Treasurer 28 Jan 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfer to Treasurer 4 Mar 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfer to Treasurer 5 Mar 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfer to Treasurer 7 Feb 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfer to Treasurer 9 Mar 15.xls, file_deleted; file_closed
08/06/2019, 00:03:58.890, Money Transfers, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 119 of 220
                                                                                                                   000119

08/06/2019, 00:03:58.906, Scholarship Enrollment Documents 2014‐08‐09, file_deleted; file_closed
08/06/2019, 00:03:58.906, edb.chk, data_overwritten; file_closed
08/06/2019, 00:03:58.906, RCNAA Banquet 2015, file_deleted; file_closed
08/06/2019, 00:03:58.906, edbtmp.log, file_renamed; file_closed
08/06/2019, 00:03:58.906, edb00578.log, file_deleted; file_closed
08/06/2019, 00:03:58.906, Articles of Incorporation Leroy Steed.doc, file_deleted; file_closed
08/06/2019, 00:03:58.906, Scholarship Fund, file_deleted; file_closed
08/06/2019, 00:03:58.922, Essay Topics 2010.docx, file_deleted; file_closed
08/06/2019, 00:03:58.922, Scholarship Application 2010.doc, file_deleted; file_closed
08/06/2019, 00:03:58.922, Scholarship Application 2009.doc, file_deleted; file_closed
08/06/2019, 00:03:58.922, Scholarship Application.doc, file_deleted; file_closed
08/06/2019, 00:03:58.922, The Leroy Steed Educational Scholarship 2010 extra.doc, file_deleted; file_closed
08/06/2019, 00:03:58.922, 2008 Guidelines.doc, file_deleted; file_closed
08/06/2019, 00:03:58.922, 2009 Guidelines.doc, file_deleted; file_closed
08/06/2019, 00:03:58.922, 2009 Scholarship Memo.docx, file_deleted; file_closed
08/06/2019, 00:03:58.937, 2010 Guidelines.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, Education Committee 08.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, Grading Suggestions.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, Education Committee, file_deleted; file_closed
08/06/2019, 00:03:58.937, Schorlarship Info, file_deleted; file_closed
08/06/2019, 00:03:58.937, Antioch Ministries.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, Walmart.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, Woodlake, file_deleted; file_closed
08/06/2019, 00:03:58.937, RCNAA, file_deleted; file_closed
08/06/2019, 00:03:58.937, A Plan for Managing the Growth and Development Final[1].ppt, file_deleted; file_closed
08/06/2019, 00:03:58.937, Boundary.ppt, file_deleted; file_closed
08/06/2019, 00:03:58.937, Briefing Invitation.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, Committee.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, DDA.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, Growth and Development.ppt, file_deleted; file_closed
08/06/2019, 00:03:58.937, Last Slide.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, March 21 meeting.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, POC Committee.doc, file_deleted; file_closed
08/06/2019, 00:03:58.937, Talking Points.doc, file_deleted; file_closed
                             Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 120 of 220
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08/06/2019, 00:03:58.937, Alvin Mason.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Betty Beard.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Briefing II ‐ Daskal.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Calvin Holland.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Cory Johnson.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Don Gratham.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Jerry Brigham.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Jimmy Smith.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Joe Bowles.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Joe Jackson.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, mayor.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Rev Hatney.doc, file_deleted; file_closed
08/06/2019, 00:03:58.953, Briefing II, file_deleted; file_closed
08/06/2019, 00:03:58.953, SADA, file_deleted; file_closed
08/06/2019, 00:03:58.953, Sam, attrib_changed; file_closed
08/06/2019, 00:03:58.953, Sam, attrib_changed; file_closed
08/06/2019, 00:03:58.953, 001.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 002.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 003.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 004.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 005.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 006.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 007.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 008.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 009.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 010.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 011.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 012.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 013.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 014.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 015.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 016.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 017.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.953, 018.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 121 of 220
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08/06/2019, 00:03:58.968, 019.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 020.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 021.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 022.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 023.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 024.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 025.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 026.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 027.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 028.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 029.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 030.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 031.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 032.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 033.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 034.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 035.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 036.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 037.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 038.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 039.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 040.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 041.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 042.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 043.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 044.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 045.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 046.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 047.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 048.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.968, 049.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 050.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 051.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 052.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 122 of 220
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08/06/2019, 00:03:58.984, 053.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 054.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 055.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 056.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 057.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 058.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 059.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 060.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 061.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 062.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 063.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 064.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 065.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 066.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 067.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 068.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 069.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 070.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 071.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 072.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 073.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 074.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 075.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 076.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 077.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 078.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 079.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 080.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 081.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 082.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 083.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 084.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 085.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 086.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 123 of 220
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08/06/2019, 00:03:58.984, 087.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 088.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 089.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 090.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 091.JPG, file_deleted; file_closed
08/06/2019, 00:03:58.984, 092.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 093.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 094.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 095.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 096.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 097.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 098.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 099.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 100.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 101.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 102.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 103.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 104.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 105.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 106.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 107.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 108.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 109.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 110.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 111.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 112.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 113.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 114.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 115.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 116.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 117.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 118.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 119.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 120.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 124 of 220
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08/06/2019, 00:03:59.000, 121.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 122.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 123.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 124.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 125.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 126.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 127.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 128.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 129.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 130.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 131.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 132.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 133.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 134.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 135.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.000, 136.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 137.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 138.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 139.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 140.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 141.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 142.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 143.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 144.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 145.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 146.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 147.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 148.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 149.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 150.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 151.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 152.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 153.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 154.JPG, file_deleted; file_closed
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08/06/2019, 00:03:59.015, 155.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 156.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 157.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 158.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 159.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 160.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 161.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 162.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 163.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 164.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 165.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 166.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 167.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 168.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 169.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 170.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 171.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 172.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 173.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 174.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 175.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.015, 176.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 177.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 178.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 179.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 180.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 181.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 182.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 183.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 184.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 185.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 186.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 187.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 188.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 126 of 220
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08/06/2019, 00:03:59.031, 189.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 190.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 191.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 192.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 193.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 194.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 195.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 196.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 197.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 198.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 199.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 200.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 201.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 202.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 203.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.031, 6‐1‐2009 10;31;18 AM.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.031, Annie in the Sink.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.031, Autumn Leaves.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.047, bio 001.tif, file_deleted; file_closed
08/06/2019, 00:03:59.047, Blossom.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.047, Butterfly.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, Cabo.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, California Poppy.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.047, Crater.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.047, Creek.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.047, Desert Landscape.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.047, desktop.ini, file_deleted; file_closed
08/06/2019, 00:03:59.047, Dock.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0646.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0647.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0648.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0649.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0650.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0651.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 127 of 220
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08/06/2019, 00:03:59.047, DSCN0652.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0653.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0654.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0655.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0656.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0657.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0658.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0659.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0660.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.047, DSCN0661.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0662.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0663.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0664.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0665.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0666.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0667.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0668.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0669.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0670.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0689.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0690.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN0691.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1384.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1385.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1386.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1387.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1388.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1389.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1390.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1391.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1392.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1393.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1394.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1395.JPG, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 128 of 220
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08/06/2019, 00:03:59.062, DSCN1396.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1397.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1398.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1399.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1400.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1401.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1402.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1403.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1404.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1405.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1406.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1411.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1412.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, DSCN1413.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.062, El Capitan.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.062, El Matador.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.062, Flower.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, Forest Flowers.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, Forest.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, Frangipani Flowers.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, Garden.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, Green Sea Turtle.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, Half Dome at Sunset.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, Humpback Whale.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, Ice Plant on California Coast.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, Jamestown Project Slab Prep.mov, file_deleted; file_closed
08/06/2019, 00:03:59.078, none.png, file_deleted; file_closed
08/06/2019, 00:03:59.078, Oryx Antelope.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 001.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 002.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 003.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 004.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 005.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 006.jpg, file_deleted; file_closed
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08/06/2019, 00:03:59.078, PPictures 007.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 011.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 012.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 013.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 014.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 015.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 016.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 017.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 028.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 029.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 030.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 031.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 033.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 035.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 038.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 039.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 040.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 041.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 042.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 043.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 044.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 045.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 046.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 047.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.078, PPictures 048.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 049.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 050.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 051.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 052.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 053.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 054.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 055.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 056.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 057.jpg, file_deleted; file_closed
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08/06/2019, 00:03:59.093, PPictures 058.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 059.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 155.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, PPictures 156.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, Toco Toucan.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, Tree.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, TwoJackLake.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, Waterfall.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, Wedding Sunflowers.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, White Rose.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, Winter Leaves.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, Yosemite Valley.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, 037.mpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, 1.wmv, file_deleted; file_closed
08/06/2019, 00:03:59.093, 2.wmv, file_deleted; file_closed
08/06/2019, 00:03:59.093, 3.wmv, file_deleted; file_closed
08/06/2019, 00:03:59.093, Dscn0543.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, Dscn0544.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.093, Dscn0545.jpg, file_deleted; file_closed
08/06/2019, 00:03:59.109, EbonyMax.mht, file_deleted; file_closed
08/06/2019, 00:03:59.109, Pebbles.mpg, file_deleted; file_closed
08/06/2019, 00:03:59.422, Extras, file_deleted; file_closed
08/06/2019, 00:03:59.422, Sam, attrib_changed; file_closed
08/06/2019, 00:03:59.422, Sam, file_deleted; file_closed
08/06/2019, 00:03:59.422, events_calendar.htm, file_deleted; file_closed
08/06/2019, 00:03:59.422, feedback.htm, file_deleted; file_closed
08/06/2019, 00:03:59.422, home.htm, file_deleted; file_closed
08/06/2019, 00:03:59.422, jamestown.htm, file_deleted; file_closed
08/06/2019, 00:03:59.422, MVC‐355S.gif, file_deleted; file_closed
08/06/2019, 00:03:59.422, MVC‐355S.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.422, MVC‐357S.gif, file_deleted; file_closed
08/06/2019, 00:03:59.437, MVC‐357S.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.437, MVC‐363S.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.578, DSCN0095.JPG, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 131 of 220
                                                                                                   000131

08/06/2019, 00:03:59.578, DSCN0096.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.578, DSCN0097.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.578, DSCN0098.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.578, DSCN0099.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.578, DSCN0100.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.578, DSCN0101.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.578, DSCN0102.JPG, file_deleted; file_closed
08/06/2019, 00:03:59.578, ~WRL1307.tmp, file_deleted; file_closed
08/06/2019, 00:03:59.578, ~WRL2906.tmp, file_deleted; file_closed
08/06/2019, 00:03:59.578, Agenda Reapportionment Office 6 Dec 10.doc, file_deleted; file_closed
08/06/2019, 00:03:59.578, AGREE.DOC, file_deleted; file_closed
08/06/2019, 00:03:59.578, Amendment I Constitution BY‐LAWS.doc, file_deleted; file_closed
08/06/2019, 00:03:59.578, Backup of 2nd REPAIR REQUEST.wbk, file_deleted; file_closed
08/06/2019, 00:03:59.578, Backup of Agenda 17 Apr 00.wbk, file_deleted; file_closed
08/06/2019, 00:03:59.593, Backup of Agenda 17 Sep 01.wbk, file_deleted; file_closed
08/06/2019, 00:03:59.593, Backup of Agenda 23 Julyl 2001.wbk, file_deleted; file_closed
08/06/2019, 00:03:59.593, Backup of Agenda 30 April 2001.wbk, file_deleted; file_closed
08/06/2019, 00:03:59.593, Backup of Agenda 31 May 00.wbk, file_deleted; file_closed
08/06/2019, 00:03:59.593, Morgan Road Agenda Meeting 24 Sep 09.doc, file_deleted; file_closed
08/06/2019, 00:03:59.593, ~WRL0003.tmp, file_deleted; file_closed
08/06/2019, 00:03:59.593, ~WRL0005.tmp, file_deleted; file_closed
08/06/2019, 00:03:59.593, ~WRL1185.tmp, file_deleted; file_closed
08/06/2019, 00:03:59.593, ~WRL1931.tmp, file_deleted; file_closed
08/06/2019, 00:03:59.593, Agenda BOD 17 Nov 01.DOC, file_deleted; file_closed
08/06/2019, 00:03:59.593, Agenda ‐Minutes BOD 7 Mar 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.593, Agenda ‐Minutes BOD 1 Aug 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.593, Agenda ‐Minutes BOD 1 Nov 12.docx, file_deleted; file_closed
08/06/2019, 00:03:59.593, Agenda ‐Minutes BOD 11 Dec 14.docx, file_deleted; file_closed
08/06/2019, 00:03:59.593, Agenda ‐Minutes BOD 11 Sep 14.docx, file_deleted; file_closed
08/06/2019, 00:03:59.593, Agenda ‐Minutes BOD 2 Apr 15.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 2 May 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 23 Apr 15.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 3 Apr 14.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 3 Jan 13.docx, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 132 of 220
                                                                                                                           000132

08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 3 Oct 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 3 Sep 15.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 4 Apr 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 4 Oct 12.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 5 Feb 15.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 5 Nov 15.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 5 Sep 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 6 Dec 12.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 6 Feb 14.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 6 Mar 14.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 6 Sep 12.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 8 Jan 15.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes BOD 9 jan 14.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda ‐Minutes Special Housing and Community Dev BOD 4 Sep 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda 13 Sep 03.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda 22 Feb 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda 22 July 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda 22 May 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda 25 Sep 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda 26 Aug 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda 26 Aug 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda 30 Oct 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda 31 May 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda 4 Mar 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda BOD 1 April 10.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda BOD 15 July 10.docx, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda BOD 2 Dec 10.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda BOD 2 Sep 10.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda BOD 23 Aug 11.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda BOD 27 Apr 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda BOD 30 Aug 11.doc, file_deleted; file_closed
08/06/2019, 00:03:59.609, Agenda BOD 4 Feb 10.docx, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 5 Aug 10.docx, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 5 Nov 09.docx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 133 of 220
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08/06/2019, 00:03:59.625, Agenda BOD 7 Jan 10.docx, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 7 Oct 10.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD (Emergency) 29 Sep 11.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 1 Mar 12.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 11 Dec 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 13 Jan 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 13 Nov 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 15 Oct 09.docx, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 17 Aug 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 17 Jul 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 19 Feb 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 2 Apr 09.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 2 Aug 07.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 2 Aug 12.docx, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 2 Oct 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 24 May 07.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 25 Oct 03.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 27 Dec 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 27 Oct 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 3 Apr 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 3 Feb 05.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 3 Jan 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 3 May 07.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 3 Nov 11.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 3 Sep 09.docx, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 4 Oct 07.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 4 Sep 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 5 Apr 12.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 5 Jan 12.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 5 Jul 07.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 5 Mar 09.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 5 Mar 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.625, Agenda BOD 6 Aug 09.doc, file_deleted; file_closed
08/06/2019, 00:03:59.640, Agenda BOD 6 Dec 07.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 134 of 220
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08/06/2019, 00:03:59.640, Agenda BOD 7 Oct 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.640, Agenda BOD 8 Dec 11.doc, file_deleted; file_closed
08/06/2019, 00:03:59.640, Agenda BOD 8 Jan 09.doc, file_deleted; file_closed
08/06/2019, 00:03:59.640, Agenda BOD 8 Jan 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.640, Agenda BOD 9 Jul 09.doc, file_deleted; file_closed
08/06/2019, 00:03:59.640, Agenda BOD Work Shop 7 Nov 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.640, Agenda Emergency BOD 12 May 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.640, AGENDA.DOC, file_deleted; file_closed
08/06/2019, 00:03:59.640, Sign In Roster Board Meeting.xls, file_deleted; file_closed
08/06/2019, 00:03:59.640, Summary of BOD Meeting with the Housing and Community Dev. Dept. 4 Sep 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.797, ~WRL2142.tmp, file_deleted; file_closed
08/06/2019, 00:03:59.797, Board of Directors, file_deleted; file_closed
08/06/2019, 00:03:59.797, Agenda 12 Jan 02.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 12 Mar 01.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 13 Nov 03.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 15 Apr 02.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 17 Apr 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 17 Sep 01.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 19 Mar 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 20 Oct 01.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 20 Sep 03.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 22 Jan 01.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 23 Jul 01.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 25 Feb 02.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 26 Feb 01.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 28 Aug 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda 9 Dec 00.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda Community (Emergency Sewage Meeting) 5 Nov 09.doc, file_deleted; file_closed
08/06/2019, 00:03:59.812, Agenda Community (Special) Meeting 8 Sep 11.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 11 Aug 11.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 28 Oct 10.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 3 May 12.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 9 Feb 12.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 13 Aug 09.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 135 of 220
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08/06/2019, 00:03:59.828, Agenda Community Meeting 13 Aug 15.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 13 Jan 05.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 15 Feb 07.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 18 Oct 12.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 19 August 2013.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 19 Oct 06.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 2 Feb 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 21 Aug 07.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 21 Jun 12.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 23 Oct 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 24Jun 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 25 Feb 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 28 Feb 15.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 28 Oct 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 29 Jan 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 30 Mar 06.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 5 Apr 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 5 December 2013.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 5 Feb 09.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 5 Jun 2014.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 5 Jun 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 6 Nov 2014.docx, file_deleted; file_closed
08/06/2019, 00:03:59.828, Agenda Community Meeting 7 Feb 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.843, Agenda Community Meeting 7 May 09.doc, file_deleted; file_closed
08/06/2019, 00:03:59.843, Agenda Community Meeting 9 May 13.docx, file_deleted; file_closed
08/06/2019, 00:03:59.843, Agenda Community Meeting1 29 Jan 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.843, Agenda Community Special Meeting 11 Mar 10.doc, file_deleted; file_closed
08/06/2019, 00:03:59.843, Agenda Community Special Meeting 21 Dec 09.doc, file_deleted; file_closed
08/06/2019, 00:03:59.843, Agenda Emergency Community Meeting BOD 1 May 08.doc, file_deleted; file_closed
08/06/2019, 00:03:59.843, Agenda Redistricting Committee Meeting 17 Oct 11.docx, file_deleted; file_closed
08/06/2019, 00:03:59.843, Agenda Special Community Meeting 1 Apr 04.doc, file_deleted; file_closed
08/06/2019, 00:03:59.843, Andy Cheek.doc, file_deleted; file_closed
08/06/2019, 00:03:59.843, Attendance Roster.doc, file_deleted; file_closed
08/06/2019, 00:03:59.843, Community Presentation 6 Nov 14.pptx, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 136 of 220
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08/06/2019, 00:03:59.843, Community Presentation1 6 Nov 14.pptx, file_deleted; file_closed
08/06/2019, 00:03:59.843, Spanish Trace Community Meeting 18 May 15.docx, file_deleted; file_closed
08/06/2019, 00:03:59.843, ~$Community Presentation 6 Nov 14.pptx, file_deleted; file_closed
08/06/2019, 00:03:59.843, ~$Community Presentation1 6 Nov 14.pptx, file_deleted; file_closed
08/06/2019, 00:03:59.843, ~WRL0001.tmp, file_deleted; file_closed
08/06/2019, 00:03:59.859, Agenda Community Meeting 19 August 2013.docx, file_deleted; file_closed
08/06/2019, 00:03:59.937, Sias Copy, file_deleted; file_closed
08/06/2019, 00:03:59.937, Community Meetings, file_deleted; file_closed
08/06/2019, 00:03:59.937, Agendas and Minutes, file_deleted; file_closed
08/06/2019, 00:03:59.937, Letter Lables.doc, file_deleted; file_closed
08/06/2019, 00:03:59.937, Mailing Labels.doc, file_deleted; file_closed
08/06/2019, 00:03:59.937, Return Mailing Labels.doc, file_deleted; file_closed
08/06/2019, 00:03:59.937, Solicitation Petition.doc, file_deleted; file_closed
08/06/2019, 00:03:59.937, Stop Solicitation.doc, file_deleted; file_closed
08/06/2019, 00:03:59.937, Augusta Chronicle, file_deleted; file_closed
08/06/2019, 00:03:59.953, Board of Elections Agenda 6 Jan 05.doc, file_deleted; file_closed
08/06/2019, 00:03:59.953, Board of Elections II.doc, file_deleted; file_closed
08/06/2019, 00:03:59.953, Board of Elections.doc, file_deleted; file_closed
08/06/2019, 00:03:59.953, Code Requirements.doc, file_deleted; file_closed
08/06/2019, 00:03:59.953, E‐Mails.doc, file_deleted; file_closed
08/06/2019, 00:03:59.953, Index.doc, file_deleted; file_closed
08/06/2019, 00:03:59.953, Petition.doc, file_deleted; file_closed
08/06/2019, 00:03:59.953, Presentation 10 Jan 05.doc, file_deleted; file_closed
08/06/2019, 00:03:59.953, Board of Elections, file_deleted; file_closed
08/06/2019, 00:03:59.953, By Laws ‐ Jamestown Community Center Association 1.doc, file_deleted; file_closed
08/06/2019, 00:03:59.968, By Laws ‐ Jamestown Community Center Association 1.docm, file_deleted; file_closed
08/06/2019, 00:03:59.968, By Laws 1.doc, file_deleted; file_closed
08/06/2019, 00:03:59.968, By Laws.doc, file_deleted; file_closed
08/06/2019, 00:03:59.968, Jamestown Comm Center Assoc ByLaws.docm, file_deleted; file_closed
08/06/2019, 00:03:59.968, By Laws, file_deleted; file_closed
08/06/2019, 00:03:59.968, Items Needing Attention.docx, file_deleted; file_closed
08/06/2019, 00:03:59.968, Commissioner 4th District Info, file_deleted; file_closed
08/06/2019, 00:03:59.968, Finance Report Jul 09.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.968, Finance Report (alternate).doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 137 of 220
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08/06/2019, 00:03:59.984, Finance Report 2 May 13.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report 3 Jan 13.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report 3 Oct 13.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report 4 Apr 13.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report 5 Sep 13.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report April 09 thur 12 Aug 09.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report April 09.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report Dec 08.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report Dec 09.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report Dec 12.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report Jan 10.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Report Nov 09.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, ~$Finance Report Dec 09.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, ~$Finance Report Jan 10.xlsx, file_deleted; file_closed
08/06/2019, 00:03:59.984, Finance Reports, file_deleted; file_closed
08/06/2019, 00:04:00.000, Petitions.rtf, file_deleted; file_closed
08/06/2019, 00:04:00.000, Zone Povider.rtf, file_deleted; file_closed
08/06/2019, 00:04:00.000, Zoning Standards.rtf, file_deleted; file_closed
08/06/2019, 00:04:00.000, 001.tif, file_deleted; file_closed
08/06/2019, 00:04:00.000, 2014‐03‐19, file_deleted; file_closed
08/06/2019, 00:04:00.000, Gold Cross, file_deleted; file_closed
08/06/2019, 00:04:00.000, Action Plan (Negative)Inert Landfill.doc, file_deleted; file_closed
08/06/2019, 00:04:00.000, Action Plan (Positive)Inert Landfill.doc, file_deleted; file_closed
08/06/2019, 00:04:00.000, Inert Landfill.doc, file_deleted; file_closed
08/06/2019, 00:04:00.000, Meeting.doc, file_deleted; file_closed
08/06/2019, 00:04:00.000, Inert Landfill, file_deleted; file_closed
08/06/2019, 00:04:00.000, Legal Fund Support Letter.doc, file_deleted; file_closed
08/06/2019, 00:04:00.000, Michael Gilchrist Dues Thank You.doc, file_deleted; file_closed
08/06/2019, 00:04:00.000, Police Duty 13 Sep 09.doc, file_deleted; file_closed
08/06/2019, 00:04:00.000, Police Duty 18 Sep 09.doc, file_deleted; file_closed
08/06/2019, 00:04:00.000, Police Duty.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, Thank You.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, ~WRD0001.tmp, file_deleted; file_closed
08/06/2019, 00:04:00.015, ~WRD0003.tmp, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 138 of 220
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08/06/2019, 00:04:00.015, Legal Fund, file_deleted; file_closed
08/06/2019, 00:04:00.015, 2532 Sandridge Ct Felton Mitchell.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, 2829 Harwood.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, 2850 Pepperdine‐ Illega truck parking.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, 2891Pepperdine Dr.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, 2894Pepperdine Dr.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, 2905Pepperdine Dr.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, 2909 Pepperdine Dr.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, 3721‐ Truck Parking.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, 3836 Crest ‐ Illega truck parking.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, Court Briefing.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, Court Display.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, CROSS EXAMINATION OF PLAINIFF.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, EMS Council Region VI.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, Junk Cars.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, Junk Vehicles‐Illegal.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, MEMO‐3838 Crest.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, Trash Cans.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, Trucks at Family Dollar.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, Trucks at Video Warehouse Tobacco Rd.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, trucksfamily dollar.doc, file_deleted; file_closed
08/06/2019, 00:04:00.015, Yellow Curb Accident.docx, file_deleted; file_closed
08/06/2019, 00:04:00.015, Legal Notices, file_deleted; file_closed
08/06/2019, 00:04:00.031, 5 Feb 09.docx, file_deleted; file_closed
08/06/2019, 00:04:00.031, Meeting Invitations, file_deleted; file_closed
08/06/2019, 00:04:00.031, Mailing Labels Crest Drive Harper.doc, file_deleted; file_closed
08/06/2019, 00:04:00.031, Mailing Labels Crest Drive‐2.doc, file_deleted; file_closed
08/06/2019, 00:04:00.031, Mailing Labels Crest Drive.doc, file_deleted; file_closed
08/06/2019, 00:04:00.031, Mailing Labels.doc, file_deleted; file_closed
08/06/2019, 00:04:00.031, Membership Agreement 001.tif, file_deleted; file_closed
08/06/2019, 00:04:00.031, Membership Letter 2013‐2014.doc, file_deleted; file_closed
08/06/2019, 00:04:00.031, Return SCA address label.doc, file_deleted; file_closed
08/06/2019, 00:04:00.031, Sand Ridge All ‐ Copy.xls, file_deleted; file_closed
08/06/2019, 00:04:00.031, SCA Informational Letter.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 139 of 220
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08/06/2019, 00:04:00.031, SCA Mailing Labels 2.doc, file_deleted; file_closed
08/06/2019, 00:04:00.031, SCA Mailing Labels.doc, file_deleted; file_closed
08/06/2019, 00:04:00.031, SCA#2.XLS, file_deleted; file_closed
08/06/2019, 00:04:00.031, Special Police Duty.doc, file_deleted; file_closed
08/06/2019, 00:04:00.031, Membership Info, file_deleted; file_closed
08/06/2019, 00:04:00.031, Exec Committee Minutes Oct 4, 2007.doc, file_deleted; file_closed
08/06/2019, 00:04:00.031, Minutes, file_deleted; file_closed
08/06/2019, 00:04:00.047, 13DEC94.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.047, 1998.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.047, 26OCT97.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.047, 2ND MEMO‐3838 Crest.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, AGENDA.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, agenda1.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, AGREE.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.047, Amendment I Constitution BY‐LAWS.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, Appartment Flyer 2.docx, file_deleted; file_closed
08/06/2019, 00:04:00.047, Appartment Flyer.docx, file_deleted; file_closed
08/06/2019, 00:04:00.047, Award Marian Bryant.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, Backup of Police Duty.wbk, file_deleted; file_closed
08/06/2019, 00:04:00.047, Ballot‐Blank.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, BOD Election Ballot 7 February 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, BODLIST.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.047, Booths.xlsx, file_deleted; file_closed
08/06/2019, 00:04:00.047, Boxing Sch.ppt, file_deleted; file_closed
08/06/2019, 00:04:00.047, Boxing.xls, file_deleted; file_closed
08/06/2019, 00:04:00.047, Boys & Girls Club BOD.docx, file_deleted; file_closed
08/06/2019, 00:04:00.047, Boys and Girls Club.docx, file_deleted; file_closed
08/06/2019, 00:04:00.047, BROWN.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.047, Business Card.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, Business card2.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, By Laws 2.PDF, file_deleted; file_closed
08/06/2019, 00:04:00.047, By‐Laws Committee‐Dec99.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, CERT Application 2.docx, file_deleted; file_closed
08/06/2019, 00:04:00.047, Cigarette Butts ‐ Smoking.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 140 of 220
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08/06/2019, 00:04:00.047, Circle K.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, Cleaning.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, Committees.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, Contact Roster Park.xlsx, file_deleted; file_closed
08/06/2019, 00:04:00.047, Contact Roster small.xls, file_deleted; file_closed
08/06/2019, 00:04:00.047, desktop.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, duncan.doc, file_deleted; file_closed
08/06/2019, 00:04:00.047, Easter Egg Hunt 2006.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, ELECTCOM.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.062, electfly.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Election Certification Memo.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Emergency Phone Numbers.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Envelope Address.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Equipment Loan Receipt.docx, file_deleted; file_closed
08/06/2019, 00:04:00.062, Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Fax.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, FLYER.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.062, GOLDSTAR.PPT, file_deleted; file_closed
08/06/2019, 00:04:00.062, Head Start.rtf, file_deleted; file_closed
08/06/2019, 00:04:00.062, HUNT.rtf, file_deleted; file_closed
08/06/2019, 00:04:00.062, ICE Machine DO NOT.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Illegal Parking.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, INS‐Claim.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, INTERNET & PHONE USE 10 MIN PER PERSON.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Junk Cars 19 Aug 13.docx, file_deleted; file_closed
08/06/2019, 00:04:00.062, Keep Out.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, LENA LETTER OF RECOMMENDATION.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Liquior Store Opposition.docx, file_deleted; file_closed
08/06/2019, 00:04:00.062, MAP.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, MEETINGS FOR 2004.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Membership Letter 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, MEMO‐BOD.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.062, MEMO‐BOD1.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.062, MEMPACK.DOC, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 141 of 220
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08/06/2019, 00:04:00.062, Minutes BOD 8 Apr 04.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Miuntes for 25 Feb 02.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, MORNING THINGS TO DO.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Name Tags.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Name.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, new mem flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, newmem.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Newspaper Commission Fax.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Newspaper Fax.doc, file_deleted; file_closed
08/06/2019, 00:04:00.062, Newspaper.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, OATH.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.078, Payment Request.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Payroll.xls, file_deleted; file_closed
08/06/2019, 00:04:00.078, phb‐training request.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Postal Memo.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Recycle Bins.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Reply ‐1 Newspaper.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Return Lables.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Save Our Schools Rally Agenda.docx, file_deleted; file_closed
08/06/2019, 00:04:00.078, SCA Return Lables.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Sewage Update.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Sign In Roster Board Meeting.xls, file_deleted; file_closed
08/06/2019, 00:04:00.078, Sign In Roster 1.xls, file_deleted; file_closed
08/06/2019, 00:04:00.078, Sign Placement.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Spelling.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, SPLOST.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, SPLOSTI‐IVConciseReport.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.078, State Court Solicitor Questions.docx, file_deleted; file_closed
08/06/2019, 00:04:00.078, Stop All Solicitation.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Stop Solicitation.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, Street Lights Letter ‐Pepperdine.docx, file_deleted; file_closed
08/06/2019, 00:04:00.078, To Do.doc, file_deleted; file_closed
08/06/2019, 00:04:00.078, xmas framilies.docx, file_deleted; file_closed
08/06/2019, 00:04:00.203, Yellow Paper.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 142 of 220
                                                                                                           000142

08/06/2019, 00:04:00.203, MISCELLANEOUS, file_deleted; file_closed
08/06/2019, 00:04:00.203, Desktop.ini, file_deleted; file_closed
08/06/2019, 00:04:00.203, hp1.jpg, file_deleted; file_closed
08/06/2019, 00:04:00.203, hp2.jpg, file_deleted; file_closed
08/06/2019, 00:04:00.203, hp3.jpg, file_deleted; file_closed
08/06/2019, 00:04:00.203, hp4.jpg, file_deleted; file_closed
08/06/2019, 00:04:00.203, Sample Pictures.lnk, file_deleted; file_closed
08/06/2019, 00:04:00.218, Thumbs.db, file_deleted; file_closed
08/06/2019, 00:04:00.218, Picture 001.jpg, file_deleted; file_closed
08/06/2019, 00:04:00.218, Thumbs.db, file_deleted; file_closed
08/06/2019, 00:04:00.218, Picture, file_deleted; file_closed
08/06/2019, 00:04:00.218, My Pictures, file_deleted; file_closed
08/06/2019, 00:04:00.234, images, file_deleted; file_closed
08/06/2019, 00:04:00.234, _private, file_deleted; file_closed
08/06/2019, 00:04:00.250, _vti_cnf, file_deleted; file_closed
08/06/2019, 00:04:00.250, botinfs.cnf, file_deleted; file_closed
08/06/2019, 00:04:00.250, bots.cnf, file_deleted; file_closed
08/06/2019, 00:04:00.250, service.cnf, file_deleted; file_closed
08/06/2019, 00:04:00.250, service.lck, file_deleted; file_closed
08/06/2019, 00:04:00.250, services.cnf, file_deleted; file_closed
08/06/2019, 00:04:00.250, _vti_pvt, file_deleted; file_closed
08/06/2019, 00:04:00.250, My Webs, file_deleted; file_closed
08/06/2019, 00:04:00.250, Code Requirements.doc, file_deleted; file_closed
08/06/2019, 00:04:00.250, E‐Mails.doc, file_deleted; file_closed
08/06/2019, 00:04:00.250, Petition.doc, file_deleted; file_closed
08/06/2019, 00:04:00.250, Presentation.doc, file_deleted; file_closed
08/06/2019, 00:04:00.250, Polling Place, file_deleted; file_closed
08/06/2019, 00:04:00.250, Agenda Community (Special) Meeting 8 Sep 11.docx, file_deleted; file_closed
08/06/2019, 00:04:00.265, Agenda Reapportionment Office 6 Dec 10.doc, file_deleted; file_closed
08/06/2019, 00:04:00.265, Agenda Reapportionment Office 6 Dec 10.docx, file_deleted; file_closed
08/06/2019, 00:04:00.265, Duplicate.docx, file_deleted; file_closed
08/06/2019, 00:04:00.265, Presentation to Ad Hoc Redistricting Committee.docx, file_deleted; file_closed
08/06/2019, 00:04:00.265, Redistricting Flyer 17 Oct 11.docx, file_deleted; file_closed
08/06/2019, 00:04:00.265, Redistricting Flyer for 17 Oct 11.docx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 143 of 220
                                                                                                    000143

08/06/2019, 00:04:00.265, Redistricting, file_deleted; file_closed
08/06/2019, 00:04:00.265, Clean‐Up Requirements.doc, file_deleted; file_closed
08/06/2019, 00:04:00.265, Membership Agreement.doc, file_deleted; file_closed
08/06/2019, 00:04:00.265, ~$ean‐Up Requirements.doc, file_deleted; file_closed
08/06/2019, 00:04:00.265, ~WRL1392.tmp, file_deleted; file_closed
08/06/2019, 00:04:00.265, Rock of Ages, file_deleted; file_closed
08/06/2019, 00:04:00.265, Articles of Incorporation.doc, file_deleted; file_closed
08/06/2019, 00:04:00.265, Boilerplate Bylaws[1].doc, file_deleted; file_closed
08/06/2019, 00:04:00.265, By Laws Extra.doc, file_deleted; file_closed
08/06/2019, 00:04:00.265, By‐Laws Jamestown CC Ed & Rec Fund.doc, file_deleted; file_closed
08/06/2019, 00:04:00.265, Conflict of Interest.doc, file_deleted; file_closed
08/06/2019, 00:04:00.265, f1023.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.265, SCA Jamestown C.C. Fund, file_deleted; file_closed
08/06/2019, 00:04:00.281, Beer‐Wine License Super C Resturant.doc, file_deleted; file_closed
08/06/2019, 00:04:00.281, License Stipulations.doc, file_deleted; file_closed
08/06/2019, 00:04:00.281, Pettion.docx, file_deleted; file_closed
08/06/2019, 00:04:00.281, Super C Night Club.doc, file_deleted; file_closed
08/06/2019, 00:04:00.281, Super C info.docx, file_deleted; file_closed
08/06/2019, 00:04:00.281, Super C Resturant.doc.doc, file_deleted; file_closed
08/06/2019, 00:04:00.281, ~WRL0001.tmp, file_deleted; file_closed
08/06/2019, 00:04:00.281, Super C, file_deleted; file_closed
08/06/2019, 00:04:00.281, BROWN.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.281, SHEPHERD.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.281, THANK‐U.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.281, THANK‐U2.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.281, THANK‐U, file_deleted; file_closed
08/06/2019, 00:04:00.281, Grass.doc, file_deleted; file_closed
08/06/2019, 00:04:00.281, Ice Machine Work Order.doc, file_deleted; file_closed
08/06/2019, 00:04:00.281, Ice Machine.doc, file_deleted; file_closed
08/06/2019, 00:04:00.281, Work Order Completion.doc, file_deleted; file_closed
08/06/2019, 00:04:00.281, Work Orders, file_deleted; file_closed
08/06/2019, 00:04:00.297, Finance Report Yard Sale 12 Oct 2013.xlsx, file_deleted; file_closed
08/06/2019, 00:04:00.297, Yard Sale 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:00.297, Yard Sale Booths at Fred's.pptx, file_deleted; file_closed
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                                                                                                    000144

08/06/2019, 00:04:00.297, Yard Sales, file_deleted; file_closed
08/06/2019, 00:04:00.297, SCA, file_deleted; file_closed
08/06/2019, 00:04:00.297, 031.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1504.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1505.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1506.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1507.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1508.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1509.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1510.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1511.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1512.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1513.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1514.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1515.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1516.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1517.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1518.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1519.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1520.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1521.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1522.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1523.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1524.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1525.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1526.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1527.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1528.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1529.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1530.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1531.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1532.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1533.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.297, DSCN1534.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 145 of 220
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08/06/2019, 00:04:00.312, DSCN1535.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1536.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1537.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1541.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1542.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1543.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1544.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1545.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1546.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1547.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1548.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1549.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1550.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1551.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1552.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1553.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1554.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1555.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1556.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1557.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1558.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1559.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1560.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1561.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1562.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1563.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1564.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1565.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1566.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1567.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1568.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1569.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1570.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1571.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 146 of 220
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08/06/2019, 00:04:00.312, DSCN1572.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.312, DSCN1573.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1574.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1575.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1576.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1577.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1578.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1579.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1580.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1581.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1582.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1583.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1584.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1585.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1586.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1587.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1588.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1589.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1590.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1591.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1592.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1593.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1594.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1595.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1596.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1597.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1598.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1599.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1600.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1601.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1602.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1603.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1604.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1605.JPG, file_deleted; file_closed
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08/06/2019, 00:04:00.328, DSCN1606.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1607.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1608.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1609.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1610.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.328, DSCN1611.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1612.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1613.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1614.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1615.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1616.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1617.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1618.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1619.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1620.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1621.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1622.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1623.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1624.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1625.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1626.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1627.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1628.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1629.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1630.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1631.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1632.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1633.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1634.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1635.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1636.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1637.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1638.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1639.JPG, file_deleted; file_closed
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08/06/2019, 00:04:00.343, DSCN1640.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1641.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1642.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1643.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1644.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1645.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1646.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1647.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1648.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1649.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.343, DSCN1650.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1651.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1652.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1653.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1654.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1655.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1656.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1657.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1658.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1659.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1660.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1661.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1662.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1663.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1664.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1665.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1666.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1667.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1668.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1669.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1670.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1671.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1672.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1673.JPG, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 149 of 220
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08/06/2019, 00:04:00.359, DSCN1674.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1675.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1676.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1677.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1678.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1679.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1681.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1682.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1683.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1684.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1685.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1686.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1687.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1688.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.359, DSCN1689.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, DSCN1690.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, DSCN1691.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, DSCN1692.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, DSCN1693.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, DSCN1695.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, DSCN1696.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MAVICA.HTM, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐353S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐354S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐355S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐356S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐357S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐358S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐359S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐360S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐361S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐362S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.375, MVC‐363S.JPG, file_deleted; file_closed
08/06/2019, 00:04:00.578, MVC‐364S.JPG, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 150 of 220
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08/06/2019, 00:04:00.578, SCA Pictures, file_deleted; file_closed
08/06/2019, 00:04:00.578, 2015_APT Route Presentation (3).pptx, file_deleted; file_closed
08/06/2019, 00:04:00.593, Alternative School Transportation.docx, file_deleted; file_closed
08/06/2019, 00:04:00.593, Bus Transportation.pptx, file_deleted; file_closed
08/06/2019, 00:04:00.593, ~$Bus Transportation.pptx, file_deleted; file_closed
08/06/2019, 00:04:00.593, School Bus Transportation, file_deleted; file_closed
08/06/2019, 00:04:00.593, Agenda Town Hall Meeting 12 Nov 13.docx, file_deleted; file_closed
08/06/2019, 00:04:00.593, Town Hall Meeting.doc, file_deleted; file_closed
08/06/2019, 00:04:00.593, Sheriff's Advisory Board, file_deleted; file_closed
08/06/2019, 00:04:00.609, Business_Plan_Final_22May2015 Stormwater Fee Program.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.609, Min. Stormwater Fee 7.21.15.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.609, Minutes Stormwater Fee 7.28.15.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.609, Ordinance 7498 Stormwater Fee.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.609, Storm Water Concerns and Suggestions to Improve.docx, file_deleted; file_closed
08/06/2019, 00:04:00.609, Storm Water Fee Questions.docx, file_deleted; file_closed
08/06/2019, 00:04:00.609, Storm Water Fee Suggested Changes.docx, file_deleted; file_closed
08/06/2019, 00:04:00.609, Storm Water Fee Suggested Plans.docx, file_deleted; file_closed
08/06/2019, 00:04:00.609, Storm Water Ordinance Changes.docx, file_deleted; file_closed
08/06/2019, 00:04:00.609, Storm Water, file_deleted; file_closed
08/06/2019, 00:04:00.609, 2007 Sias S Tax Return.tax, file_deleted; file_closed
08/06/2019, 00:04:00.609, 2008 Sias S Form 1040 Individual Tax Return.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.609, 2011 Sias S Form 1040 Individual Tax Return.tax2011, file_deleted; file_closed
08/06/2019, 00:04:00.609, 2011 Sias S Form 1040 Individual Tax Return_Filing.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.609, 2012 Sias S Form 1040 Individual Tax Return_Records.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.609, 2013 Sias S Form 1040 Individual Tax Return_Filing.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.609, Income Invoices.XLS, file_deleted; file_closed
08/06/2019, 00:04:00.609, Supply Expense Log.XLS, file_deleted; file_closed
08/06/2019, 00:04:00.609, Tax Info 2012, file_deleted; file_closed
08/06/2019, 00:04:00.609, Tax, file_deleted; file_closed
08/06/2019, 00:04:00.625, Neighborhood Canvassing.doc.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, Tax Commissioner, file_deleted; file_closed
08/06/2019, 00:04:00.625, BROWN.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.625, Iglesia.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, iNVATION.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 151 of 220
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08/06/2019, 00:04:00.625, Invitation‐Administrator.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, Invitation‐Commissioners.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, Invitation‐Mayor.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, Invitation‐Sheriff.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, Invitation‐Tom Beck.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, Marshall.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, McDaniel.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, Millender.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, SHEPHERD.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.625, Strugis.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, THANK‐U.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.625, THANK‐U2.DOC, file_deleted; file_closed
08/06/2019, 00:04:00.625, Wellington.doc, file_deleted; file_closed
08/06/2019, 00:04:00.625, Thank‐You, file_deleted; file_closed
08/06/2019, 00:04:00.640, 2011 Lawrence K Form 1040 Individual Tax Return.tax2011, file_deleted; file_closed
08/06/2019, 00:04:00.640, 2011 Sias S Form 1040 Individual Tax Return.tax2011, file_deleted; file_closed
08/06/2019, 00:04:00.640, 2011 Swan Stacey Form 1040 Individual Tax Return.tax2011, file_deleted; file_closed
08/06/2019, 00:04:00.640, 2011 Swan Stacey Form 1040 Individual Tax Return_Records.pdf, file_deleted; file_closed
08/06/2019, 00:04:00.640, 2011 Tutt B Form 1040 Individual Tax Return.tax2011, file_deleted; file_closed
08/06/2019, 00:04:00.640, Jeff.tax2011, file_deleted; file_closed
8/06/2019, 00:04:01.734, TurboTax 2007, file_deleted; file_closed
08/06/2019, 00:04:01.734, photo 1.JPG, file_deleted; file_closed
08/06/2019, 00:04:01.750, photo 2.JPG, file_deleted; file_closed
08/06/2019, 00:04:01.750, photo 3.JPG, file_deleted; file_closed
08/06/2019, 00:04:01.750, photo 5.JPG, file_deleted; file_closed
08/06/2019, 00:04:01.750, Yellow Curb, file_deleted; file_closed
08/06/2019, 00:04:01.750, CRUZER, file_deleted; file_closed
08/06/2019, 00:04:01.750, 20 Sep Meeting.docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, 22 Jul 08 Funding Meet‐Ron Houlck.docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, 2m Plumbing.docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, 2m Ventilation Project.docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, B J Plumbing Trim‐Out.docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, B.J. Jamestown Expansion Project HVAC.doc, file_deleted; file_closed
08/06/2019, 00:04:01.750, B.J. Jamestown Expansion Ventation Project.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 152 of 220
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08/06/2019, 00:04:01.750, Backup of Construction Meeting 15 May 08.wbk, file_deleted; file_closed
08/06/2019, 00:04:01.750, Backup of Progress Report.wbk, file_deleted; file_closed
08/06/2019, 00:04:01.750, Bobby Woods.xls, file_deleted; file_closed
08/06/2019, 00:04:01.750, Construction Meeting 15 May 08.docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, Copy of Revised Expan. Project.ppt.ppt, file_deleted; file_closed
08/06/2019, 00:04:01.750, Cost Estimate (combined) 2009.xlsx, file_deleted; file_closed
08/06/2019, 00:04:01.750, Cost Estimate Funding (New Request 2009).docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, Cost Estimate Funding (New Request 2009)2.docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, Electrical Panel Info‐Mech Rm.doc, file_deleted; file_closed
08/06/2019, 00:04:01.750, Financial Report.xls, file_deleted; file_closed
08/06/2019, 00:04:01.750, Funding (New Request 2009).docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, Guard Rail Poles.docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, Jamestown Expansion Project HVAC.doc, file_deleted; file_closed
08/06/2019, 00:04:01.750, Jamestown Gas Furnace Invoice.doc, file_deleted; file_closed
08/06/2019, 00:04:01.750, Jamestown Project.docx, file_deleted; file_closed
08/06/2019, 00:04:01.750, Jamestown_Comm_Cen_1_22_08.docx, file_deleted; file_closed
08/06/2019, 00:04:01.765, Jan 08 Report.docx, file_deleted; file_closed
08/06/2019, 00:04:01.765, Liability Release.docx, file_deleted; file_closed
08/06/2019, 00:04:01.765, Meeting Roy Searles 14 Oct 09.docx, file_deleted; file_closed
08/06/2019, 00:04:01.765, PaymentRequest PO# P166152.docx, file_deleted; file_closed
08/06/2019, 00:04:01.765, Plumbing Trim‐Out.docx, file_deleted; file_closed
08/06/2019, 00:04:01.765, Progress Report.doc, file_deleted; file_closed
08/06/2019, 00:04:01.765, Ron houlck Meet.docx, file_deleted; file_closed
08/06/2019, 00:04:01.765, Slab.xls, file_deleted; file_closed
08/06/2019, 00:04:01.765, SPLOST VI.xls, file_deleted; file_closed
08/06/2019, 00:04:01.765, Waste.docx, file_deleted; file_closed
08/06/2019, 00:04:01.765, ~$ectrical Panel Info‐Mech Rm.doc, file_deleted; file_closed
08/06/2019, 00:04:01.765, ~$mestown SPLOT VI HVAC Project #1.doc, file_deleted; file_closed
08/06/2019, 00:04:01.765, ~$ogress Report.doc, file_deleted; file_closed
08/06/2019, 00:04:01.765, ~WRD0000.tmp, file_deleted; file_closed
08/06/2019, 00:04:01.765, ~WRL1206.tmp, file_deleted; file_closed
08/06/2019, 00:04:01.781, ~WRL1828.tmp, file_deleted; file_closed
08/06/2019, 00:04:01.781, ~WRL2923.tmp, file_deleted; file_closed
08/06/2019, 00:04:01.781, 101 Bank Fees.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 153 of 220
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08/06/2019, 00:04:01.781, 102 Code Manuals.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 103 Office Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 104 Game Time.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 105 Studio 3 Design Group.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 106 Permits.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 107 Carter Home Improvement.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 108 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 109 General Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 110 Shear‐Wood.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 111 Shear‐Wood.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 112 James Brown Timber.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 113 Honey Bee.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 114 James Brown Timber.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 115 General Expenses & Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 116 Williams Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 117 Electrical Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 118 Job Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 119 Electrical and Construction Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 120 Foundation Material.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 121 HVAC Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 122 Lowe‐ General Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 123 PODS Storage.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 124 Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 125 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:01.781, 126 Thomas Mills (Second).doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 127 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 128 Advance Auto Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 129 Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 130 Rental Services Corporation.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 131 Rental Services Corp‐ Back‐hoe.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 132 Foundation Labor Crew.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 133 Thomas Mills Foundation (Third Pay.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 134 Augusta Ready Mix Foundation Block Fill.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 135 Maner Builders ‐Slab Expansion Jointsl.doc, file_deleted; file_closed
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08/06/2019, 00:04:01.812, 136   Borden Pest Control.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 137   Lowes (Foundation Plastic).doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 138   Eric Melchior Gravel.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 139   Williams Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 140   Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 141   2M Mechanical & Maintenance Services.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 142    Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 143    Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:01.812, 144    Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 145    Bobby Woods Block Work ‐ 500.00.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 146    Sias (for cash payments).doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 147    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 148    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 149   Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 150   Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 151   Grand Rental Station.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 152   RSC.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 153   Augusta Concrete 900 ‐ 8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 154    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 155    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 156   Andrew Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 157   Augusta Concrete Block 1260‐‐8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 158   Gene Carter Home Improvement.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 159   Mulherin Lumber.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 160   Eric Melchier.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 161   Bobby Woods‐3,978.00.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 162    Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 163    Augusta Concrete Block 1200.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 164    Augusta Concrete Block 210.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 165   HVAC Permit‐Hunter.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 166   SCA Block Labor‐Bobby Woods 3,000.00.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 167   Augusta Concrete‐Sammie Sias.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 168   Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 169    Bobby Woods ‐ 2,000.00.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 155 of 220
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08/06/2019, 00:04:01.828, 170 Augusta Concrete Block 800‐‐8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 171 Mulherin Lumber‐Taxes.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 172 Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 173 Gene Carter‐Lumber.doc, file_deleted; file_closed
08/06/2019, 00:04:01.828, 174 General Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 175 Bobby Woods Block Work.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 176 Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 177 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 178 Sunbelt Rentals.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 179 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 180 William's Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 181 Hardy Plumbing.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 182 Bobby Woods.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 183 Bobby Woods.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 184 Triad Specialties.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 185 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 186 Lowes (roofing).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 187 Lowes (additional roofing).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 188 General Expenses and Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 189 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 190 Lowes (Lumber).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 191 Home Depot (Lumber).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 192 Lowes (OSB Sheathing).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 193 Gene Carter‐ Roof Work.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 194 Home Depot (Equipment Rental).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 195 Home Depot (Tarps).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 196 Lowes (Wood Primer‐chalk).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 197 Lowes (Lumber Material).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 198 General Expenses and Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 199 Home Depot (OSB).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 200 Lowes (OSB Lumber Material).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 201 Lowes (Shingles & Drip Edge).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 202 Lowes (Shingles & materials).doc, file_deleted; file_closed
08/06/2019, 00:04:01.844, 203 Sunbelt Rentals (boom lift).doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 156 of 220
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08/06/2019, 00:04:01.844, 204 Lowes (Shingles).doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 205 Roofing Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 206 Lowes (Kitchen cabinets & Materials).doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 207 Maner Builders Supply (metal studs).doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 208 Lowes (metal stud clips).doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 209 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 210 Sias.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 211 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 212 Modern Welding.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 213 William's Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 214 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 215 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 216 Ramp‐Poach.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 217 Modern Welding.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 218 Earl Turner.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 219 Triad Specialties.doc, file_deleted; file_closed
08/06/2019, 00:04:01.859, 220 Eric Melchier.docx, file_deleted; file_closed
08/06/2019, 00:04:01.859, 221 Earl Turner.docx, file_deleted; file_closed
08/06/2019, 00:04:01.859, 222 Triad Specialties.docx, file_deleted; file_closed
08/06/2019, 00:04:01.859, 223 Lowes.docx, file_deleted; file_closed
08/06/2019, 00:04:01.859, 224 Sias.docx, file_deleted; file_closed
08/06/2019, 00:04:01.859, 225 Sias.docx, file_deleted; file_closed
08/06/2019, 00:04:01.859, 226 SCA.docx, file_deleted; file_closed
08/06/2019, 00:04:01.859, 227 Augusta Blueprint.docx, file_deleted; file_closed
08/06/2019, 00:04:01.859, 228 Special Project Account Close Out.docx, file_deleted; file_closed
08/06/2019, 00:04:02.031, Financial Audit.xls, file_deleted; file_closed
08/06/2019, 00:04:02.031, Invoices for 130K, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0630.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0631.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0632.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0633.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0673.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0675.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0676.JPG, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 157 of 220
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08/06/2019, 00:04:02.031, DSCN0677.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0678.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0679.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0680.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0681.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0682.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0683.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0684.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0685.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0686.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0687.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0688.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0695.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0696.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0697.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0698.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0699.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0700.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0701.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0702.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0703.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0704.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0712.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.031, DSCN0713.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.047, DSCN0714.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.047, DSCN0715.JPG, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 008.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 009.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 010.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 018.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 019.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 020.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 021.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 022.jpg, file_deleted; file_closed
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08/06/2019, 00:04:02.047, PPictures 023.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 024.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 025.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 026.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 027.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 060.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 061.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 062.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 063.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 064.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 065.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 066.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 071.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 072.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 073.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 074.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 075.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 076.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 077.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 078.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 079.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 080.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 094.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.047, PPictures 095.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 096.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 097.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 098.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 099.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 100.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 101.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 102.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 103.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 104.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 105.jpg, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 159 of 220
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08/06/2019, 00:04:02.062, PPictures 106.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 107.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 108.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 109.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 110.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 111.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 112.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 113.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 114.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 115.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 116.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 117.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.062, PPictures 118.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 119.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 120.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 121.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 122.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 123.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 124.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 125.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 126.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 127.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 128.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 129.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 130.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 131.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 132.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 133.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 134.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 135.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 136.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 137.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 138.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 139.jpg, file_deleted; file_closed
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08/06/2019, 00:04:02.078, PPictures 140.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 141.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 142.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.078, PPictures 143.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.156, PPictures 144.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.156, PPictures 145.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.156, PPictures 146.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.156, PPictures 147.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.156, PPictures 148.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.156, PPictures 149.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.156, PPictures 150.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.156, PPictures 151.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.156, PPictures 152.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.156, PPictures 153.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.172, PPictures 158.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.172, PPictures 159.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.172, PPictures 160.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.172, PPictures 161.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.172, PPictures 162.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.172, PPictures 163.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.172, PPictures 164.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.172, PPictures 165.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.172, PPictures 166.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.187, PPictures 167.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.187, PPictures 168.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.187, PPictures 169.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.187, PPictures 170.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.187, PPictures 171.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.187, PPictures 172.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.187, PPictures 173.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.187, PPictures 174.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.187, PPictures 175.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.187, PPictures 176.jpg, file_deleted; file_closed
08/06/2019, 00:04:02.406, PPictures 177.jpg, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 161 of 220
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08/06/2019, 00:04:02.406, Pictures, file_deleted; file_closed
08/06/2019, 00:04:02.406, Daily Work Schedule 16 Sep 09.docx, file_deleted; file_closed
08/06/2019, 00:04:02.406, Daily Work Schedule 2 Nov 09.docx, file_deleted; file_closed
08/06/2019, 00:04:02.406, Daily Work Schedule 21 Apr 09.docx, file_deleted; file_closed
08/06/2019, 00:04:02.406, Daily Work Schedule 22 Apr 09.doc, file_deleted; file_closed
08/06/2019, 00:04:02.422, Daily Work Schedule 23 Apr 09.doc, file_deleted; file_closed
08/06/2019, 00:04:02.422, Daily Work Schedule 24 Apr 09.doc, file_deleted; file_closed
08/06/2019, 00:04:02.422, Daily Work Schedule 25 May 09.docx, file_deleted; file_closed
08/06/2019, 00:04:02.422, Daily Work Schedule 26 Oct 09.docx, file_deleted; file_closed
08/06/2019, 00:04:02.422, Daily Work Schedule 27 Apr 09.doc, file_deleted; file_closed
08/06/2019, 00:04:02.422, Daily Work Schedule 28 Sep 09.docx, file_deleted; file_closed
08/06/2019, 00:04:02.422, Daily Work Schedule 30 Jun 09.docx, file_deleted; file_closed
08/06/2019, 00:04:02.422, Daily Work Schedule 30 Sep 09.docx, file_deleted; file_closed
08/06/2019, 00:04:02.422, Daily Work Schedule 5 Jan 10.docx, file_deleted; file_closed
08/06/2019, 00:04:02.422, Daily Work Schedule 6 Oct 09.docx, file_deleted; file_closed
08/06/2019, 00:04:02.422, Doc1.docx, file_deleted; file_closed
08/06/2019, 00:04:02.422, Smith, Jimmy.docx, file_deleted; file_closed
08/06/2019, 00:04:02.422, ~WRL0004.tmp, file_deleted; file_closed
08/06/2019, 00:04:02.578, Prison Crew Daily Taskings, file_deleted; file_closed
08/06/2019, 00:04:02.578, Expansion Project, file_deleted; file_closed
08/06/2019, 00:04:02.594, 2017 Financal Comphensive Monthly Report.xlsx, file_deleted; file_closed
08/06/2019, 00:04:02.594, 2017 Finance Short Report ‐ Copy.xlsx, file_deleted; file_closed
08/06/2019, 00:04:04.922, 57C8EDB95DF3F0AD4EE2DC2B8CFD4157, data_overwritten; file_closed
08/06/2019, 00:04:05.203, S‐1‐5‐21‐712201621‐1561272147‐2069810383‐1001_StartupInfo1.xml, file_added; file_created; access_changed; file_closed
08/06/2019, 00:04:05.578, S‐1‐5‐21‐712201621‐1561272147‐2069810383‐1001_UserData.bin, file_added; file_truncated; file_closed
08/06/2019, 00:04:06.031, Bank Act Number.docx, file_deleted; file_closed
08/06/2019, 00:04:06.031, Finance Report Jul 09.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.031, Finance Report (alternate).doc, file_deleted; file_closed
08/06/2019, 00:04:06.031, Finance Report 2 May 13.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.031, Finance Report 3 Jan 13.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.031, Finance Report 3 Oct 13.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.031, Finance Report 4 Apr 13.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.047, Finance Report 5 Sep 13.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.047, Finance Report April 09 thur 12 Aug 09.xlsx, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 162 of 220
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08/06/2019, 00:04:06.047, Finance Report April 09.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.047, Finance Report Dec 08.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.047, Finance Report Dec 09.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.047, Finance Report Dec 12.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.047, Finance Report Jan 10.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.047, Finance Report Nov 09.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.047, Wells Fargo.html, file_deleted; file_closed
08/06/2019, 00:04:06.047, ~$Finance Report Dec 09.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.047, ~$Finance Report Jan 10.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.047, Finance Reports, file_deleted; file_closed
08/06/2019, 00:04:06.062, 101 Bank Account Start Up Ck#B‐Draft.doc, file_deleted; file_closed
08/06/2019, 00:04:06.062, 102 Return Filter System Ck#1001.doc, file_deleted; file_closed
08/06/2019, 00:04:06.062, 103 Facial Board and Rear Porch Ck#1002.doc, file_deleted; file_closed
08/06/2019, 00:04:06.062, 104 Walking Track and Inside Demolition Ck#1004.doc, file_deleted; file_closed
08/06/2019, 00:04:06.062, 105 Kitchen Tile and Renovation Ck#1010.doc, file_deleted; file_closed
08/06/2019, 00:04:06.062, 106 New Gas Stove Ck#1010.doc, file_deleted; file_closed
08/06/2019, 00:04:06.062, 107 Main Room Renovations Ck#1012.doc, file_deleted; file_closed
08/06/2019, 00:04:06.062, 108 Stove Hood‐Exhaust Fan‐Intake Hood Ck#1013.doc, file_deleted; file_closed
08/06/2019, 00:04:06.062, 109 Electrical Upgrade Ck#1014.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 110 Exhaust Chimney Ck#1016.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 111 Kitchen & Storage Room Improvements Ck#1017.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 112 Automatic Fire Systems of Augusta Ck#1018.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 113 Storage Pantry Improvements Ck#1020.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 114 Bank Service Fees (Close Out) ‐ Bank Draft.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, Combined Invoices for SPLOST VI 32K.docx, file_deleted; file_closed
08/06/2019, 00:04:06.078, 101 Bank Fees.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 102 Code Manuals.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 103 Office Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 104 Game Time.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 105 Studio 3 Design Group.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 106 Permits.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 107 Carter Home Improvement.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 108 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 109 General Labor.doc, file_deleted; file_closed
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08/06/2019, 00:04:06.078, 110 Shear‐Wood.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 111 Shear‐Wood.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 112 James Brown Timber.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 113 Honey Bee.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 114 James Brown Timber.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 115 General Expenses & Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 116 Williams Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 117 Electrical Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 118 Job Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 119 Electrical and Construction Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 120 Foundation Material.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 121 HVAC Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 122 Lowe‐ General Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 123 PODS Storage.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 124 Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:06.078, 125 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 126 Thomas Mills (Second).doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 127 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 128 Advance Auto Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 129 Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 130 Rental Services Corporation.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 131 Rental Services Corp‐ Back‐hoe.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 132 Foundation Labor Crew.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 133 Thomas Mills Foundation (Third Pay.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 134 Augusta Ready Mix Foundation Block Fill.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 135 Maner Builders ‐Slab Expansion Jointsl.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 136 Borden Pest Control.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 137 Lowes (Foundation Plastic).doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 138 Eric Melchior Gravel.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 139 Williams Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 140 Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 141 2M Mechanical & Maintenance Services.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 142 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 143 Augusta Ready Mix.doc, file_deleted; file_closed
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08/06/2019, 00:04:06.094, 144 Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 145 Bobby Woods Block Work ‐ 500.00.doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 146 Sias (for cash payments).doc, file_deleted; file_closed
08/06/2019, 00:04:06.094, 147 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 148 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 149 Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 150 Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 151 Grand Rental Station.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 152 RSC.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 153 Augusta Concrete 900 ‐ 8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 154 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 155 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 156 Andrew Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 157 Augusta Concrete Block 1260‐‐8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 158 Gene Carter Home Improvement.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 159 Mulherin Lumber.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 160 Eric Melchier.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 161 Bobby Woods‐3,978.00.doc, file_deleted; file_closed
08/06/2019, 00:04:06.125, 162 Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:06.141, 163 Augusta Concrete Block 1200.doc, file_deleted; file_closed
08/06/2019, 00:04:06.141, 164 Augusta Concrete Block 210.doc, file_deleted; file_closed
08/06/2019, 00:04:06.141, 165 HVAC Permit‐Hunter.doc, file_deleted; file_closed
08/06/2019, 00:04:06.141, 166 SCA Block Labor‐Bobby Woods 3,000.00.doc, file_deleted; file_closed
08/06/2019, 00:04:06.141, 167 Augusta Concrete‐Sammie Sias.doc, file_deleted; file_closed
08/06/2019, 00:04:06.141, 168 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.141, 169 Bobby Woods ‐ 2,000.00.doc, file_deleted; file_closed
08/06/2019, 00:04:06.141, 170 Augusta Concrete Block 800‐‐8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 171 Mulherin Lumber‐Taxes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 172 Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 173 Gene Carter‐Lumber.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 174 General Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 175 Bobby Woods Block Work.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 176 Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 177 PODS.doc, file_deleted; file_closed
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08/06/2019, 00:04:06.187, 178 Sunbelt Rentals.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 179 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 180 William's Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 181 Hardy Plumbing.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 182 Bobby Woods.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 183 Bobby Woods.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 184 Triad Specialties.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 185 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 186 Lowes (roofing).doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 187 Lowes (additional roofing).doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 188 General Expenses and Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 189 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 190 Lowes (Lumber).doc, file_deleted; file_closed
08/06/2019, 00:04:06.187, 191 Home Depot (Lumber).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 192 Lowes (OSB Sheathing).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 193 Gene Carter‐ Roof Work.doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 194 Home Depot (Equipment Rental).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 195 Home Depot (Tarps).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 196 Lowes (Wood Primer‐chalk).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 197 Lowes (Lumber Material).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 198 General Expenses and Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 199 Home Depot (OSB).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 200 Lowes (OSB Lumber Material).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 201 Lowes (Shingles & Drip Edge).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 202 Lowes (Shingles & materials).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 203 Sunbelt Rentals (boom lift).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 204 Lowes (Shingles).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 205 Roofing Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 206 Lowes (Kitchen cabinets & Materials).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 207 Maner Builders Supply (metal studs).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 208 Lowes (metal stud clips).doc, file_deleted; file_closed
08/06/2019, 00:04:06.203, 209 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.219, 210 Sias.doc, file_deleted; file_closed
08/06/2019, 00:04:06.219, 211 PODS.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 166 of 220
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08/06/2019, 00:04:06.219, 212 Modern Welding.doc, file_deleted; file_closed
08/06/2019, 00:04:06.219, 213 William's Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:06.219, 214 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.219, 215 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:06.219, 216 Ramp‐Poach.doc, file_deleted; file_closed
08/06/2019, 00:04:06.219, 217 Modern Welding.doc, file_deleted; file_closed
08/06/2019, 00:04:06.219, 218 Earl Turner.doc, file_deleted; file_closed
08/06/2019, 00:04:06.219, 219 Triad Specialties.doc, file_deleted; file_closed
08/06/2019, 00:04:06.219, 220 Eric Melchier.docx, file_deleted; file_closed
08/06/2019, 00:04:06.219, 221 Earl Turner.docx, file_deleted; file_closed
08/06/2019, 00:04:06.219, 222 Triad Specialties.docx, file_deleted; file_closed
08/06/2019, 00:04:06.219, 223 Lowes.docx, file_deleted; file_closed
08/06/2019, 00:04:06.219, 224 Sias.docx, file_deleted; file_closed
08/06/2019, 00:04:06.219, 225 Sias.docx, file_deleted; file_closed
08/06/2019, 00:04:06.219, 226 SCA.docx, file_deleted; file_closed
08/06/2019, 00:04:06.219, 227 Augusta Blueprint.docx, file_deleted; file_closed
08/06/2019, 00:04:06.219, 228 Special Project Account Close Out.docx, file_deleted; file_closed
08/06/2019, 00:04:06.266, Financial Audit.xls, file_deleted; file_closed
08/06/2019, 00:04:06.266, Invoices for 131,500K, file_deleted; file_closed
08/06/2019, 00:04:06.266, Invoices for 32,260K, file_deleted; file_closed
08/06/2019, 00:04:06.266, Invoices for SPLOST VI Part 1, file_deleted; file_closed
08/06/2019, 00:04:06.266, Award Info 2014.docx, file_deleted; file_closed
08/06/2019, 00:04:06.266, City Administrator Briefing.ppt, file_deleted; file_closed
08/06/2019, 00:04:06.266, Director Briefing.ppt, file_deleted; file_closed
08/06/2019, 00:04:06.266, EIN Number Form SS‐4 001.tif, file_deleted; file_closed
08/06/2019, 00:04:06.266, IT Support.docx, file_deleted; file_closed
08/06/2019, 00:04:06.266, SPLOST UPDATE Friday 3 Oct 14.ppt, file_deleted; file_closed
08/06/2019, 00:04:06.266, SPLOST VI Update Oct 3, 2014.pptx, file_deleted; file_closed
08/06/2019, 00:04:06.266, Spring Break Camp 2014.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.266, Street Renaming Proclamation.docx, file_deleted; file_closed
08/06/2019, 00:04:06.281, ~$SPLOST UPDATE Friday 3 Oct 14.ppt, file_deleted; file_closed
08/06/2019, 00:04:06.281, Annual Attendance Calculations 2011.doc, file_deleted; file_closed
08/06/2019, 00:04:06.281, Annual Attendance Calculations 2012.doc, file_deleted; file_closed
08/06/2019, 00:04:06.281, Annual Attendance Calculations 2013.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 167 of 220
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08/06/2019, 00:04:06.281, Jamestown Annual Report Jan‐Aug 2003.doc, file_deleted; file_closed
08/06/2019, 00:04:06.281, Jamestown Annual Report Jan‐Dec 2003(Corrected).doc, file_deleted; file_closed
08/06/2019, 00:04:06.281, Jamestown Annual Report Jan‐Dec 2003.doc, file_deleted; file_closed
08/06/2019, 00:04:06.281, Jamestown Annual Report Jan‐Dec 2006.doc, file_deleted; file_closed
08/06/2019, 00:04:06.281, Jamestown Annual Report Jan‐Dec 2007.doc, file_deleted; file_closed
08/06/2019, 00:04:06.281, Jamestown Annual Report Jan‐Dec 2008 (Corrected Copy).doc, file_deleted; file_closed
08/06/2019, 00:04:06.281, Jamestown Annual Report Jan‐Dec 2008.doc, file_deleted; file_closed
08/06/2019, 00:04:06.281, Jamestown Annual Report Jan‐Dec 2009.doc, file_deleted; file_closed
08/06/2019, 00:04:06.297, Jamestown Annual Report Jan‐Dec 2010.doc, file_deleted; file_closed
08/06/2019, 00:04:06.297, Jamestown Annual Report Jan‐Dec 2011.doc, file_deleted; file_closed
08/06/2019, 00:04:06.297, Jamestown Annual Report Jan‐Dec 2012.doc, file_deleted; file_closed
08/06/2019, 00:04:06.297, Jamestown Annual Report Jan‐Dec 2013 (Amended).doc, file_deleted; file_closed
08/06/2019, 00:04:06.297, Jamestown Annual Report Jan‐Dec 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:06.297, Jamestown Annual Report Jan‐Dec 2014.doc, file_deleted; file_closed
08/06/2019, 00:04:06.297, Annual Reports, file_deleted; file_closed
08/06/2019, 00:04:06.297, Activities.doc, file_deleted; file_closed
08/06/2019, 00:04:06.297, Community Day Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:06.297, Costs.xls, file_deleted; file_closed
08/06/2019, 00:04:06.297, Health Dept.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Invitation Letter‐Health Dept 2003.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Invitation Letter‐Health Dept 2004.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Menu & Items.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, New Microsoft Excel Worksheet.xls, file_deleted; file_closed
08/06/2019, 00:04:06.312, News Release.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Sheriff ‐Community Day 2004.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Support Our Troops bANNER.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Support Our Troops Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Community Day, file_deleted; file_closed
08/06/2019, 00:04:06.312, Comm. Day Support‐Rec Dept.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Community Day Flyer 2002.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Community Day Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Community Day Invitation.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Community Day Request.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Community Day Show 2002‐2.pptx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 168 of 220
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08/06/2019, 00:04:06.312, Community Day Show 2002.ppt, file_deleted; file_closed
08/06/2019, 00:04:06.312, Community Day.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Cost‐Community Day .xls, file_deleted; file_closed
08/06/2019, 00:04:06.312, Health Dept Community Day Invitation.doc, file_deleted; file_closed
08/06/2019, 00:04:06.312, Jamestown Center Strip Map.ppt, file_deleted; file_closed
08/06/2019, 00:04:06.312, Community Day 2002, file_deleted; file_closed
08/06/2019, 00:04:06.328, Activities.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, After Action Review Comm. Day 2005.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, COMM AGENDA 2005.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Community Day Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Costs.xls, file_deleted; file_closed
08/06/2019, 00:04:06.328, Health Dept.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Invitation Letter‐Health Dept 2003.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Invitation Letter‐Health Dept 2004.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Meeting Memo.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Menu & Items.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, New Microsoft Excel Worksheet.xls, file_deleted; file_closed
08/06/2019, 00:04:06.328, New Microsoft Word Document.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, News Release.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Sheriff ‐Community Day 2004.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Support Our Troops bANNER.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Support Our Troops Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, ~WRL2299.tmp, file_deleted; file_closed
08/06/2019, 00:04:06.328, Community Day 2005, file_deleted; file_closed
08/06/2019, 00:04:06.328, Activities.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, After Action Review Comm. Day 2005.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, COMM AGENDA 2005.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Community Day Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Costs.xls, file_deleted; file_closed
08/06/2019, 00:04:06.328, Health Dept 07.doc, file_deleted; file_closed
08/06/2019, 00:04:06.328, Health Dept.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Invitation Letter‐Health Dept 2004.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Meeting Memo.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Menu & Items.doc, file_deleted; file_closed
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08/06/2019, 00:04:06.344, New Microsoft Excel Worksheet.xls, file_deleted; file_closed
08/06/2019, 00:04:06.344, New Microsoft Word Document.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, News Release.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Sheriff ‐Community Day 2004.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Support Our Troops bANNER.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Support Our Troops Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, ~WRL2299.tmp, file_deleted; file_closed
08/06/2019, 00:04:06.344, Community Day 2006, file_deleted; file_closed
08/06/2019, 00:04:06.344, Activities.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, After Action Review Comm. Day 2005.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, COMM AGENDA 2005.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Community Day Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Costs.xls, file_deleted; file_closed
08/06/2019, 00:04:06.344, Financial Statement.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Financial Statement.xls, file_deleted; file_closed
08/06/2019, 00:04:06.344, Health Dept 07.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Health Dept Support 2008.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Health Dept.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Invitation Letter‐Health Dept 2004.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Marquee.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Meeting Memo.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, Menu & Items.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, New Microsoft Excel Worksheet.xls, file_deleted; file_closed
08/06/2019, 00:04:06.344, New Microsoft Word Document.doc, file_deleted; file_closed
08/06/2019, 00:04:06.344, News Release.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, Sheriff ‐Community Day 2004.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, Support Our Troops bANNER.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, Support Our Troops Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, ~$alth Dept 07.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, ~WRL2299.tmp, file_deleted; file_closed
08/06/2019, 00:04:06.359, Community Day 2007, file_deleted; file_closed
08/06/2019, 00:04:06.359, Comm. Day Support‐Rec Dept.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, Community Day Flyer 2002.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, Community Day Flyer.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 170 of 220
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08/06/2019, 00:04:06.359, Community Day Invitation.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, Community Day Request.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, Community Day Show 2002.ppt, file_deleted; file_closed
08/06/2019, 00:04:06.359, Community Day Support.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, Community Day.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, Cost‐Community Day .xls, file_deleted; file_closed
08/06/2019, 00:04:06.359, Health Dept Community Day Invitation.doc, file_deleted; file_closed
08/06/2019, 00:04:06.359, Jamestown Center Strip Map.ppt, file_deleted; file_closed
08/06/2019, 00:04:06.359, Community Day 2008, file_deleted; file_closed
08/06/2019, 00:04:06.375, After Action Review Comm. Day 2005.doc, file_deleted; file_closed
08/06/2019, 00:04:06.375, Menu & Items.doc, file_deleted; file_closed
08/06/2019, 00:04:06.375, Community Day 2009, file_deleted; file_closed
08/06/2019, 00:04:06.375, Community Day Flyer 2.doc, file_deleted; file_closed
08/06/2019, 00:04:06.375, Community Day Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:06.375, Community Day 2011, file_deleted; file_closed
08/06/2019, 00:04:06.375, Community Day Flyer 2012.doc, file_deleted; file_closed
08/06/2019, 00:04:06.375, Community Day 2012, file_deleted; file_closed
08/06/2019, 00:04:06.375, Community Day Expenses 2013.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.391, Community Day Flyer 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:06.391, Community Day 2013, file_deleted; file_closed
08/06/2019, 00:04:06.391, Community Day Expenses 2013.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.391, Community Day Flyer 2014.doc, file_deleted; file_closed
08/06/2019, 00:04:06.391, Community Day 2014, file_deleted; file_closed
08/06/2019, 00:04:06.391, Community Day Flyer 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:06.391, Community Day 2015, file_deleted; file_closed
08/06/2019, 00:04:06.406, Commuinty Service Handout.docx, file_deleted; file_closed
08/06/2019, 00:04:06.406, Commuinty Service Report (Jan 10 ‐ Oct 11).docx, file_deleted; file_closed
08/06/2019, 00:04:06.406, Commuinty Service.docx, file_deleted; file_closed
08/06/2019, 00:04:06.406, Community Service Hours Sheet.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.406, Sandra Bussey.rtf, file_deleted; file_closed
08/06/2019, 00:04:06.406, Community Service, file_deleted; file_closed
08/06/2019, 00:04:06.406, Ms Willa.wbk, file_deleted; file_closed
08/06/2019, 00:04:06.406, Employment References, file_deleted; file_closed
08/06/2019, 00:04:06.406, 20 Sep Meeting.docx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 171 of 220
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08/06/2019, 00:04:06.406, 22 Jul 08 Funding Meet‐Ron Houlck.docx, file_deleted; file_closed
08/06/2019, 00:04:06.406, 2m Plumbing.docx, file_deleted; file_closed
08/06/2019, 00:04:06.406, 2m Ventilation Project.docx, file_deleted; file_closed
08/06/2019, 00:04:06.406, B J Plumbing Trim‐Out.docx, file_deleted; file_closed
08/06/2019, 00:04:06.406, B.J. Jamestown Expansion Project HVAC.doc, file_deleted; file_closed
08/06/2019, 00:04:06.406, B.J. Jamestown Expansion Ventation Project.doc, file_deleted; file_closed
08/06/2019, 00:04:06.406, Backup of Construction Meeting 15 May 08.wbk, file_deleted; file_closed
08/06/2019, 00:04:06.422, Backup of Progress Report.wbk, file_deleted; file_closed
08/06/2019, 00:04:06.422, Bobby Woods.xls, file_deleted; file_closed
08/06/2019, 00:04:06.422, Construction Meeting 15 May 08.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Copy of Revised Expan. Project.ppt.ppt, file_deleted; file_closed
08/06/2019, 00:04:06.422, Cost Estimate (combined) 2009.xlsx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Cost Estimate Funding (New Request 2009).docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Cost Estimate Funding (New Request 2009)2.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Electrical Panel Info‐Mech Rm.doc, file_deleted; file_closed
08/06/2019, 00:04:06.422, Financial Report.xls, file_deleted; file_closed
08/06/2019, 00:04:06.422, Funding (New Request 2009).docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Guard Rail Poles.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Jamestown Expansion Project HVAC.doc, file_deleted; file_closed
08/06/2019, 00:04:06.422, Jamestown Gas Furnace Invoice.doc, file_deleted; file_closed
08/06/2019, 00:04:06.422, Jamestown Project.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Jamestown_Comm_Cen_1_22_08.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Jan 08 Report.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Liability Release.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Meeting Roy Searles 14 Oct 09.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, PaymentRequest PO# P166152.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Plumbing Trim‐Out.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Progress Report.doc, file_deleted; file_closed
08/06/2019, 00:04:06.422, Ron houlck Meet.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, Slab.xls, file_deleted; file_closed
08/06/2019, 00:04:06.422, SPLOST VI.xls, file_deleted; file_closed
08/06/2019, 00:04:06.422, Waste.docx, file_deleted; file_closed
08/06/2019, 00:04:06.422, ~$ectrical Panel Info‐Mech Rm.doc, file_deleted; file_closed
08/06/2019, 00:04:06.422, ~$mestown SPLOT VI HVAC Project #1.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 172 of 220
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08/06/2019, 00:04:06.437, ~$ogress Report.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, ~WRD0000.tmp, file_deleted; file_closed
08/06/2019, 00:04:06.437, ~WRL1206.tmp, file_deleted; file_closed
08/06/2019, 00:04:06.437, ~WRL1828.tmp, file_deleted; file_closed
08/06/2019, 00:04:06.437, ~WRL2923.tmp, file_deleted; file_closed
08/06/2019, 00:04:06.437, 101 Bank Fees.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 102 Code Manuals.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 103 Office Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 104 Game Time.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 105 Studio 3 Design Group.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 106 Permits.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 107 Carter Home Improvement.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 108 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 109 General Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 110 Shear‐Wood.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 111 Shear‐Wood.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 112 James Brown Timber.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 113 Honey Bee.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 114 James Brown Timber.doc, file_deleted; file_closed
08/06/2019, 00:04:06.437, 115 General Expenses & Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 116 Williams Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 117 Electrical Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 118 Job Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 119 Electrical and Construction Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 120 Foundation Material.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 121 HVAC Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 122 Lowe‐ General Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 123 PODS Storage.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 124 Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 125 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 126 Thomas Mills (Second).doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 127 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 128 Advance Auto Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 129 Augusta Concrete Block.doc, file_deleted; file_closed
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08/06/2019, 00:04:06.453, 130   Rental Services Corporation.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 131   Rental Services Corp‐ Back‐hoe.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 132   Foundation Labor Crew.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 133   Thomas Mills Foundation (Third Pay.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 134   Augusta Ready Mix Foundation Block Fill.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 135   Maner Builders ‐Slab Expansion Jointsl.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 136   Borden Pest Control.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 137   Lowes (Foundation Plastic).doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 138   Eric Melchior Gravel.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 139   Williams Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 140   Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 141   2M Mechanical & Maintenance Services.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 142    Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 143    Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 144    Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 145    Bobby Woods Block Work ‐ 500.00.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 146    Sias (for cash payments).doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 147    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 148    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.453, 149   Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 150   Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 151   Grand Rental Station.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 152   RSC.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 153   Augusta Concrete 900 ‐ 8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 154    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 155    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 156   Andrew Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 157   Augusta Concrete Block 1260‐‐8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 158   Gene Carter Home Improvement.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 159   Mulherin Lumber.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 160   Eric Melchier.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 161   Bobby Woods‐3,978.00.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 162    Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 163    Augusta Concrete Block 1200.doc, file_deleted; file_closed
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08/06/2019, 00:04:06.469, 164 Augusta Concrete Block 210.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 165 HVAC Permit‐Hunter.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 166 SCA Block Labor‐Bobby Woods 3,000.00.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 167 Augusta Concrete‐Sammie Sias.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 168 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 169 Bobby Woods ‐ 2,000.00.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 170 Augusta Concrete Block 800‐‐8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 171 Mulherin Lumber‐Taxes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 172 Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 173 Gene Carter‐Lumber.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 174 General Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 175 Bobby Woods Block Work.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 176 Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 177 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 178 Sunbelt Rentals.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 179 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 180 William's Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 181 Hardy Plumbing.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 182 Bobby Woods.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 183 Bobby Woods.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 184 Triad Specialties.doc, file_deleted; file_closed
08/06/2019, 00:04:06.469, 185 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 186 Lowes (roofing).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 187 Lowes (additional roofing).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 188 General Expenses and Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 189 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 190 Lowes (Lumber).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 191 Home Depot (Lumber).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 192 Lowes (OSB Sheathing).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 193 Gene Carter‐ Roof Work.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 194 Home Depot (Equipment Rental).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 195 Home Depot (Tarps).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 196 Lowes (Wood Primer‐chalk).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 197 Lowes (Lumber Material).doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 175 of 220
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08/06/2019, 00:04:06.484, 198 General Expenses and Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 199 Home Depot (OSB).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 200 Lowes (OSB Lumber Material).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 201 Lowes (Shingles & Drip Edge).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 202 Lowes (Shingles & materials).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 203 Sunbelt Rentals (boom lift).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 204 Lowes (Shingles).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 205 Roofing Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 206 Lowes (Kitchen cabinets & Materials).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 207 Maner Builders Supply (metal studs).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 208 Lowes (metal stud clips).doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 209 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 210 Sias.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 211 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 212 Modern Welding.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 213 William's Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 214 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 215 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 216 Ramp‐Poach.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 217 Modern Welding.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 218 Earl Turner.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 219 Triad Specialties.doc, file_deleted; file_closed
08/06/2019, 00:04:06.484, 220 Eric Melchier.docx, file_deleted; file_closed
08/06/2019, 00:04:06.484, 221 Earl Turner.docx, file_deleted; file_closed
08/06/2019, 00:04:06.500, 222 Triad Specialties.docx, file_deleted; file_closed
08/06/2019, 00:04:06.500, 223 Lowes.docx, file_deleted; file_closed
08/06/2019, 00:04:06.500, 224 Sias.docx, file_deleted; file_closed
08/06/2019, 00:04:06.500, 225 Sias.docx, file_deleted; file_closed
08/06/2019, 00:04:06.500, 226 SCA.docx, file_deleted; file_closed
08/06/2019, 00:04:06.500, 227 Augusta Blueprint.docx, file_deleted; file_closed
08/06/2019, 00:04:06.500, 228 Special Project Account Close Out.docx, file_deleted; file_closed
08/06/2019, 00:04:06.688, Financial Audit.xls, file_deleted; file_closed
08/06/2019, 00:04:06.688, Invoices for 130K, file_deleted; file_closed
08/06/2019, 00:04:06.703, DSCN0630.JPG, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 176 of 220
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08/06/2019, 00:04:06.703, DSCN0631.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.703, DSCN0632.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.703, DSCN0633.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.703, DSCN0673.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.703, DSCN0675.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.703, DSCN0676.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.703, DSCN0677.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.703, DSCN0678.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.703, DSCN0679.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0680.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0681.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0682.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0683.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0684.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0685.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0686.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0687.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0688.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0695.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0696.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0697.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0698.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0699.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0700.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0701.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0702.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0703.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.719, DSCN0704.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.734, DSCN0712.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.734, DSCN0713.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.734, DSCN0714.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.734, DSCN0715.JPG, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 008.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 009.jpg, file_deleted; file_closed
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08/06/2019, 00:04:06.734, PPictures 010.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 018.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 019.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 020.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 021.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 022.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 023.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 024.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 025.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 026.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 027.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 060.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 061.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 062.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 063.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 064.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 065.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 066.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 071.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 072.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 073.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 074.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 075.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 076.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 077.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 078.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 079.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 080.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 093.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 094.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.734, PPictures 095.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 096.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 097.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 098.jpg, file_deleted; file_closed
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08/06/2019, 00:04:06.750, PPictures 099.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 100.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 101.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 102.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 103.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 104.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 105.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 106.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 107.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 108.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 109.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 110.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 111.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 112.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 113.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 114.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 115.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 116.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 117.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 118.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 119.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 120.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 121.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 122.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 123.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 124.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 125.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 126.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 127.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 128.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 129.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.750, PPictures 130.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 131.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 132.jpg, file_deleted; file_closed
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08/06/2019, 00:04:06.766, PPictures 133.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 134.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 135.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 136.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 137.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 138.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 139.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 140.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 141.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 142.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 143.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 144.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 145.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 146.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 147.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 148.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 149.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 150.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 151.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 152.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 153.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 158.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 159.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 160.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 161.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 162.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 163.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 164.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 165.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 166.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 167.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 168.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.766, PPictures 169.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.781, PPictures 170.jpg, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 180 of 220
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08/06/2019, 00:04:06.781, PPictures 171.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.781, PPictures 172.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.781, PPictures 173.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.781, PPictures 174.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.781, PPictures 175.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.781, PPictures 176.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.969, PPictures 177.jpg, file_deleted; file_closed
08/06/2019, 00:04:06.969, Pictures, file_deleted; file_closed
08/06/2019, 00:04:06.984, Daily Work Schedule 16 Sep 09.docx, file_deleted; file_closed
08/06/2019, 00:04:06.984, Daily Work Schedule 2 Nov 09.docx, file_deleted; file_closed
08/06/2019, 00:04:06.984, Daily Work Schedule 21 Apr 09.docx, file_deleted; file_closed
08/06/2019, 00:04:06.984, Daily Work Schedule 22 Apr 09.doc, file_deleted; file_closed
08/06/2019, 00:04:06.984, Daily Work Schedule 23 Apr 09.doc, file_deleted; file_closed
08/06/2019, 00:04:06.984, Daily Work Schedule 24 Apr 09.doc, file_deleted; file_closed
08/06/2019, 00:04:07.000, Daily Work Schedule 25 May 09.docx, file_deleted; file_closed
08/06/2019, 00:04:07.000, Daily Work Schedule 26 Oct 09.docx, file_deleted; file_closed
08/06/2019, 00:04:07.000, Daily Work Schedule 27 Apr 09.doc, file_deleted; file_closed
08/06/2019, 00:04:07.000, Daily Work Schedule 28 Sep 09.docx, file_deleted; file_closed
08/06/2019, 00:04:07.000, Daily Work Schedule 30 Jun 09.docx, file_deleted; file_closed
08/06/2019, 00:04:07.000, Daily Work Schedule 30 Sep 09.docx, file_deleted; file_closed
08/06/2019, 00:04:07.000, Daily Work Schedule 5 Jan 10.docx, file_deleted; file_closed
08/06/2019, 00:04:07.000, Daily Work Schedule 6 Oct 09.docx, file_deleted; file_closed
08/06/2019, 00:04:07.000, ~WRL0004.tmp, file_deleted; file_closed
08/06/2019, 00:04:07.078, Prison Crew Daily Taskings, file_deleted; file_closed
08/06/2019, 00:04:07.078, Expansion Project, file_deleted; file_closed
08/06/2019, 00:04:07.078, Clean Up Requirements.docx, file_deleted; file_closed
08/06/2019, 00:04:07.078, Faith Tutoring Schedule & Room.docx, file_deleted; file_closed
08/06/2019, 00:04:07.078, Floor Plan.pptx, file_deleted; file_closed
08/06/2019, 00:04:07.078, Floor Plan.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.078, Learning Center App Memo.docx, file_deleted; file_closed
08/06/2019, 00:04:07.094, Rental Contract (Faith Tutoring).docx, file_deleted; file_closed
08/06/2019, 00:04:07.094, Site Plan.pptx, file_deleted; file_closed
08/06/2019, 00:04:07.094, Faith Tutoring, file_deleted; file_closed
08/06/2019, 00:04:07.094, Basic Guidelines.docx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 181 of 220
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08/06/2019, 00:04:07.094, Fun Fridays, file_deleted; file_closed
08/06/2019, 00:04:07.094, 2013 Rules of Usage.docx, file_deleted; file_closed
08/06/2019, 00:04:07.094, Background Checks.docx, file_deleted; file_closed
08/06/2019, 00:04:07.094, Girl Scouts, file_deleted; file_closed
08/06/2019, 00:04:07.109, Annual Report 05.doc, file_deleted; file_closed
08/06/2019, 00:04:07.109, Ball Field.xls, file_deleted; file_closed
08/06/2019, 00:04:07.109, Bright, keira.docx, file_deleted; file_closed
08/06/2019, 00:04:07.109, Carter Suspension.docx, file_deleted; file_closed
08/06/2019, 00:04:07.109, Center Activites 2012.docx, file_deleted; file_closed
08/06/2019, 00:04:07.109, Center Activites 2013.docx, file_deleted; file_closed
08/06/2019, 00:04:07.109, Clean‐Up Requirements.doc, file_deleted; file_closed
08/06/2019, 00:04:07.109, Community Center Security.doc, file_deleted; file_closed
08/06/2019, 00:04:07.109, Community Day 2005 Thank U Letter.doc, file_deleted; file_closed
08/06/2019, 00:04:07.109, Community Day Agenda.doc, file_deleted; file_closed
08/06/2019, 00:04:07.109, Curry, Gabriel.doc, file_deleted; file_closed
08/06/2019, 00:04:07.109, Dress & Conduct Code For Events.docx, file_deleted; file_closed
08/06/2019, 00:04:07.109, Dress Code and Conduct.docx, file_deleted; file_closed
08/06/2019, 00:04:07.109, Dress Code.docx, file_deleted; file_closed
08/06/2019, 00:04:07.109, Eban Hours.doc, file_deleted; file_closed
08/06/2019, 00:04:07.109, Electrical Panel Info.docx, file_deleted; file_closed
08/06/2019, 00:04:07.109, Female Bathroom.docx, file_deleted; file_closed
08/06/2019, 00:04:07.109, Fire Escape Plan Main Room.pptx, file_deleted; file_closed
08/06/2019, 00:04:07.109, Gate Security.doc, file_deleted; file_closed
08/06/2019, 00:04:07.125, Jamestown Community Center.ics, file_deleted; file_closed
08/06/2019, 00:04:07.125, Jamestown Project (Notes).doc, file_deleted; file_closed
08/06/2019, 00:04:07.125, Jamestown Project.ppt, file_deleted; file_closed
08/06/2019, 00:04:07.125, Jamestown Project2.ppt, file_deleted; file_closed
08/06/2019, 00:04:07.125, Jamestown Project3.ppt, file_deleted; file_closed
08/06/2019, 00:04:07.125, Jamestown Strip Map.doc, file_deleted; file_closed
08/06/2019, 00:04:07.125, Janitorial Supply Fax.doc, file_deleted; file_closed
08/06/2019, 00:04:07.125, Key Control Statement.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Key Roster.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Locklear Suspension.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Locklear2 Suspension.docx, file_deleted; file_closed
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08/06/2019, 00:04:07.125, Maintenance Summary Jul 2011.doc, file_deleted; file_closed
08/06/2019, 00:04:07.125, Marion Williams document.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Michael Scott.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Password List.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Planning ‐ 5 Year Plan.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Planning 5 Year Layout‐2.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Planning 5 Year Layout.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Plumbing Work.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Rock of Ages Info.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Rock of Ages Key Turn In.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Sign In Roster 1.xls, file_deleted; file_closed
08/06/2019, 00:04:07.125, Signs.doc, file_deleted; file_closed
08/06/2019, 00:04:07.125, SOP.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, Street Ceremony.doc, file_deleted; file_closed
08/06/2019, 00:04:07.125, Street Ceremony2.doc, file_deleted; file_closed
08/06/2019, 00:04:07.125, Summer Hire Request.wbk, file_deleted; file_closed
08/06/2019, 00:04:07.125, Thomas Bad Check.doc, file_deleted; file_closed
08/06/2019, 00:04:07.125, Usage Report.doc, file_deleted; file_closed
08/06/2019, 00:04:07.125, Vehicles‐Unattended.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, What is a sediment forebay.docx, file_deleted; file_closed
08/06/2019, 00:04:07.125, ~$rter Suspension.docx, file_deleted; file_closed
08/06/2019, 00:04:07.141, ~WRL0001.tmp, file_deleted; file_closed
08/06/2019, 00:04:07.234, Hand Receipts, file_deleted; file_closed
08/06/2019, 00:04:07.234, Memorandums, file_deleted; file_closed
08/06/2019, 00:04:07.250, Center Clean‐Up Check List.doc, file_deleted; file_closed
08/06/2019, 00:04:07.250, Clean‐Up Requirements.doc, file_deleted; file_closed
08/06/2019, 00:04:07.250, Cook Wedding Reception.doc, file_deleted; file_closed
08/06/2019, 00:04:07.250, Rental Contract (Center).doc, file_deleted; file_closed
08/06/2019, 00:04:07.250, Rental Contract2.doc, file_deleted; file_closed
08/06/2019, 00:04:07.250, Rental Price‐Conference Room.doc, file_deleted; file_closed
08/06/2019, 00:04:07.250, Rental Price‐Main Room.doc, file_deleted; file_closed
08/06/2019, 00:04:07.250, Rock of Ages Clean‐Up Check List.doc, file_deleted; file_closed
08/06/2019, 00:04:07.250, Thank You Letter.docx, file_deleted; file_closed
08/06/2019, 00:04:07.250, Rental Procedures, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 183 of 220
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08/06/2019, 00:04:07.266, 15 Jan 2013 Update Meeting.docx, file_deleted; file_closed
08/06/2019, 00:04:07.266, 2012 Rules of Usage.docx, file_deleted; file_closed
08/06/2019, 00:04:07.266, 2013 Rules of Usage.docx, file_deleted; file_closed
08/06/2019, 00:04:07.266, Agenda Exec Meeting 9 Nov 09.docx, file_deleted; file_closed
08/06/2019, 00:04:07.266, SCA (2).pptx, file_deleted; file_closed
08/06/2019, 00:04:07.266, SCA‐JT.ppt, file_deleted; file_closed
08/06/2019, 00:04:07.266, SCA‐JT.pptx, file_deleted; file_closed
08/06/2019, 00:04:07.266, SCA2.pptx, file_deleted; file_closed
08/06/2019, 00:04:07.266, SCA21.pptx, file_deleted; file_closed
08/06/2019, 00:04:07.266, Rock of Ages, file_deleted; file_closed
08/06/2019, 00:04:07.266, Articles of Incorporation.doc, file_deleted; file_closed
08/06/2019, 00:04:07.266, Boilerplate Bylaws[1].doc, file_deleted; file_closed
08/06/2019, 00:04:07.281, By Laws Extra.doc, file_deleted; file_closed
08/06/2019, 00:04:07.281, By‐Laws Jamestown CC Ed & Rec Fund.doc, file_deleted; file_closed
08/06/2019, 00:04:07.281, Conflict of Interest.doc, file_deleted; file_closed
08/06/2019, 00:04:07.281, f1023.pdf, file_deleted; file_closed
08/06/2019, 00:04:07.281, SCA Jamestown C.C. Fund, file_deleted; file_closed
08/06/2019, 00:04:07.281, Computer Lab.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.281, Conference Room.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.281, Game Room.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.281, Main Room.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.281, Schedule, file_deleted; file_closed
08/06/2019, 00:04:07.281, Presentation1.pptx, file_deleted; file_closed
08/06/2019, 00:04:07.281, Project Listing By Invoice Num..xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.281, SPLOST VI Special Project Update February 2015.docx, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐001 Computer Lab Air Conditioning.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐002 Electrical Upgrades.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐003 General Facility Upgrades.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐004 Computer Lab.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐005 Stainless Steel Refrigerator.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐006 Stainless Steel Sinks and Shelves.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐007 Lectern.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐008 Washer and Dryer Set.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐009 Video Projector and Screen.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 184 of 220
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08/06/2019, 00:04:07.297, 2014‐010 Tile in Main Room.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐011 Phase 1 of 2 Roof ‐ Slanted Metal.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐012 SCA Center Renovations 2012.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐013 Floor Tile and Painting in Main Room.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐014 Fence Relocation and Field Preparation.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐015 Ceiling Tiles and Insulation in Main Room.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐016 Stainless Steel Griddle, Tables, Vent Fans.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐017 Phase 2 of 2 Roof ‐ Slanted Metal.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐018 Electrical Upgrades.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐019 Video Enhancement ‐ Mobile Flat Screen ‐ TV, Internet, Computer Monitor.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐020 HVAC work.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐021 Painting.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐022 Playground Fence Repair.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐023 Electronic and Computer Enhancements.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐024 Roof Repair.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐025 Microwave.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐026 Front Windows Repair.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, 2014‐027 Exhaust Fans.doc, file_deleted; file_closed
08/06/2019, 00:04:07.297, Invoices SPLOST VI 150K, file_deleted; file_closed
08/06/2019, 00:04:07.297, AC Diagram‐Main Room.xls, file_deleted; file_closed
08/06/2019, 00:04:07.313, AC Exchange Specs.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, AC Punch List.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Agenda_Meeting SPLOST VI 18 Feb 14.pdf, file_deleted; file_closed
08/06/2019, 00:04:07.313, Breakdown of Individual SPLOST VI ProjectsApril 2014.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Field Layout.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Final Draw for SPLOST.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Jamestown SPLOT VI HVAC Project #1 Back‐Up.doc, file_deleted; file_closed
08/06/2019, 00:04:07.313, Jamestown SPLOT VI HVAC Project #1.doc, file_deleted; file_closed
08/06/2019, 00:04:07.313, Jamestown Kitchen Expansion.pptx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Kitchen Expansion.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Liability Release.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Master Plan SPLOST VI Projects 2014 ‐150K.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Maurice McDowell SPLOST VI Meeting 28 Nov 11.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Meeting notes for Aug 8, 2014.docx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 185 of 220
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08/06/2019, 00:04:07.313, Planning ‐ 5 Year Plan.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Planning 5 Year Layout‐2.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Planning 5 Year Layout.xls, file_deleted; file_closed
08/06/2019, 00:04:07.313, Planning 5 Year Layout.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.313, Project Discription 2012.xls, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST Capital Improvement Pre‐Construction Meeting 27 March 2014.rtf, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST Reimburement Request.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST VI 150K Projects Aug 2013.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST VI Contract Projects 150K March 2014.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST VI June 14 UPDATED Contract Projects 150K March 2014.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST VI Projects 13 Sept 2013.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST VI Projects 26 Dec 13‐150K.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST VI Projects 3rd Revision 13 Sept 2013.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST VI Projects 75K Feb 24, 2014.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST VI Projects with 150 to ADMIN Sept 13.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST VI Projects with 32K.docx, file_deleted; file_closed
08/06/2019, 00:04:07.313, SPLOST VII ‐ 5 Year Plan.docx, file_deleted; file_closed
08/06/2019, 00:04:07.328, 20 Sep Meeting.docx, file_deleted; file_closed
08/06/2019, 00:04:07.328, Guard Rail Poles.docx, file_deleted; file_closed
08/06/2019, 00:04:07.328, Jamestown Gas Furnace Invoice.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, Jamestown_Comm_Cen_1_22_08.docx, file_deleted; file_closed
08/06/2019, 00:04:07.328, Jan 08 Report.docx, file_deleted; file_closed
08/06/2019, 00:04:07.328, PaymentRequest PO# P166152.docx, file_deleted; file_closed
08/06/2019, 00:04:07.328, Progress Report SPLOST VI Part 1.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, SPLOST VI Request To Admin (Orginal for review).docx, file_deleted; file_closed
08/06/2019, 00:04:07.328, History, file_deleted; file_closed
08/06/2019, 00:04:07.328, 101 Bank Account Start Up Ck#B‐Draft.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, 102 Return Filter System Ck#1001.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, 103 Facial Board and Rear Porch Ck#1002.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, 104 Walking Track and Inside Demolition Ck#1004.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, 105 Kitchen Tile and Renovation Ck#1010.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, 106 New Gas Stove Ck#1010.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, 107 Main Room Renovations Ck#1012.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, 108 Stove Hood‐Exhaust Fan‐Intake Hood Ck#1013.doc, file_deleted; file_closed
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08/06/2019, 00:04:07.328, 109 Electrical Upgrade Ck#1014.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, 110 Exhaust Chimney Ck#1016.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, 111 Kitchen & Storage Room Improvements Ck#1017.doc, file_deleted; file_closed
08/06/2019, 00:04:07.328, 112 Automatic Fire Systems of Augusta Ck#1018.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 113 Storage Pantry Improvements Ck#1020.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 114 Bank Service Fees (Close Out) ‐ Bank Draft.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, Combined Invoices for SPLOST VI 32K.docx, file_deleted; file_closed
08/06/2019, 00:04:07.344, 101 Bank Fees.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 102 Code Manuals.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 103 Office Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 104 Game Time.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 105 Studio 3 Design Group.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 106 Permits.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 107 Carter Home Improvement.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 108 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 109 General Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 110 Shear‐Wood.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 111 Shear‐Wood.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 112 James Brown Timber.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 113 Honey Bee.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 114 James Brown Timber.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 115 General Expenses & Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 116 Williams Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 117 Electrical Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 118 Job Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 119 Electrical and Construction Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 120 Foundation Material.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 121 HVAC Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 122 Lowe‐ General Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 123 PODS Storage.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 124 Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 125 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 126 Thomas Mills (Second).doc, file_deleted; file_closed
08/06/2019, 00:04:07.344, 127 Legacy Containers.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 187 of 220
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08/06/2019, 00:04:07.359, 128   Advance Auto Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 129   Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 130   Rental Services Corporation.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 131   Rental Services Corp‐ Back‐hoe.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 132   Foundation Labor Crew.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 133   Thomas Mills Foundation (Third Pay.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 134   Augusta Ready Mix Foundation Block Fill.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 135   Maner Builders ‐Slab Expansion Jointsl.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 136   Borden Pest Control.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 137   Lowes (Foundation Plastic).doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 138   Eric Melchior Gravel.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 139   Williams Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 140   Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 141   2M Mechanical & Maintenance Services.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 142    Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 143    Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 144    Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 145    Bobby Woods Block Work ‐ 500.00.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 146    Sias (for cash payments).doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 147    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 148    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 149   Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 150   Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 151   Grand Rental Station.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 152   RSC.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 153   Augusta Concrete 900 ‐ 8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 154    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 155    Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 156   Andrew Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 157   Augusta Concrete Block 1260‐‐8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 158   Gene Carter Home Improvement.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 159   Mulherin Lumber.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 160   Eric Melchier.doc, file_deleted; file_closed
08/06/2019, 00:04:07.359, 161   Bobby Woods‐3,978.00.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 188 of 220
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08/06/2019, 00:04:07.375, 162 Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 163 Augusta Concrete Block 1200.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 164 Augusta Concrete Block 210.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 165 HVAC Permit‐Hunter.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 166 SCA Block Labor‐Bobby Woods 3,000.00.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 167 Augusta Concrete‐Sammie Sias.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 168 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 169 Bobby Woods ‐ 2,000.00.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 170 Augusta Concrete Block 800‐‐8 inch.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 171 Mulherin Lumber‐Taxes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 172 Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 173 Gene Carter‐Lumber.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 174 General Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 175 Bobby Woods Block Work.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 176 Augusta Concrete Block.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 177 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 178 Sunbelt Rentals.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 179 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 180 William's Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 181 Hardy Plumbing.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 182 Bobby Woods.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 183 Bobby Woods.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 184 Triad Specialties.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 185 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 186 Lowes (roofing).doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 187 Lowes (additional roofing).doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 188 General Expenses and Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 189 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 190 Lowes (Lumber).doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 191 Home Depot (Lumber).doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 192 Lowes (OSB Sheathing).doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 193 Gene Carter‐ Roof Work.doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 194 Home Depot (Equipment Rental).doc, file_deleted; file_closed
08/06/2019, 00:04:07.375, 195 Home Depot (Tarps).doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 189 of 220
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08/06/2019, 00:04:07.375, 196 Lowes (Wood Primer‐chalk).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 197 Lowes (Lumber Material).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 198 General Expenses and Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 199 Home Depot (OSB).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 200 Lowes (OSB Lumber Material).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 201 Lowes (Shingles & Drip Edge).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 202 Lowes (Shingles & materials).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 203 Sunbelt Rentals (boom lift).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 204 Lowes (Shingles).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 205 Roofing Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 206 Lowes (Kitchen cabinets & Materials).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 207 Maner Builders Supply (metal studs).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 208 Lowes (metal stud clips).doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 209 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 210 Sias.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 211 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 212 Modern Welding.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 213 William's Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 214 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 215 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 216 Ramp‐Poach.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 217 Modern Welding.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 218 Earl Turner.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 219 Triad Specialties.doc, file_deleted; file_closed
08/06/2019, 00:04:07.391, 220 Eric Melchier.docx, file_deleted; file_closed
08/06/2019, 00:04:07.391, 221 Earl Turner.docx, file_deleted; file_closed
08/06/2019, 00:04:07.391, 222 Triad Specialties.docx, file_deleted; file_closed
08/06/2019, 00:04:07.391, 223 Lowes.docx, file_deleted; file_closed
08/06/2019, 00:04:07.391, 224 Sias.docx, file_deleted; file_closed
08/06/2019, 00:04:07.391, 225 Sias.docx, file_deleted; file_closed
08/06/2019, 00:04:07.391, 226 SCA.docx, file_deleted; file_closed
08/06/2019, 00:04:07.391, 227 Augusta Blueprint.docx, file_deleted; file_closed
08/06/2019, 00:04:07.391, 228 Special Project Account Close Out.docx, file_deleted; file_closed
08/06/2019, 00:04:07.563, Financial Audit.xls, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 190 of 220
                                                                                                                             000190

08/06/2019, 00:04:07.563, Invoices for 131,500K, file_deleted; file_closed
08/06/2019, 00:04:07.563, Invoices for 32,260K, file_deleted; file_closed
08/06/2019, 00:04:07.578, Invoices for SPLOST VI Part 1, file_deleted; file_closed
08/06/2019, 00:04:07.578, New folder, file_deleted; file_closed
08/06/2019, 00:04:07.578, AC Diagram‐Main Room.xls, file_deleted; file_closed
08/06/2019, 00:04:07.578, AC Exchange Specs.docx, file_deleted; file_closed
08/06/2019, 00:04:07.578, AC Punch List.docx, file_deleted; file_closed
08/06/2019, 00:04:07.578, Field Layout.docx, file_deleted; file_closed
08/06/2019, 00:04:07.594, Jamestown SPLOT VI HVAC Project #1 Back‐Up.doc, file_deleted; file_closed
08/06/2019, 00:04:07.594, Jamestown SPLOT VI HVAC Project #1.doc, file_deleted; file_closed
08/06/2019, 00:04:07.594, Planning ‐ 5 Year Plan.docx, file_deleted; file_closed
08/06/2019, 00:04:07.594, Planning 5 Year Layout‐2.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.594, Planning 5 Year Layout.xls, file_deleted; file_closed
08/06/2019, 00:04:07.594, Planning 5 Year Layout.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.594, Project Discription 2012.xls, file_deleted; file_closed
08/06/2019, 00:04:07.594, SPLOST Capital Improvement Pre‐Construction Meeting 27 March 2014.rtf, file_deleted; file_closed
08/06/2019, 00:04:07.594, SPLOST Reimburement Request.docx, file_deleted; file_closed
08/06/2019, 00:04:07.594, AC Diagram‐Main Room.xls, file_deleted; file_closed
08/06/2019, 00:04:07.594, AC Exchange Specs.docx, file_deleted; file_closed
08/06/2019, 00:04:07.594, AC Punch List.docx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Agenda_Meeting SPLOST VI 18 Feb 14.pdf, file_deleted; file_closed
08/06/2019, 00:04:07.609, Breakdown of Individual SPLOST VI ProjectsApril 2014.docx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Field Layout.docx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Final Draw SPLOST VI 2 May 2014.rtf, file_deleted; file_closed
08/06/2019, 00:04:07.609, Jamestown SPLOT VI HVAC Project #1 Back‐Up.doc, file_deleted; file_closed
08/06/2019, 00:04:07.609, Jamestown SPLOT VI HVAC Project #1.doc, file_deleted; file_closed
08/06/2019, 00:04:07.609, Jamestown Kitchen Expansion.pptx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Kitchen Expansion.docx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Liability Release.docx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Master Plan SPLOST VI Projects 2014 ‐150K.docx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Maurice McDowell SPLOST VI Meeting 28 Nov 11 (2).docx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Maurice McDowell SPLOST VI Meeting 28 Nov 11.docx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Planning ‐ 5 Year Plan.docx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Planning 5 Year Layout‐2.xlsx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 191 of 220
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08/06/2019, 00:04:07.609, Planning 5 Year Layout.xls, file_deleted; file_closed
08/06/2019, 00:04:07.609, Planning 5 Year Layout.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.609, Project Discription 2012.xls, file_deleted; file_closed
08/06/2019, 00:04:07.609, SPLOST Capital Improvement Pre‐Construction Meeting 27 March 2014.rtf, file_deleted; file_closed
08/06/2019, 00:04:07.609, SPLOST Reimburement Request.docx, file_deleted; file_closed
08/06/2019, 00:04:07.609, SPLOST VI 150K Projects Aug 2013 (2).xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.609, SPLOST VI 150K Projects Aug 2013.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.609, SPLOST VI Contract Projects 150K March 2014.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.609, SPLOST VI Projects 150K May 2 Update.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.609, SPLOST VI Projects 150K May 22 Update for Finance.xlsx, file_deleted; file_closed
08/06/2019, 00:04:07.609, SPLOST VI Financal Update 22 May 2014.rtf, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Projects 13 Sept 2013 (2).docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Projects 13 Sept 2013.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Projects 26 Dec 13‐150K.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Projects 3rd Revision 13 Sept 2013.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Projects 75K Feb 24, 2014.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Projects with 150 to ADMIN Sept 13 (2).docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Projects with 150 to ADMIN Sept 13.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Projects with 32K (2).docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Projects with 32K.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Updated Meeting 2 May 2014.rtf, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VII ‐ 5 Year Plan.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, 20 Sep Meeting.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, Guard Rail Poles.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, Jamestown Gas Furnace Invoice.doc, file_deleted; file_closed
08/06/2019, 00:04:07.625, Jamestown_Comm_Cen_1_22_08.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, Jan 08 Report.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, PaymentRequest PO# P166152.docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, Progress Report SPLOST VI Part 1.doc, file_deleted; file_closed
08/06/2019, 00:04:07.625, SPLOST VI Request To Admin (Orginal for review).docx, file_deleted; file_closed
08/06/2019, 00:04:07.625, History, file_deleted; file_closed
08/06/2019, 00:04:07.641, 101 Bank Account Start Up Ck#B‐Draft.doc, file_deleted; file_closed
08/06/2019, 00:04:07.641, 102 Return Filter System Ck#1001.doc, file_deleted; file_closed
08/06/2019, 00:04:07.641, 103 Facial Board and Rear Porch Ck#1002.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 192 of 220
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08/06/2019, 00:04:07.641, 105 Kitchen Tile and Renovation Ck#1010.doc, file_deleted; file_closed
08/06/2019, 00:04:07.641, 106 New Gas Stove Ck#1010.doc, file_deleted; file_closed
08/06/2019, 00:04:07.641, 107 Main Room Renovations Ck#1012.doc, file_deleted; file_closed
08/06/2019, 00:04:07.672, 108 Stove Hood‐Exhaust Fan‐Intake Hood Ck#1013.doc, file_deleted; file_closed
08/06/2019, 00:04:07.672, 109 Electrical Upgrade Ck#1014.doc, file_deleted; file_closed
08/06/2019, 00:04:07.672, 110 Exhaust Chimney Ck#1016.doc, file_deleted; file_closed
08/06/2019, 00:04:07.672, 111 Kitchen & Storage Room Improvements Ck#1017.doc, file_deleted; file_closed
08/06/2019, 00:04:07.688, 112 Automatic Fire Systems of Augusta Ck#1018.doc, file_deleted; file_closed
08/06/2019, 00:04:07.688, 113 Storage Pantry Improvements Ck#1020.doc, file_deleted; file_closed
08/06/2019, 00:04:07.703, 114 Bank Service Fees (Close Out) ‐ Bank Draft.doc, file_deleted; file_closed
08/06/2019, 00:04:07.703, Combined Invoices for SPLOST VI 32K.docx, file_deleted; file_closed
08/06/2019, 00:04:07.703, 101 Bank Fees.doc, file_deleted; file_closed
08/06/2019, 00:04:07.734, 102 Code Manuals.doc, file_deleted; file_closed
08/06/2019, 00:04:07.734, 103 Office Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:07.734, 104 Game Time.doc, file_deleted; file_closed
08/06/2019, 00:04:07.734, 106 Permits.doc, file_deleted; file_closed
08/06/2019, 00:04:07.734, 108 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:07.734, 109 General Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:07.734, 110 Shear‐Wood.doc, file_deleted; file_closed
08/06/2019, 00:04:07.750, 111 Shear‐Wood.doc, file_deleted; file_closed
08/06/2019, 00:04:07.750, 112 James Brown Timber.doc, file_deleted; file_closed
08/06/2019, 00:04:07.750, 113 Honey Bee.doc, file_deleted; file_closed
08/06/2019, 00:04:07.750, 114 James Brown Timber.doc, file_deleted; file_closed
08/06/2019, 00:04:07.766, 116 Williams Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:07.766, 117 Electrical Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:07.766, 118 Job Supplies.doc, file_deleted; file_closed
08/06/2019, 00:04:07.766, 120 Foundation Material.doc, file_deleted; file_closed
08/06/2019, 00:04:07.766, 121 HVAC Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:07.766, 123 PODS Storage.doc, file_deleted; file_closed
08/06/2019, 00:04:07.781, 124 Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:07.781, 125 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:07.797, 127 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:07.797, 128 Advance Auto Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:07.797, 136 Borden Pest Control.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 193 of 220
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08/06/2019, 00:04:07.797, 139 Williams Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:07.797, 140 Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:07.797, 142 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:07.797, 143 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:07.797, 144 Thomas Mills.doc, file_deleted; file_closed
08/06/2019, 00:04:07.797, 147 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.828, 148 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.859, 151 Grand Rental Station.doc, file_deleted; file_closed
08/06/2019, 00:04:07.859, 152 RSC.doc, file_deleted; file_closed
08/06/2019, 00:04:07.859, 154 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.859, 155 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:07.859, 156 Andrew Jefferson.doc, file_deleted; file_closed
08/06/2019, 00:04:07.859, 159 Mulherin Lumber.doc, file_deleted; file_closed
08/06/2019, 00:04:07.859, 160 Eric Melchier.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 161 Bobby Woods‐3,978.00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 165 HVAC Permit‐Hunter.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 168 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 172 Maner Builders Supply.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 173 Gene Carter‐Lumber.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 174 General Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 177 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 178 Sunbelt Rentals.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 179 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 180 William's Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 181 Hardy Plumbing.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 182 Bobby Woods.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 183 Bobby Woods.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 184 Triad Specialties.doc, file_deleted; file_closed
08/06/2019, 00:04:08.000, 185 Legacy Containers.doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 186 Lowes (roofing).doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 189 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 190 Lowes (Lumber).doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 191 Home Depot (Lumber).doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 192 Lowes (OSB Sheathing).doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 194 of 220
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08/06/2019, 00:04:08.016, 195 Home Depot (Tarps).doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 199 Home Depot (OSB).doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 204 Lowes (Shingles).doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 205 Roofing Labor.doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 209 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 210 Sias.doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 211 PODS.doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 212 Modern Welding.doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 213 William's Hauling.doc, file_deleted; file_closed
08/06/2019, 00:04:08.016, 214 Lowes.doc, file_deleted; file_closed
08/06/2019, 00:04:08.031, 215 Augusta Ready Mix.doc, file_deleted; file_closed
08/06/2019, 00:04:08.031, 216 Ramp‐Poach.doc, file_deleted; file_closed
08/06/2019, 00:04:08.031, 217 Modern Welding.doc, file_deleted; file_closed
08/06/2019, 00:04:08.031, 218 Earl Turner.doc, file_deleted; file_closed
08/06/2019, 00:04:08.031, 219 Triad Specialties.doc, file_deleted; file_closed
08/06/2019, 00:04:08.031, 220 Eric Melchier.docx, file_deleted; file_closed
08/06/2019, 00:04:08.031, 221 Earl Turner.docx, file_deleted; file_closed
08/06/2019, 00:04:08.031, 222 Triad Specialties.docx, file_deleted; file_closed
08/06/2019, 00:04:08.031, 223 Lowes.docx, file_deleted; file_closed
08/06/2019, 00:04:08.031, 224 Sias.docx, file_deleted; file_closed
08/06/2019, 00:04:08.031, 225 Sias.docx, file_deleted; file_closed
08/06/2019, 00:04:08.031, 226 SCA.docx, file_deleted; file_closed
08/06/2019, 00:04:08.031, 227 Augusta Blueprint.docx, file_deleted; file_closed
08/06/2019, 00:04:08.063, Financial Audit.xls, file_deleted; file_closed
08/06/2019, 00:04:08.063, Invoices for 131,500K, file_deleted; file_closed
08/06/2019, 00:04:08.063, Invoices for 32,260K, file_deleted; file_closed
08/06/2019, 00:04:08.141, Invoices for SPLOST VI Part 1, file_deleted; file_closed
08/06/2019, 00:04:08.141, SPLOST VI, file_deleted; file_closed
08/06/2019, 00:04:08.156, Jamestown Kitchen Expansion.pptx, file_deleted; file_closed
08/06/2019, 00:04:08.156, Kitchen Expansion.docx, file_deleted; file_closed
08/06/2019, 00:04:08.156, Liability Release.docx, file_deleted; file_closed
08/06/2019, 00:04:08.156, ~$ectrical Panel Info‐Mech Rm.doc, file_deleted; file_closed
08/06/2019, 00:04:08.172, ~$mestown SPLOT VI HVAC Project #1.doc, file_deleted; file_closed
08/06/2019, 00:04:08.172, ~$ogress Report.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 195 of 220
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08/06/2019, 00:04:08.172, ~WRL1206.tmp, file_deleted; file_closed
08/06/2019, 00:04:08.172, ~WRL1828.tmp, file_deleted; file_closed
08/06/2019, 00:04:08.172, ~WRL2923.tmp, file_deleted; file_closed
08/06/2019, 00:04:08.172, 20 Sep Meeting.docx, file_deleted; file_closed
08/06/2019, 00:04:08.172, Guard Rail Poles.docx, file_deleted; file_closed
08/06/2019, 00:04:08.188, Jamestown Gas Furnace Invoice.doc, file_deleted; file_closed
08/06/2019, 00:04:08.188, Jamestown_Comm_Cen_1_22_08.docx, file_deleted; file_closed
08/06/2019, 00:04:08.188, Jan 08 Report.docx, file_deleted; file_closed
08/06/2019, 00:04:08.188, PaymentRequest PO# P166152.docx, file_deleted; file_closed
08/06/2019, 00:04:08.188, Progress Report SPLOST VI Part 1.doc, file_deleted; file_closed
08/06/2019, 00:04:08.188, SPLOST VI Request To Admin (Orginal for review).docx, file_deleted; file_closed
08/06/2019, 00:04:08.188, History, file_deleted; file_closed
08/06/2019, 00:04:08.188, 106 New Gas Stove Ck#1010.doc, file_deleted; file_closed
08/06/2019, 00:04:08.188, Invoices for 32,260K, file_deleted; file_closed
08/06/2019, 00:04:08.188, Invoices for SPLOST VI Part 1, file_deleted; file_closed
08/06/2019, 00:04:08.219, 1401 HVAC Mechanical Permit Check # 1036.doc, file_deleted; file_closed
08/06/2019, 00:04:08.219, 1402 Electrical Permit Check # 1037.doc, file_deleted; file_closed
08/06/2019, 00:04:08.219, 1403 Building Material & Supplies # 1038.doc, file_deleted; file_closed
08/06/2019, 00:04:08.219, 1404 HVAC Equipment and Labor Check # 1039.doc, file_deleted; file_closed
08/06/2019, 00:04:08.219, SPLOST VI Invoices 150K, file_deleted; file_closed
08/06/2019, 00:04:08.219, SPLOST VI Capital Improvements, file_deleted; file_closed
08/06/2019, 00:04:08.281, SPLOST VI Extra and Duplicate Files, file_deleted; file_closed
08/06/2019, 00:04:08.281, SPLOST VI Old Current Info, file_deleted; file_closed
08/06/2019, 00:04:08.281, SPLOST VI Final, file_deleted; file_closed
08/06/2019, 00:04:08.297, 2012 Rules of Usage.docx, file_deleted; file_closed
08/06/2019, 00:04:08.297, Coordination 2012.docx, file_deleted; file_closed
08/06/2019, 00:04:08.297, General Rules of Usage.docx, file_deleted; file_closed
08/06/2019, 00:04:08.297, Links 2015.docx, file_deleted; file_closed
08/06/2019, 00:04:08.297, Martin Steppers 2015.docx, file_deleted; file_closed
08/06/2019, 00:04:08.297, Rules and standards 2013.docx, file_deleted; file_closed
08/06/2019, 00:04:08.297, Rules and standards.docx, file_deleted; file_closed
08/06/2019, 00:04:08.297, Stepper Schedule & Room.docx, file_deleted; file_closed
08/06/2019, 00:04:08.297, Team Elite Cheerleaders 2015.docx, file_deleted; file_closed
08/06/2019, 00:04:08.297, Steppers, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 196 of 220
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08/06/2019, 00:04:08.297, 2012 Spring Break Camp.xlk, file_deleted; file_closed
08/06/2019, 00:04:08.313, 2012 Summer Camp.xls, file_deleted; file_closed
08/06/2019, 00:04:08.313, Age Groups.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.313, Backup of 2012 Spring Break Camp.xlk, file_deleted; file_closed
08/06/2019, 00:04:08.313, Backup of 2012 Summer Camp.xlk, file_deleted; file_closed
08/06/2019, 00:04:08.313, Camp Rules.doc, file_deleted; file_closed
08/06/2019, 00:04:08.313, Camp SOP.doc, file_deleted; file_closed
08/06/2019, 00:04:08.313, Daily Activities.doc, file_deleted; file_closed
08/06/2019, 00:04:08.313, De'Vonte Reynolds.doc, file_deleted; file_closed
08/06/2019, 00:04:08.313, Demery, Ty'Jaquan.doc, file_deleted; file_closed
08/06/2019, 00:04:08.313, Field Trips 2012 Updated.doc, file_deleted; file_closed
08/06/2019, 00:04:08.313, Field Trips 2012.doc, file_deleted; file_closed
08/06/2019, 00:04:08.313, Flyer Spring Break 2012.doc, file_deleted; file_closed
08/06/2019, 00:04:08.313, Flyer Summer Camp Program 2012.doc, file_deleted; file_closed
08/06/2019, 00:04:08.313, Gregory Walker.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Kaleen Blount.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Lock and Dam Field Trip.docx, file_deleted; file_closed
08/06/2019, 00:04:08.328, Lock and Dam.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Lunch & Snacks.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Menefee Bad Check.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Pool Request II.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Pool Request.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Registration Spring Break 2012.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Registration.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Saff Only Sign.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Sias Statement.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Signs.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Spelling.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Staff Rules.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Staff Update.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Summer Camp Enrollment 2012.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.328, Supervisor SOP.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Swimming Roster.xls, file_deleted; file_closed
08/06/2019, 00:04:08.328, Terry Butler Pay Process.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 197 of 220
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08/06/2019, 00:04:08.328, Volunteer ‐ Eban Bisong.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Volunteer ‐ Starlesha Kirland.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Work Request.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, Work Schedule.docx, file_deleted; file_closed
08/06/2019, 00:04:08.328, ~$aff Rules Update.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, ~$ily Activities.doc, file_deleted; file_closed
08/06/2019, 00:04:08.328, ~$rk Schedule.docx, file_deleted; file_closed
08/06/2019, 00:04:08.344, ~$yer Summer Camp Program 2012.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Summer Camp 2012, file_deleted; file_closed
08/06/2019, 00:04:08.344, 2013 Summer Camp (2).xls, file_deleted; file_closed
08/06/2019, 00:04:08.344, 2013 Summer Camp.xls, file_deleted; file_closed
08/06/2019, 00:04:08.344, Accountability Procedure (2).docx, file_deleted; file_closed
08/06/2019, 00:04:08.344, Accountability Procedure Update 26 Jul 13 (2).docx, file_deleted; file_closed
08/06/2019, 00:04:08.344, Accountability Procedure Update 26 Jul 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.344, Accountability Procedure.docx, file_deleted; file_closed
08/06/2019, 00:04:08.344, Added Field Trips 2013 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Added Field Trips 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Backup of 2013 Summer Camp (2).xlk, file_deleted; file_closed
08/06/2019, 00:04:08.344, Backup of 2013 Summer Camp.xlk, file_deleted; file_closed
08/06/2019, 00:04:08.344, Camp Rules (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Camp Rules.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Camp SOP (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Camp SOP.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Christmas Break Camp Program 2013 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Christmas Break Camp Program 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Activities (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Activities.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Friday, Wk #10 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Friday, Wk #10.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Friday, Wk #6 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Friday, Wk #6.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Friday, Wk #7 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Friday, Wk #7.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Friday, Wk #8 (2).doc, file_deleted; file_closed
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08/06/2019, 00:04:08.344, Daily Schedule for Friday, Wk #8.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Friday, Wk #9 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Friday, Wk #9.doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Monday, Wk #10 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.344, Daily Schedule for Monday, Wk #10.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Monday, Wk #11 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Monday, Wk #11.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Monday, Wk #6 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Monday, Wk #6.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Monday, Wk #7 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Monday, Wk #7.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Monday, Wk #8 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Monday, Wk #8.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Monday, Wk #9 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Monday, Wk #9.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Thursday, Wk #10 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Thursday, Wk #10.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Thursday, Wk #7 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Thursday, Wk #7.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Thursday, Wk #8 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Thursday, Wk #8.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Thursday, Wk #9 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Thursday, Wk #9.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Tuesday, Wk #10 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Tuesday, Wk #10.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Tuesday, Wk #6 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Tuesday, Wk #6.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Tuesday, Wk #7 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Tuesday, Wk #7.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Tuesday, Wk #8 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Tuesday, Wk #8.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Wednesday, Wk #10 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Wednesday, Wk #10.doc, file_deleted; file_closed
08/06/2019, 00:04:08.359, Daily Schedule for Wednesday, Wk #6 (2).doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 199 of 220
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08/06/2019, 00:04:08.359, Daily Schedule for Wednesday, Wk #6.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Daily Schedule for Wednesday, Wk #7 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Daily Schedule for Wednesday, Wk #7.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Daily Schedule for Wednesday, Wk #8 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Daily Schedule for Wednesday, Wk #8.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, De'Vonte Reynolds (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, De'Vonte Reynolds.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Demery, Ty'Jaquan (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Demery, Ty'Jaquan.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Field Trips 2013 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Field Trips 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Flake (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Flake.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Flyer Summer Camp Program 2013 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Flyer Summer Camp Program 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Gibson Suspension (2).docx, file_deleted; file_closed
08/06/2019, 00:04:08.375, Gibson Suspension.docx, file_deleted; file_closed
08/06/2019, 00:04:08.375, Kaleen Blount (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Kaleen Blount.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Lock and Dam (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Lock and Dam.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Lunch & Snacks (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Lunch & Snacks.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Menefee Bad Check (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Menefee Bad Check.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, New Microsoft Office Word Document (2).docx, file_deleted; file_closed
08/06/2019, 00:04:08.375, New Microsoft Office Word Document.docx, file_deleted; file_closed
08/06/2019, 00:04:08.375, Pool Request (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Pool Request II (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Pool Request II.doc, file_deleted; file_closed
08/06/2019, 00:04:08.375, Pool Request.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Registration Spring Break 2013 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Registration Spring Break 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Registration Summer Camp 2013 (2).doc, file_deleted; file_closed
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08/06/2019, 00:04:08.391, Registration Summer Camp 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Saff Only Sign (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Saff Only Sign.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Sias Statement (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Sias Statement.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Signs (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Signs.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Spelling (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Spelling.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Staff meeting 3 Jun 13 (2).docx, file_deleted; file_closed
08/06/2019, 00:04:08.391, Staff meeting 3 Jun 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.391, Staff Rules (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Staff Rules.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Staff Update (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Staff Update.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Summer Camp Update (2).docx, file_deleted; file_closed
08/06/2019, 00:04:08.391, Summer Camp Update.docx, file_deleted; file_closed
08/06/2019, 00:04:08.391, Supervisor SOP (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Supervisor SOP.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Volunteer ‐ Eban Bisong (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Volunteer ‐ Eban Bisong.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Volunteer ‐ Starlesha Kirland (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Volunteer ‐ Starlesha Kirland.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Work Request (2).doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Work Request.doc, file_deleted; file_closed
08/06/2019, 00:04:08.391, Work Schedule (2).docx, file_deleted; file_closed
08/06/2019, 00:04:08.516, Work Schedule.docx, file_deleted; file_closed
08/06/2019, 00:04:08.516, Summer Camp 2013, file_deleted; file_closed
08/06/2019, 00:04:08.516, 2014 Summer Camp.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.516, Accountability Procedure.docx, file_deleted; file_closed
08/06/2019, 00:04:08.516, Ad Document.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.516, Backup of 2013 Summer Camp.xlk, file_deleted; file_closed
08/06/2019, 00:04:08.516, Backup of 2014 Summer Camp.xlk, file_deleted; file_closed
08/06/2019, 00:04:08.516, Backup of Spring Break Camp 2014.xlk, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 201 of 220
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08/06/2019, 00:04:08.516, Bad Check ‐ Norton.doc, file_deleted; file_closed
08/06/2019, 00:04:08.516, Camp Rules.doc, file_deleted; file_closed
08/06/2019, 00:04:08.516, Camp SOP.doc, file_deleted; file_closed
08/06/2019, 00:04:08.516, Daily Activities.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Daily Camp Schedule for Friday, Wk #6.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Daily Camp Schedule for Monday, Wk #6.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Daily Camp Schedule for Monday, Wk #7.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Daily Camp Schedule for Tuesday, Wk #6.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Daily Camp Schedule for Tuesday, Wk #7.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Daily Schedule for Friday, Wk #7.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Daily Schedule for Thursday, Wk #7.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Daily Schedule for Wednesday, Wk #6.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Daily Schedule for Wednesday, Wk #7.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Demery, Ty'Jaquan.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Donald, Isaiah.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Dr. Deborah Austin Work Shop.docx, file_deleted; file_closed
08/06/2019, 00:04:08.531, Field Trips 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Field Trips 2014.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Flake.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Incident Report 2014.docx, file_deleted; file_closed
08/06/2019, 00:04:08.531, Invoice Jacob.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Invoice Jamarcez.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Invoice Kenny.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, Jacob & Markel.doc, file_deleted; file_closed
08/06/2019, 00:04:08.531, LJ Letter.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.531, Lock and Dam.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Lunch & Snacks.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Menefee Bad Check.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Movie Field Trips.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, New Microsoft Office Excel Worksheet.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.547, New Microsoft Office Word Document.docx, file_deleted; file_closed
08/06/2019, 00:04:08.547, Pool Request.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Power Disconnecting.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Saff Only Sign.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 202 of 220
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08/06/2019, 00:04:08.547, Sias Statement.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Signs.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Spelling.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Spring Break Camp 2014.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.547, Spring Break Flyer 2014.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Spring Break Registration 2014.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Staff meeting 3 Jun 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.547, Staff Rules.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Staff Update.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Summer Camp Flyer 2014.doc, file_deleted; file_closed
08/06/2019, 00:04:08.547, Summer Camp Registration 2014.doc, file_deleted; file_closed
08/06/2019, 00:04:08.563, Summer Camp Update.docx, file_deleted; file_closed
08/06/2019, 00:04:08.563, Supervisor SOP.doc, file_deleted; file_closed
08/06/2019, 00:04:08.563, Volunteer ‐ Eban Bisong.doc, file_deleted; file_closed
08/06/2019, 00:04:08.563, Volunteer ‐ Starlesha Kirland.doc, file_deleted; file_closed
08/06/2019, 00:04:08.563, Work Request.doc, file_deleted; file_closed
08/06/2019, 00:04:08.563, Work Schedule.docx, file_deleted; file_closed
08/06/2019, 00:04:08.563, Work Schedule.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.563, ~$2014 Summer Camp.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.563, 001.tif, file_deleted; file_closed
08/06/2019, 00:04:08.688, 2014‐06‐26, file_deleted; file_closed
08/06/2019, 00:04:08.688, Summer Camp 2014, file_deleted; file_closed
08/06/2019, 00:04:08.688, Backup of Spring Break Camp 2015.xlk, file_deleted; file_closed
08/06/2019, 00:04:08.688, Backup of Summer Camp 2015.xlk, file_deleted; file_closed
08/06/2019, 00:04:08.688, Cell Phone Use.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.688, Daily Activities.doc, file_deleted; file_closed
08/06/2019, 00:04:08.703, Emails Addresses‐Updated 19 Jul.docx, file_deleted; file_closed
08/06/2019, 00:04:08.703, Emails Addresses.docx, file_deleted; file_closed
08/06/2019, 00:04:08.703, Field Trips 2014.doc, file_deleted; file_closed
08/06/2019, 00:04:08.703, Field Trips 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:08.703, Holiday Week Field Trips.docx, file_deleted; file_closed
08/06/2019, 00:04:08.703, Invoice Catherine Dubon.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.703, Jeremy Powers Payments Updated.docx, file_deleted; file_closed
08/06/2019, 00:04:08.703, Jeremy Powers Payments.docx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 203 of 220
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08/06/2019, 00:04:08.703, Lorenzo Carter.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.703, Ms Willa's Statement.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.703, Quellan Portis 001.tif, file_deleted; file_closed
08/06/2019, 00:04:08.703, Quellan Portis.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.703, Spring Break Camp 2015.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.703, Spring Break Flyer 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:08.703, Spring Break Registration 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:08.703, Summer Camp 2015.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.703, Summer Camp Flyer 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:08.719, Summer Camp Registration 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:08.719, Swimming Field Trips 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:08.719, Time Sheet.docx, file_deleted; file_closed
08/06/2019, 00:04:08.719, Summer Camp 2015, file_deleted; file_closed
08/06/2019, 00:04:08.719, Backup of Spring Break Camp 2015.xlk, file_deleted; file_closed
08/06/2019, 00:04:08.719, Backup of Summer Camp 2015.xlk, file_deleted; file_closed
08/06/2019, 00:04:08.719, Cell Phone Use.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.719, Daily Activities.doc, file_deleted; file_closed
08/06/2019, 00:04:08.719, Emails Addresses‐Updated 19 Jul.docx, file_deleted; file_closed
08/06/2019, 00:04:08.719, Emails Addresses.docx, file_deleted; file_closed
08/06/2019, 00:04:08.719, Field Trips 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:08.719, Holiday Week Field Trips.docx, file_deleted; file_closed
08/06/2019, 00:04:08.719, Invoice Catherine Dubon.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.719, Jeremy Powers Payments Updated.docx, file_deleted; file_closed
08/06/2019, 00:04:08.719, Jeremy Powers Payments.docx, file_deleted; file_closed
08/06/2019, 00:04:08.719, Lorenzo Carter.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.719, Ms Willa's Statement.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.719, Quellan Portis 001.tif, file_deleted; file_closed
08/06/2019, 00:04:08.719, Quellan Portis.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.719, Spring Break Camp 2015.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.734, Spring Break Flyer 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:08.734, Spring Break Registration 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:08.734, Summer Camp 2015.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.734, Summer Camp Flyer 2016.doc, file_deleted; file_closed
08/06/2019, 00:04:08.734, Summer Camp Registration 2015.doc, file_deleted; file_closed
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08/06/2019, 00:04:08.734, Swimming Field Trips 2015.doc, file_deleted; file_closed
08/06/2019, 00:04:08.734, Time Sheet.docx, file_deleted; file_closed
08/06/2019, 00:04:08.734, Summer Camp 2016, file_deleted; file_closed
08/06/2019, 00:04:08.734, Lucinda M. Smith.doc, file_deleted; file_closed
08/06/2019, 00:04:08.734, Ms Carter Notification Suspension.docx, file_deleted; file_closed
08/06/2019, 00:04:08.734, Roderick Cox, Jr.docx, file_deleted; file_closed
08/06/2019, 00:04:08.734, Suspensions, file_deleted; file_closed
08/06/2019, 00:04:08.734, Cheerleader Suspension.rtf, file_deleted; file_closed
08/06/2019, 00:04:08.734, Team Elite, file_deleted; file_closed
08/06/2019, 00:04:08.750, Rules of Usage.docx, file_deleted; file_closed
08/06/2019, 00:04:08.750, Unk Group, file_deleted; file_closed
08/06/2019, 00:04:08.750, Center Activites 2013.docx, file_deleted; file_closed
08/06/2019, 00:04:08.750, Web Page Info, file_deleted; file_closed
08/06/2019, 00:04:08.750, Work Order 9 Jan 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.750, Work Order Jan 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.750, Work Orders, file_deleted; file_closed
08/06/2019, 00:04:08.750, Zumba Class Flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:08.750, Zumba Class Guidelines.doc, file_deleted; file_closed
08/06/2019, 00:04:08.750, Zumba Class Medical Notice.doc, file_deleted; file_closed
08/06/2019, 00:04:08.750, Zumba Class Roster.xls, file_deleted; file_closed
08/06/2019, 00:04:08.750, Zumba Class Roster.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.750, Zumba Flyer.docx, file_deleted; file_closed
08/06/2019, 00:04:08.750, Zumba Sign In #2.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.750, Zumba Sign In.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.750, Zumba, file_deleted; file_closed
08/06/2019, 00:04:08.750, Jamestown Community Center, file_deleted; file_closed
08/06/2019, 00:04:08.766, Bank Account Number.docx, file_deleted; file_closed
08/06/2019, 00:04:08.766, Cropper Slum lord.xlsx, file_deleted; file_closed
08/06/2019, 00:04:08.766, Director Briefing.ppt, file_deleted; file_closed
08/06/2019, 00:04:08.766, DSCN0095.JPG, file_deleted; file_closed
08/06/2019, 00:04:08.766, DSCN0096.JPG, file_deleted; file_closed
08/06/2019, 00:04:08.766, DSCN0097.JPG, file_deleted; file_closed
08/06/2019, 00:04:08.766, DSCN0098.JPG, file_deleted; file_closed
08/06/2019, 00:04:08.766, DSCN0099.JPG, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 205 of 220
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08/06/2019, 00:04:08.766, DSCN0100.JPG, file_deleted; file_closed
08/06/2019, 00:04:08.766, DSCN0101.JPG, file_deleted; file_closed
08/06/2019, 00:04:08.766, DSCN0102.JPG, file_deleted; file_closed
08/06/2019, 00:04:08.766, Election Process.docx, file_deleted; file_closed
08/06/2019, 00:04:08.766, Parcels (2).csv, file_deleted; file_closed
08/06/2019, 00:04:08.766, ~WRL1307.tmp, file_deleted; file_closed
08/06/2019, 00:04:08.766, ~WRL2906.tmp, file_deleted; file_closed
08/06/2019, 00:04:08.766, Agenda Reapportionment Office 6 Dec 10.doc, file_deleted; file_closed
08/06/2019, 00:04:08.766, AGREE.DOC, file_deleted; file_closed
08/06/2019, 00:04:08.766, Amendment I Constitution BY‐LAWS.doc, file_deleted; file_closed
08/06/2019, 00:04:08.766, Backup of 2nd REPAIR REQUEST.wbk, file_deleted; file_closed
08/06/2019, 00:04:08.766, Backup of Agenda 17 Apr 00.wbk, file_deleted; file_closed
08/06/2019, 00:04:08.766, Backup of Agenda 17 Sep 01.wbk, file_deleted; file_closed
08/06/2019, 00:04:08.766, Backup of Agenda 23 Julyl 2001.wbk, file_deleted; file_closed
08/06/2019, 00:04:08.766, Backup of Agenda 30 April 2001.wbk, file_deleted; file_closed
08/06/2019, 00:04:08.766, Backup of Agenda 31 May 00.wbk, file_deleted; file_closed
08/06/2019, 00:04:08.766, Morgan Road Agenda Meeting 24 Sep 09.doc, file_deleted; file_closed
08/06/2019, 00:04:08.781, ~WRL0003.tmp, file_deleted; file_closed
08/06/2019, 00:04:08.781, ~WRL0005.tmp, file_deleted; file_closed
08/06/2019, 00:04:08.781, ~WRL1185.tmp, file_deleted; file_closed
08/06/2019, 00:04:08.781, ~WRL1931.tmp, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda BOD 17 Nov 01.DOC, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 7 Mar 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 1 Aug 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 1 Nov 12.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 11 Dec 14.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 11 Sep 14.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 14 Jan 2016.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 2 Apr 15.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 2 May 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 23 Apr 15.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 3 Apr 14.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 3 Jan 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 3 Oct 13.docx, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 206 of 220
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08/06/2019, 00:04:08.781, Agenda ‐Minutes BOD 3 Sep 15.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 4 Apr 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 4 Oct 12.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 5 Dec 15.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 5 Feb 15.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 5 Nov 15.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 5 Sep 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 6 Dec 12.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 6 Feb 14.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 6 Mar 14.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 6 Sep 12.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 8 Jan 15.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes BOD 9 jan 14.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Emergency Meeting BOD 23 Jun 2016.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 12 April 2017.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 2 August 2018.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 2016.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 29 Oct 2018.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 3 Jan 2019.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 3 Nov 2016.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 5 April 2018.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 5 Jan 2017.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 6 April 2017.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 6 Oct 2016.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 7 Dec 2017.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 7 Mar 2019.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 8 Dec 2016.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Meeting BOD 9 Nov 2017.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Minutes Special Housing and Community Dev BOD 4 Sep 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda ‐Special Called Meeting & Minutes BOD 21 Mar 2019.docx, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda 13 Sep 03.doc, file_deleted; file_closed
08/06/2019, 00:04:08.797, Agenda 22 Feb 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda 22 July 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda 22 May 00.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 207 of 220
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08/06/2019, 00:04:08.844, Agenda 25 Sep 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda 26 Aug 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda 26 Aug 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda 30 Oct 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda 31 May 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda 4 Mar 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 1 April 10.docx, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 15 July 10.docx, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 2 Dec 10.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 2 Sep 10.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 23 Aug 11.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 27 Apr 08.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 30 Aug 11.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 4 Feb 10.docx, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 5 Aug 10.docx, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 5 Nov 09.docx, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 7 Jan 10.docx, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD 7 Oct 10.doc, file_deleted; file_closed
08/06/2019, 00:04:08.844, Agenda BOD (Emergency) 29 Sep 11.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 1 Mar 12.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 11 Dec 08.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 13 Jan 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 13 Nov 08.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 15 Oct 09.docx, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 17 Aug 04.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 17 Jul 08.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 19 Feb 04.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 2 Apr 09.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 2 Aug 07.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 2 Aug 12.docx, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 2 Oct 08.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 24 May 07.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 25 Oct 03.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 27 Dec 04.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 208 of 220
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08/06/2019, 00:04:08.859, Agenda BOD 27 Oct 04.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 3 Apr 08.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 3 Feb 05.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 3 Jan 08.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 3 May 07.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 3 Nov 11.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 3 Sep 09.docx, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 4 Oct 07.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 4 Sep 08.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 5 Apr 12.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 5 Jan 12.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 5 Jul 07.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 5 Mar 09.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 5 Mar 08.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 6 Aug 09.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 6 Dec 07.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 7 Oct 04.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 8 Dec 11.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 8 Jan 09.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 8 Jan 04.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD 9 Jul 09.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda BOD Work Shop 7 Nov 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.859, Agenda Emergency BOD 12 May 08.doc, file_deleted; file_closed
08/06/2019, 00:04:08.859, AGENDA.DOC, file_deleted; file_closed
08/06/2019, 00:04:08.859, Corrected Finance Report 6 January 2017.docx, file_deleted; file_closed
08/06/2019, 00:04:08.875, Finance Report 6 April 2017.docx, file_deleted; file_closed
08/06/2019, 00:04:08.875, Sign In Roster Board Meeting.xls, file_deleted; file_closed
08/06/2019, 00:04:08.875, Summary of BOD Meeting with the Housing and Community Dev. Dept. 4 Sep 13.docx, file_deleted; file_closed
08/06/2019, 00:04:08.969, ~WRL2142.tmp, file_deleted; file_closed
08/06/2019, 00:04:08.969, Board of Directors, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 12 Jan 02.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 12 Mar 01.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 13 Nov 03.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 15 Apr 02.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 209 of 220
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08/06/2019, 00:04:08.984, Agenda 17 Apr 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 17 Sep 01.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 19 Mar 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 20 Oct 01.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 20 Sep 03.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 22 Jan 01.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 23 Jul 01.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 25 Feb 02.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 26 Feb 01.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 28 Aug 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda 9 Dec 00.doc, file_deleted; file_closed
08/06/2019, 00:04:08.984, Agenda Community (Emergency Sewage Meeting) 5 Nov 09.doc, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community (Special) Meeting 8 Sep 11.docx, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 11 Aug 11.doc, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 28 Oct 10.doc, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 3 May 12.docx, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 9 Feb 12.docx, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 1 Sep 16.docx, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 13 Aug 09.doc, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 13 Aug 15.docx, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 13 Jan 05.doc, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 15 Feb 07.doc, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 18 Oct 12.docx, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 19 August 2013.docx, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 19 Oct 06.doc, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 2 Feb 08.doc, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 21 Aug 07.doc, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 21 Jun 12.docx, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 22 February 2018.docx, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 23 Oct 08.doc, file_deleted; file_closed
08/06/2019, 00:04:09.000, Agenda Community Meeting 24Jun 04.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 25 Feb 13.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 26 Jan 2017.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 28 Feb 15.docx, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 210 of 220
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08/06/2019, 00:04:09.016, Agenda Community Meeting 28 Oct 04.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 29 Jan 04.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 30 Mar 06.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 31 January 2019.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 4 Feb 16.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 5 Apr 08.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 5 December 2013.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 5 Feb 09.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 5 Jun 2014.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 5 Jun 08.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 5 May 16.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 6 Nov 2014.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 7 Feb 13.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 7 May 09.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting 9 May 13.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Meeting1 29 Jan 04.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Special Meeting 11 Mar 10.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Community Special Meeting 21 Dec 09.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Emergency Community Meeting BOD 1 May 08.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Redistricting Committee Meeting 17 Oct 11.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Agenda Special Community Meeting 1 Apr 04.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Andy Cheek.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Attendance Roster.doc, file_deleted; file_closed
08/06/2019, 00:04:09.016, Community Presentation 6 Nov 14.pptx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Community Presentation1 6 Nov 14.pptx, file_deleted; file_closed
08/06/2019, 00:04:09.016, Spanish Trace Community Meeting 18 May 15.docx, file_deleted; file_closed
08/06/2019, 00:04:09.016, ~$Community Presentation 6 Nov 14.pptx, file_deleted; file_closed
08/06/2019, 00:04:09.031, ~$Community Presentation1 6 Nov 14.pptx, file_deleted; file_closed
08/06/2019, 00:04:09.031, ~WRL0001.tmp, file_deleted; file_closed
08/06/2019, 00:04:09.031, Agenda Community Meeting 19 August 2013.docx, file_deleted; file_closed
08/06/2019, 00:04:09.281, Sias Copy, file_deleted; file_closed
08/06/2019, 00:04:09.281, Community Meetings, file_deleted; file_closed
08/06/2019, 00:04:09.281, Agendas and Minutes, file_deleted; file_closed
08/06/2019, 00:04:09.281, Letter Lables.doc, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 211 of 220
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08/06/2019, 00:04:09.281, Mailing Labels.doc, file_deleted; file_closed
08/06/2019, 00:04:09.281, Return Mailing Labels.doc, file_deleted; file_closed
08/06/2019, 00:04:09.281, Solicitation Petition.doc, file_deleted; file_closed
08/06/2019, 00:04:09.281, Stop Solicitation.doc, file_deleted; file_closed
08/06/2019, 00:04:09.281, Augusta Chronicle, file_deleted; file_closed
08/06/2019, 00:04:09.297, Board of Elections Agenda 6 Jan 05.doc, file_deleted; file_closed
08/06/2019, 00:04:09.297, Board of Elections II.doc, file_deleted; file_closed
08/06/2019, 00:04:09.297, Board of Elections.doc, file_deleted; file_closed
08/06/2019, 00:04:09.297, Code Requirements.doc, file_deleted; file_closed
08/06/2019, 00:04:09.297, E‐Mails.doc, file_deleted; file_closed
08/06/2019, 00:04:09.297, Index.doc, file_deleted; file_closed
08/06/2019, 00:04:09.297, Petition.doc, file_deleted; file_closed
08/06/2019, 00:04:09.297, Presentation 10 Jan 05.doc, file_deleted; file_closed
08/06/2019, 00:04:09.297, Board of Elections, file_deleted; file_closed
08/06/2019, 00:04:09.297, By Laws ‐ Jamestown Community Center Association 1.doc, file_deleted; file_closed
08/06/2019, 00:04:09.297, By Laws ‐ Jamestown Community Center Association 1.docm, file_deleted; file_closed
08/06/2019, 00:04:09.313, By Laws 1.doc, file_deleted; file_closed
08/06/2019, 00:04:09.313, By Laws.doc, file_deleted; file_closed
08/06/2019, 00:04:09.313, Jamestown Comm Center Assoc ByLaws.docm, file_deleted; file_closed
08/06/2019, 00:04:09.313, By Laws, file_deleted; file_closed
08/06/2019, 00:04:09.313, Items Needing Attention.docx, file_deleted; file_closed
08/06/2019, 00:04:09.313, Commissioner 4th District Info, file_deleted; file_closed
08/06/2019, 00:04:09.313, 2017 Financal Comphensive Monthly Report.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.313, 2017 Finance Short Report ‐ Copy.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Bank Act Number.docx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report Jul 09.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report (alternate).doc, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report 2 May 13.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report 3 Jan 13.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report 3 Oct 13.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report 4 Apr 13.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report 5 Sep 13.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report April 09 thur 12 Aug 09.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report April 09.xlsx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 212 of 220
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08/06/2019, 00:04:09.328, Finance Report Dec 08.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report Dec 09.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report Dec 12.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report Jan 10.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Finance Report Nov 09.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.328, Wells Fargo.html, file_deleted; file_closed
08/06/2019, 00:04:09.344, ~$Finance Report Dec 09.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.360, edb.log, data_overwritten; file_closed
08/06/2019, 00:04:09.360, edb0057B.log, file_renamed; file_closed
08/06/2019, 00:04:09.360, edbtmp.log, data_overwritten; file_closed
08/06/2019, 00:04:09.360, edb.log, file_renamed; file_closed
08/06/2019, 00:04:09.391, ~$Finance Report Jan 10.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.391, Finance Reports, file_deleted; file_closed
08/06/2019, 00:04:09.656, lscache.dat, data_overwritten; file_truncated; file_closed
08/06/2019, 00:04:09.797, Petitions.rtf, file_deleted; file_closed
08/06/2019, 00:04:09.797, Zone Povider.rtf, file_deleted; file_closed
08/06/2019, 00:04:09.797, Zoning Standards.rtf, file_deleted; file_closed
08/06/2019, 00:04:09.797, 001.tif, file_deleted; file_closed
08/06/2019, 00:04:09.797, 2014‐03‐19, file_deleted; file_closed
08/06/2019, 00:04:09.797, Gold Cross, file_deleted; file_closed
08/06/2019, 00:04:09.797, Action Plan (Negative)Inert Landfill.doc, file_deleted; file_closed
08/06/2019, 00:04:09.813, Action Plan (Positive)Inert Landfill.doc, file_deleted; file_closed
08/06/2019, 00:04:09.813, Inert Landfill.doc, file_deleted; file_closed
08/06/2019, 00:04:09.813, Meeting.doc, file_deleted; file_closed
08/06/2019, 00:04:09.813, Inert Landfill, file_deleted; file_closed
08/06/2019, 00:04:09.813, Junk Car and Trashy Yards March 2017.docx, file_deleted; file_closed
08/06/2019, 00:04:09.813, Junk Cars & Trashy Yards, file_deleted; file_closed
08/06/2019, 00:04:09.813, Legal Fund Support Letter.doc, file_deleted; file_closed
08/06/2019, 00:04:09.813, Michael Gilchrist Dues Thank You.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, Police Duty 13 Sep 09.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, Police Duty 18 Sep 09.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, Police Duty.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, Thank You.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, ~WRD0001.tmp, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 213 of 220
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08/06/2019, 00:04:09.828, ~WRD0003.tmp, file_deleted; file_closed
08/06/2019, 00:04:09.828, Legal Fund, file_deleted; file_closed
08/06/2019, 00:04:09.828, 2532 Sandridge Ct Felton Mitchell.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, 2829 Harwood.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, 2850 Pepperdine‐ Illega truck parking.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, 2891Pepperdine Dr.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, 2894Pepperdine Dr.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, 2905Pepperdine Dr.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, 2909 Pepperdine Dr.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, 3721‐ Truck Parking.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, 3836 Crest ‐ Illega truck parking.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, Court Briefing.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, Court Display.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, CROSS EXAMINATION OF PLAINIFF.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, EMS Council Region VI.doc, file_deleted; file_closed
08/06/2019, 00:04:09.828, John Cropper 3883 Crest dr.docx, file_deleted; file_closed
08/06/2019, 00:04:09.828, Junk Cars.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, Junk Vehicles‐Illegal.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, MEMO‐3838 Crest.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, SCA Dues Letter 2838 Pepperdine Drive.rtf, file_deleted; file_closed
08/06/2019, 00:04:09.844, Trash Cans.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, Trucks at Family Dollar.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, Trucks at Video Warehouse Tobacco Rd.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, trucksfamily dollar.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, Yellow Curb Accident.docx, file_deleted; file_closed
08/06/2019, 00:04:09.844, Legal Notices, file_deleted; file_closed
08/06/2019, 00:04:09.844, 5 Feb 09.docx, file_deleted; file_closed
08/06/2019, 00:04:09.844, Meeting Invitations, file_deleted; file_closed
08/06/2019, 00:04:09.844, Mailing Labels Crest Drive Harper.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, Mailing Labels Crest Drive‐2.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, Mailing Labels Crest Drive.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, Mailing Labels.doc, file_deleted; file_closed
08/06/2019, 00:04:09.844, Membership Agreement 001.tif, file_deleted; file_closed
08/06/2019, 00:04:09.844, Membership Letter 2013‐2014.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 214 of 220
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08/06/2019, 00:04:09.875, Membership Letter 2016 (2).doc, file_deleted; file_closed
08/06/2019, 00:04:09.938, Membership Letter 2016.doc, file_deleted; file_closed
08/06/2019, 00:04:09.938, Residents of Sandridge (2).xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.938, Residents of Sandridge.xlsx, file_deleted; file_closed
08/06/2019, 00:04:09.938, Return SCA address label.doc, file_deleted; file_closed
08/06/2019, 00:04:09.938, Sand Ridge All ‐ Copy.xls, file_deleted; file_closed
08/06/2019, 00:04:09.953, SCA Informational Letter.doc, file_deleted; file_closed
08/06/2019, 00:04:09.953, SCA Mailing Labels 2.doc, file_deleted; file_closed
08/06/2019, 00:04:09.953, SCA Mailing Labels.doc, file_deleted; file_closed
08/06/2019, 00:04:09.953, SCA#2.XLS, file_deleted; file_closed
08/06/2019, 00:04:09.953, Special Police Duty.doc, file_deleted; file_closed
08/06/2019, 00:04:09.953, Membership Info, file_deleted; file_closed
08/06/2019, 00:04:09.953, Exec Committee Minutes Oct 4, 2007.doc, file_deleted; file_closed
08/06/2019, 00:04:09.953, Minutes, file_deleted; file_closed
08/06/2019, 00:04:09.969, 13DEC94.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.047, 1998.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.047, 26OCT97.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.047, 2ND MEMO‐3838 Crest.doc, file_deleted; file_closed
08/06/2019, 00:04:10.047, AGENDA.doc, file_deleted; file_closed
08/06/2019, 00:04:10.047, agenda1.doc, file_deleted; file_closed
08/06/2019, 00:04:10.047, AGREE.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.047, Amendment I Constitution BY‐LAWS.doc, file_deleted; file_closed
08/06/2019, 00:04:10.047, Appartment Flyer 2.docx, file_deleted; file_closed
08/06/2019, 00:04:10.063, Appartment Flyer.docx, file_deleted; file_closed
08/06/2019, 00:04:10.063, Award Marian Bryant.doc, file_deleted; file_closed
08/06/2019, 00:04:10.063, Backup of Police Duty.wbk, file_deleted; file_closed
08/06/2019, 00:04:10.063, Ballot‐Blank.doc, file_deleted; file_closed
08/06/2019, 00:04:10.063, blank.docx, file_deleted; file_closed
08/06/2019, 00:04:10.063, BOD Election Ballot 7 February 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:10.063, BODLIST.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.063, Booths.xlsx, file_deleted; file_closed
08/06/2019, 00:04:10.063, Boxing Sch.ppt, file_deleted; file_closed
08/06/2019, 00:04:10.063, Boxing.xls, file_deleted; file_closed
08/06/2019, 00:04:10.063, Boys & Girls Club BOD.docx, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 215 of 220
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08/06/2019, 00:04:10.063, Boys and Girls Club.docx, file_deleted; file_closed
08/06/2019, 00:04:10.063, BROWN.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.063, Business Card.doc, file_deleted; file_closed
08/06/2019, 00:04:10.063, Business card2.doc, file_deleted; file_closed
08/06/2019, 00:04:10.063, By Laws 2.PDF, file_deleted; file_closed
08/06/2019, 00:04:10.063, By‐Laws Committee‐Dec99.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, CERT Application 2.docx, file_deleted; file_closed
08/06/2019, 00:04:10.078, Cigarette Butts ‐ Smoking.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, Circle K.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, Cleaning.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, Committees.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, Contact Roster Park.xlsx, file_deleted; file_closed
08/06/2019, 00:04:10.078, Contact Roster small.xls, file_deleted; file_closed
08/06/2019, 00:04:10.078, desktop.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, duncan.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, Easter Egg Hunt 2006.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, ELECTCOM.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.078, electfly.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, Election Certification Memo.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, Emergency Phone Numbers.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, Envelope Address.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, Equipment Loan Receipt.docx, file_deleted; file_closed
08/06/2019, 00:04:10.078, Equipment.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, Fax.doc, file_deleted; file_closed
08/06/2019, 00:04:10.078, FLYER.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.094, GOLDSTAR.PPT, file_deleted; file_closed
08/06/2019, 00:04:10.094, Head Start.rtf, file_deleted; file_closed
08/06/2019, 00:04:10.094, HUNT.rtf, file_deleted; file_closed
08/06/2019, 00:04:10.094, ICE Machine DO NOT.doc, file_deleted; file_closed
08/06/2019, 00:04:10.094, Illegal Parking.doc, file_deleted; file_closed
08/06/2019, 00:04:10.094, INS‐Claim.doc, file_deleted; file_closed
08/06/2019, 00:04:10.094, INTERNET & PHONE USE 10 MIN PER PERSON.doc, file_deleted; file_closed
08/06/2019, 00:04:10.094, Jazz Night 2nd Saturday.docx, file_deleted; file_closed
08/06/2019, 00:04:10.094, Junk Cars 19 Aug 13.docx, file_deleted; file_closed
                          Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 216 of 220
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08/06/2019, 00:04:10.094, Keep Out.doc, file_deleted; file_closed
08/06/2019, 00:04:10.094, LENA LETTER OF RECOMMENDATION.doc, file_deleted; file_closed
08/06/2019, 00:04:10.094, Liquior Store Opposition.docx, file_deleted; file_closed
08/06/2019, 00:04:10.094, MAP.doc, file_deleted; file_closed
08/06/2019, 00:04:10.094, MEETINGS FOR 2004.doc, file_deleted; file_closed
08/06/2019, 00:04:10.094, Membership Letter 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:10.094, MEMO‐BOD.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.125, MEMO‐BOD1.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.125, MEMPACK.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.125, Minutes BOD 8 Apr 04.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, Miuntes for 25 Feb 02.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, MORNING THINGS TO DO.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, Name Tags.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, Name.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, new mem flyer.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, newmem.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, Newspaper Commission Fax.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, Newspaper Fax.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, Newspaper.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, OATH.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.125, Payment Request.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, Payroll.xls, file_deleted; file_closed
08/06/2019, 00:04:10.125, phb‐training request.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, Postal Memo.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, Recycle Bins.doc, file_deleted; file_closed
08/06/2019, 00:04:10.125, Reply ‐1 Newspaper.doc, file_deleted; file_closed
08/06/2019, 00:04:10.141, Return Lables.doc, file_deleted; file_closed
08/06/2019, 00:04:10.141, Save Our Schools Rally Agenda.docx, file_deleted; file_closed
08/06/2019, 00:04:10.141, SCA Return Lables.doc, file_deleted; file_closed
08/06/2019, 00:04:10.141, Sewage Update.doc, file_deleted; file_closed
08/06/2019, 00:04:10.141, Sign In Roster Board Meeting.xls, file_deleted; file_closed
08/06/2019, 00:04:10.141, Sign In Roster 1.xls, file_deleted; file_closed
08/06/2019, 00:04:10.141, Sign Placement.doc, file_deleted; file_closed
08/06/2019, 00:04:10.141, Spelling.doc, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 217 of 220
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08/06/2019, 00:04:10.141, SPLOST.doc, file_deleted; file_closed
08/06/2019, 00:04:10.141, SPLOSTI‐IVConciseReport.pdf, file_deleted; file_closed
08/06/2019, 00:04:10.141, State Court Solicitor Questions.docx, file_deleted; file_closed
08/06/2019, 00:04:10.141, Stop All Solicitation.doc, file_deleted; file_closed
08/06/2019, 00:04:10.141, Stop Solicitation.doc, file_deleted; file_closed
08/06/2019, 00:04:10.141, Street Lights Letter ‐Pepperdine.docx, file_deleted; file_closed
08/06/2019, 00:04:10.141, To Do.doc, file_deleted; file_closed
08/06/2019, 00:04:10.141, xmas framilies.docx, file_deleted; file_closed
08/06/2019, 00:04:10.188, Yellow Paper.doc, file_deleted; file_closed
08/06/2019, 00:04:10.188, MISCELLANEOUS, file_deleted; file_closed
08/06/2019, 00:04:10.188, Desktop.ini, file_deleted; file_closed
08/06/2019, 00:04:10.188, hp1.jpg, file_deleted; file_closed
08/06/2019, 00:04:10.188, hp2.jpg, file_deleted; file_closed
08/06/2019, 00:04:10.188, hp3.jpg, file_deleted; file_closed
08/06/2019, 00:04:10.188, hp4.jpg, file_deleted; file_closed
08/06/2019, 00:04:10.188, Sample Pictures.lnk, file_deleted; file_closed
08/06/2019, 00:04:10.203, Thumbs.db, file_deleted; file_closed
08/06/2019, 00:04:10.203, Picture 001.jpg, file_deleted; file_closed
08/06/2019, 00:04:10.203, Thumbs.db, file_deleted; file_closed
08/06/2019, 00:04:10.203, Picture, file_deleted; file_closed
08/06/2019, 00:04:10.203, My Pictures, file_deleted; file_closed
08/06/2019, 00:04:10.219, images, file_deleted; file_closed
08/06/2019, 00:04:10.219, _private, file_deleted; file_closed
08/06/2019, 00:04:10.219, _vti_cnf, file_deleted; file_closed
08/06/2019, 00:04:10.219, botinfs.cnf, file_deleted; file_closed
08/06/2019, 00:04:10.219, bots.cnf, file_deleted; file_closed
08/06/2019, 00:04:10.219, service.cnf, file_deleted; file_closed
08/06/2019, 00:04:10.219, service.lck, file_deleted; file_closed
08/06/2019, 00:04:10.219, services.cnf, file_deleted; file_closed
08/06/2019, 00:04:10.219, _vti_pvt, file_deleted; file_closed
08/06/2019, 00:04:10.219, My Webs, file_deleted; file_closed
08/06/2019, 00:04:10.219, Code Requirements.doc, file_deleted; file_closed
08/06/2019, 00:04:10.219, E‐Mails.doc, file_deleted; file_closed
08/06/2019, 00:04:10.235, Petition.doc, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 218 of 220
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08/06/2019, 00:04:10.235, Presentation.doc, file_deleted; file_closed
08/06/2019, 00:04:10.235, Polling Place, file_deleted; file_closed
08/06/2019, 00:04:10.235, Agenda Community (Special) Meeting 8 Sep 11.docx, file_deleted; file_closed
08/06/2019, 00:04:10.235, Agenda Reapportionment Office 6 Dec 10.doc, file_deleted; file_closed
08/06/2019, 00:04:10.235, Agenda Reapportionment Office 6 Dec 10.docx, file_deleted; file_closed
08/06/2019, 00:04:10.235, Duplicate.docx, file_deleted; file_closed
08/06/2019, 00:04:10.235, Presentation to Ad Hoc Redistricting Committee.docx, file_deleted; file_closed
08/06/2019, 00:04:10.235, Redistricting Flyer 17 Oct 11.docx, file_deleted; file_closed
08/06/2019, 00:04:10.235, Redistricting Flyer for 17 Oct 11.docx, file_deleted; file_closed
08/06/2019, 00:04:10.235, Redistricting, file_deleted; file_closed
08/06/2019, 00:04:10.235, Clean‐Up Requirements.doc, file_deleted; file_closed
08/06/2019, 00:04:10.235, Membership Agreement.doc, file_deleted; file_closed
08/06/2019, 00:04:10.235, ~$ean‐Up Requirements.doc, file_deleted; file_closed
08/06/2019, 00:04:10.250, ~WRL1392.tmp, file_deleted; file_closed
08/06/2019, 00:04:10.250, Rock of Ages, file_deleted; file_closed
08/06/2019, 00:04:10.250, Articles of Incorporation.doc, file_deleted; file_closed
08/06/2019, 00:04:10.250, Boilerplate Bylaws[1].doc, file_deleted; file_closed
08/06/2019, 00:04:10.250, By Laws Extra.doc, file_deleted; file_closed
08/06/2019, 00:04:10.250, By‐Laws Jamestown CC Ed & Rec Fund.doc, file_deleted; file_closed
08/06/2019, 00:04:10.250, Conflict of Interest.doc, file_deleted; file_closed
08/06/2019, 00:04:10.250, f1023.pdf, file_deleted; file_closed
08/06/2019, 00:04:10.250, SCA Jamestown C.C. Fund, file_deleted; file_closed
08/06/2019, 00:04:10.250, Beer‐Wine License Super C Resturant.doc, file_deleted; file_closed
08/06/2019, 00:04:10.250, License Stipulations.doc, file_deleted; file_closed
08/06/2019, 00:04:10.250, Pettion.docx, file_deleted; file_closed
08/06/2019, 00:04:10.250, Super C Night Club.doc, file_deleted; file_closed
08/06/2019, 00:04:10.250, Super C info.docx, file_deleted; file_closed
08/06/2019, 00:04:10.250, Super C Resturant.doc.doc, file_deleted; file_closed
08/06/2019, 00:04:10.266, ~WRL0001.tmp, file_deleted; file_closed
08/06/2019, 00:04:10.266, Super C, file_deleted; file_closed
08/06/2019, 00:04:10.266, BROWN.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.266, SHEPHERD.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.266, THANK‐U.DOC, file_deleted; file_closed
08/06/2019, 00:04:10.266, THANK‐U2.DOC, file_deleted; file_closed
                            Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 219 of 220
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08/06/2019, 00:04:10.266, THANK‐U, file_deleted; file_closed
08/06/2019, 00:04:10.266, Grass.doc, file_deleted; file_closed
08/06/2019, 00:04:10.266, Ice Machine Work Order.doc, file_deleted; file_closed
08/06/2019, 00:04:10.266, Ice Machine.doc, file_deleted; file_closed
08/06/2019, 00:04:10.266, Work Order Completion.doc, file_deleted; file_closed
08/06/2019, 00:04:10.266, Work Orders, file_deleted; file_closed
08/06/2019, 00:04:10.266, Finance Report Yard Sale 12 Oct 2013.xlsx, file_deleted; file_closed
08/06/2019, 00:04:10.266, Yard Sale 2013.doc, file_deleted; file_closed
08/06/2019, 00:04:10.266, Yard Sale Booths at Fred's.pptx, file_deleted; file_closed
08/06/2019, 00:04:10.266, Yard Sales, file_deleted; file_closed
08/06/2019, 00:04:10.266, SCA, file_deleted; file_closed
08/06/2019, 00:04:10.297, 5524.pdf, file_deleted; file_closed
08/06/2019, 00:04:10.297, Ad for F‐D Gala.doc, file_deleted; file_closed
08/06/2019, 00:04:10.297, BIO.doc, file_deleted; file_closed
08/06/2019, 00:04:10.297, colis ivey conversation started July 31.docx, file_deleted; file_closed
08/06/2019, 00:04:10.297, Confirmation.pdf, file_deleted; file_closed
08/06/2019, 00:04:10.297, Dance Class(W).pptx, file_deleted; file_closed
08/06/2019, 00:04:10.297, Dance ClassSM.pptx, file_deleted; file_closed
08/06/2019, 00:04:10.297, FINANC2.xlsx, file_deleted; file_closed
08/06/2019, 00:04:10.313, LG_Viewty_Smart_manual.pdf, file_deleted; file_closed
08/06/2019, 00:04:10.313, ppt35ED.tmp, file_deleted; file_closed
08/06/2019, 00:04:10.314, ppt794.tmp, file_deleted; file_closed
08/06/2019, 00:04:10.314, pptDA09.tmp, file_deleted; file_closed
08/06/2019, 00:04:10.314, Safe (W).pptx, file_deleted; file_closed
08/06/2019, 00:04:10.314, Sammie Sias Calendar.ics, file_deleted; file_closed
08/06/2019, 00:04:10.314, SCA (W).pptx, file_deleted; file_closed
08/06/2019, 00:04:10.314, SCA (Work).pptx, file_deleted; file_closed
08/06/2019, 00:04:10.314, SCA(A&P).pptx, file_deleted; file_closed
08/06/2019, 00:04:10.314, SCA(A).pptx, file_deleted; file_closed
08/06/2019, 00:04:10.314, SCA(W1) (2).pptx, file_deleted; file_closed
08/06/2019, 00:04:10.314, SCA(W1).pptx, file_deleted; file_closed
08/06/2019, 00:04:10.314, SCA‐JT.ppt, file_deleted; file_closed
08/06/2019, 00:04:10.314, Sias Bio.doc, file_deleted; file_closed
08/06/2019, 00:04:10.314, Sias Pic2.pptx, file_deleted; file_closed
                           Case 1:21-cr-00048-JRH-BKE Document 121 Filed 07/13/23 Page 220 of 220
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08/06/2019, 00:04:10.314, Stephanie Moore.docx, file_deleted; file_closed
08/06/2019, 00:04:10.314, VA Fax.docx, file_deleted; file_closed
08/06/2019, 00:04:10.330, ~$SCA (W).pptx, file_deleted; file_closed
08/06/2019, 00:04:10.330, ~$SCA(W1).pptx, file_deleted; file_closed
08/06/2019, 00:04:10.330, Backup of Lease Contract.wbk, file_deleted; file_closed
08/06/2019, 00:04:10.330, Emanuel County Lease.doc, file_deleted; file_closed
08/06/2019, 00:04:10.330, Henderson Eviction.docx, file_deleted; file_closed
08/06/2019, 00:04:10.330, Lease Contract (Blank).doc, file_deleted; file_closed
08/06/2019, 00:04:10.330, Lease Contract.doc, file_deleted; file_closed
08/06/2019, 00:04:10.330, Lien Law.doc, file_deleted; file_closed
08/06/2019, 00:04:10.330, Richwood Lease Information, file_deleted; file_closed
08/06/2019, 00:04:10.330, SIAS, file_deleted; file_closed
